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                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable YVONNE GONZALEZ ROGERS, Judge

EPIC GAMES, INC.,           )
                            )
       Plaintiff,           )         NO. C-20-5640 YGR
                            )
  vs.                       )         Monday, May 17, 2021
                            )
APPLE, INC.,                )         Oakland, California
                            )
       Defendant.           )         BENCH TRIAL
____________________________)
APPLE, INC.,                )
                            )
       Counterclaimant,     )
  vs.                       )
                            )
EPIC GAMES, Inc.,           )
                            )
       Counter-Defendant.   )
____________________________)

               REPORTER'S TRANSCRIPT OF PROCEEDINGS

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 1   Monday, May 17, 2021                                   8:00 a.m.

 2                            P R O C E E D I N G S

 3                                       o0o

 4               THE CLERK:     All rise.      Court is in session.

 5   Honorable Yvonne Gonzalez Rogers presiding.

 6               THE COURT:     Good morning everyone.

 7               MR. DOREN:     Good morning, Your Honor.

 8               MS. FORREST:     Good morning, Your Honor.

 9               THE CLERK:     You may be seated.

10       Calling civil action 20-5640 Epic Games, Inc. versus

11   Apple, Inc.

12       Counsel, please state your appearances and your mics are

13   on at the table.

14               MS. FORREST:     Good morning, Your Honor.      Katherine

15   Forrest for Epic.

16               THE COURT:     Good morning.

17               MR. BORNSTEIN:     Good morning.      Gary Bornstein for

18   Epic.

19               MR. CLARKE:     Good morning.      Justin Clarke for Epic.

20               MS. KLOSS:     Good morning, Your Honor.      Lauren Kloss

21   for Epic.

22               MS. CHOI:    Good morning, Your Honor.       Jessica Choi

23   for Epic.

24               THE COURT:     Okay, Ms. Choi, welcome to the courtroom.

25               THE CLERK:     Sorry.   I will turn your mic on, Your
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 1   Honor.

 2              THE COURT:     Ms. Choi, welcome to the courtroom.

 3              MS. CHOI:    Thank you, Your Honor.

 4              THE COURT:     Mr. Sweeney, good morning.

 5              MR. SWEENEY:     Good morning, Your Honor.

 6              THE COURT:     Mr. Rudd, good morning.

 7              MR. RUDD:    Good morning.

 8              THE COURT:     Okay.    On the Apple side.

 9              MR. DOREN:     Good morning, Your Honor.      Richard Doren

10   for Apple.

11       And we're joined this morning by Heather Grenier, the head

12   of commercial litigation, and Kate Kaso-Howard, from Apple,

13   in-house counsel.

14              THE COURT:     Who is the other one from Apple?

15              MR. DOREN:     Kate Kaso-Howard.

16              THE COURT:     So this is a new person.

17              MR. DOREN:     Yes.

18              MS. KASO-HOWARD:       Good morning.    Good morning.

19              MR. LO:     Good morning, Your Honor.       Jason Lo --

20              THE COURT:     Hold on a minute.       The middle name -- I

21   got Kate and I got Howard.

22              MS. KASO-HOWARD:       K-A-S-O.

23              THE COURT:     K-A-S-O.   Okay.    Good morning.

24       Sir.

25              MR. LO:     Good morning, Your Honor.       Jason Lo on
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 1   behalf of Apple.

 2               THE COURT:    New to the courtroom too, Mr. Lo.       Good

 3   morning.

 4               MR. LO:    Good morning.

 5               MS. RHO:     Good morning, Your Honor.       Jennifer Rho for

 6   Apple.

 7               THE COURT:    Also new.      Good morning.

 8               MS. RHO:     Good morning.

 9               THE COURT:    Okay.      Then we have Mr. Eltiste in the

10   back.    Yes?

11       Good morning.        I see Ms. Dunn.    I see -- who else is back

12   there?     Mr. Phillips, is it?

13               MR. PHILLIPS:     Yes.

14               THE COURT:    Is that Mr. Srinivasan?

15               MR. SRINIVASAN:    Yes.

16               THE COURT:    Good morning.

17       So on -- also in the gallery we have today Ms. Griffith

18   from the New York Times.

19               MS. GRIFFITH:     Hi.

20               THE COURT:    Good morning.

21       So we have now restarted, I take it?          You were with us on

22   day one?

23               MS. GRIFFITH:     Yes.

24               THE COURT:    And then Elizabeth Lopatto from Verge.

25   Good morning.
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 1               MS. LOPATTO:     Good morning, Your Honor.

 2               THE COURT:     And then I have Mr. Manfredi?

 3               MR. MANFREDI:     Good morning, Your Honor.

 4               THE COURT:     From Saveri & Saveri?

 5               MR. MANFREDI:     Yes.

 6               THE COURT:     I see one more person.   Ah, that's our

 7   witness.

 8               THE WITNESS:     Good morning, Your Honor.     I'm indeed

 9   the witness.

10               THE COURT:     Good morning, Professor Mickens.

11       Okay.    Let's go ahead, Ms. Forrest, and you can begin us

12   off this morning if there are issues.

13       I saw, obviously, filings over the weekend.           I just posted

14   an order this morning.        So that hopefully gives some guidance

15   and resolves an issue.

16       Ms. Forrest, let's start with you.

17               MS. FORREST:     Yes, Your Honor, good morning.

18       We have what I would call two buckets of issues.           I'll

19   handle the first which has to do with some logistics.           The

20   second will be relating to the expert written directs, and

21   that will be handled by Mr. Bornstein from our side.

22               THE COURT:     Okay.

23               MS. FORREST:     On the first bucket, it's logistics.

24   When we are at the point where we are -- no longer have any

25   witnesses in our affirmative case, which will be after
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 1   Mr. Mickens, there will be a couple of outstanding issues that

 2   will prevent a formal sort of "we rest."        And I just wanted to

 3   alert the Court to what they will be.

 4             THE COURT:     Okay.

 5             MS. FORREST:     One is, for the deposition designation

 6   final binder, we have gotten a small number of counters from

 7   Apple.   We are just running these together.        We got them, you

 8   know -- it will be today.        We will get it to you.    So that

 9   will be sometime today.

10       The second piece is, there is an evidentiary stipulation

11   relating to a small number of documents close to being

12   finalized.

13       The third is that there are some witnesses that are in

14   Apple's case that we had called in our case and there are some

15   comments and evidence that we would be relying upon.          That's

16   Mr. Gray, Federighi, and Schmid.

17             THE COURT:     You said Schmit?

18             MS. FORREST:     Schmid.

19             MR. DOREN:     S-C-H-M-I-D, Your Honor.

20             THE COURT:     Okay.

21             MS. FORREST:     If Mr. Gray is not called because he's

22   now on the may-call list, the parties have agreed that we

23   could put in an additional, I think it's only 15 minutes of

24   deposition designations.

25             THE COURT:     Okay.
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 1             MS. FORREST:     Also we are going to reserve some time

 2   for the possibility of some rebuttal evidence, if needed.

 3             THE COURT:     Okay.

 4             MS. FORREST:     That, I think, is sort of the

 5   logistics.    There's one other piece, which is we wanted to

 6   inform Your Honor that for the closing agenda on the back and

 7   forth, the point/counterpoint, we are super close is the

 8   phrase that was used, to having an agreement between the

 9   parties on what that would be and would be prepared to submit

10   that later today.

11       Then the last question for Your Honor is, do we need to

12   reserve the time for that closing point/counterpoint from our

13   time, which we are happy to do, or will that be out of time?

14   It just helps us plan the week, Your Honor.

15             THE COURT:     I haven't checked.    The last time I

16   checked, we weren't set to close in just in terms of sheer

17   time until Monday.

18             MR. DOREN:     Agreed.

19             THE COURT:     And that's my concern.     So I'd really

20   like to finish off on Monday.       And I don't mind doing a full

21   day on Monday, that is, I don't mind adding a bit of time so

22   that we can do this.      Because, as I said, I really didn't

23   think you would take me up on my offer, but I would find it to

24   be helpful.

25       So I'm happy to do the day Monday.        I am not inclined to
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 1   give you any more time if that means we roll into Tuesday.

 2   Monday I'm good; Tuesday I'm not good.

 3              MS. FORREST:     Understood, Your Honor.     I think the

 4   parties are all assuming that we are done Monday.

 5              MR. DOREN:     I agree with that, Your Honor.

 6              THE COURT:     Okay.

 7        I will also say that when I do it in the patent context, I

 8   never go over three hours.        It's basically -- you know, it

 9   ends up being about an hour and a half for each side.           As you

10   may know, Ms. Forrest, I don't know what your practice was.

11        I only allowed 10 terms.       So I tell the parties we start

12   with the most important, and if you run out of time, you run

13   out of time.    But for me, three hours is about the max that

14   I'm interested in.

15              MR. DOREN:     Very good.

16              MS. FORREST:     Very well.

17              MR. DOREN:     Thank you.

18              THE COURT:     With respect to the closing, you know,

19   typically that's important in -- because we receive defense

20   motions at the close.       As I'm sure you know, it is -- most

21   trial judges will not grant those motions, will let the

22   defense case come in, and then resolve everything at the end.

23        So I don't know whether there was a consideration of

24   making such a motion, Mr. Doren, and how that impacts given

25   these logistics, but I can tell you, given the heavy disputes
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 1   on both sides, I would not grant a motion without hearing all

 2   of the evidence and resolving it at the end.

 3        The only exception might be and I would like to -- is this

 4   essential facility question.       I mean, the expert -- your

 5   expert unequivocally stated that he did not believe that this

 6   was appropriate.     I don't know how I could grant that -- a

 7   theory of that even though I was curious whether it might

 8   work, without some expert testimony on that issue, and neither

 9   side -- neither side's primary economic expert says that

10   that's appropriate for this case.        So that might be the only

11   one that I would think about.

12              MS. FORREST:     Well, Your Honor, if -- I'll await

13   whether Mr. Doren intends to move on that, but we would have

14   something to say on that depending upon the bases on which

15   Mr. Doren moved.

16              THE COURT:     Okay.

17              MR. DOREN:     Your Honor, I would just say that was one

18   claim that we were considering a motion on.          So that motion

19   may be forthcoming.

20              THE COURT:     Again, I might -- I'm not sure that I

21   would necessarily rule on it in advance, but I think it's --

22   and I'd obviously have to hear it.        I just don't know how one

23   gets there without an expert opinion that it's appropriate.

24              MR. DOREN:     Thank you, Your Honor.

25              THE COURT:     Okay.
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 1        Next?    Mr. Bornstein?

 2                MR. BORNSTEIN:    Thank you, Your Honor.

 3        I think this might be both easy and -- at least for this

 4   morning, and maybe a little bit more challenging later in the

 5   week.

 6        Mr. Lo and I have conferred, and the parties happily have

 7   reached agreement on all of the expert written testimony with

 8   the exception of two.

 9                THE COURT:   Okay.

10                MR. BORNSTEIN:    We each have one objection to the

11   other's, and our suggestion would be that it might be more

12   efficient for Your Honor if we submitted something in writing

13   so that Your Honor could consider it in context, if that would

14   be acceptable.

15        And then it's just a question of how and when Your Honor

16   would like to receive that.       The parties can, of course, do it

17   as expeditiously as would be useful subject to whatever page

18   limits would be helpful for Your Honor.

19                THE COURT:   And this is -- is this in the nature of

20   sealing or striking?

21                MR. BORNSTEIN:    Not in the nature of sealing.     We

22   think there are some sealing issues in which the Court has

23   already ruled, and I believe there is one expert report as to

24   which Apple has some additional sealing requests that had not

25   yet been made to the Court.       These are in the nature of
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 1   striking.

 2        And the two reports at issue are Professor Athey's report

 3   from Epic and Professor Hitt's report from Apple, as to which

 4   each side has made targeted objections.         It's not the whole

 5   report in either instance.

 6               THE COURT:    Okay.

 7        And in short, what are the issues?

 8               MR. BORNSTEIN:    Well, I'll -- I'll take ours and I

 9   will let Mr. Lo take his.

10        Our objection with respect to Professor Hitt is that he's

11   changed his opinion in one respect in light of, I presume, the

12   cross-examination.       And we believe it's inappropriate for him

13   to actually make a substantive change to his opinion at this

14   point in time without the ability for us to respond to it.

15               THE COURT:    Did he change his -- so his written

16   direct was done in advance.

17               MR. BORNSTEIN:    Correct.

18               THE COURT:    And the cross-examination at trial or the

19   cross-examination during his deposition?

20               MR. BORNSTEIN:    I'd presume this was done in response

21   to his cross-examination at trial.

22        Our objection is what Apple would like to submit to the

23   Court is an edit to the written direct that was previously

24   submitted and was the basis of the cross-examination.           And we

25   think it's inappropriate for them to change his opinion at
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 14 of 295 2625



 1   this point in time.

 2              THE COURT:    Okay.

 3        And a response on that?

 4              MR. LO:   Yes, Your Honor.     Jason Lo on behalf of

 5   Apple.

 6        The change that is at issue was something that came up in

 7   cross-examination, and as a result of that, Professor Hitt has

 8   struck out, I think, literally three words in order to make

 9   clear what his analysis was.

10        And to be clear, it is consistent with other portions of

11   his written direct, so it's not a situation where if we didn't

12   make the change the evidence is not there.         We are proposing

13   the change simply to make it potentially less confusing, but

14   the analysis is there in another place of the written direct

15   anyway, so we just wanted to avoid confusion.

16              THE COURT:    Was it addressed during his Redirect?

17              MR. LO:   Yes.   Not directly on point, but, yes, the

18   subject was addressed during the examination.

19              THE COURT:    So why isn't that sufficient?

20              MR. LO:   It may be, and we are happy to address that,

21   but, again, our view was it was only for purpose of

22   clarification and to avoid confusion, and the analyses is

23   otherwise in another portion of the written direct.

24              THE COURT:    Mr. Bornstein, give me a paragraph in his

25   report, and the words.
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 1              MR. BORNSTEIN:    It's paragraph -- from the testimony,

 2   Your Honor, it's paragraph 51.

 3              THE COURT:    Okay.    Hold on.

 4        Which are the words?

 5              MR. BORNSTEIN:    The words that were stricken, Your

 6   Honor, were in the last sentence where it's been changed

 7   from -- I'm starting from the second-to-last line.           It has

 8   been changed from, "a full one-third offered direct purchases

 9   of content through a web browser on the iOS device."           And

10   that's been changed to:      "An almost one-third offered direct

11   purchases of content through a web browser."          And then he has

12   stricken "on the iOS device."

13        We don't have an objection to the change of full one-third

14   to almost one-third, that's fine.        But striking "on the iOS

15   device," we believe, changes the meaning here.

16        His opinion was that these purchases are available on the

17   web browser on an iPhone.        And he's now, in light of the

18   cross-examination that showed that not to be correct, he's

19   changed it to, purchases of content through a web browser more

20   generally, which would capture other devices.          And had that

21   been his opinion at trial, we would have cross-examined more

22   thoroughly on that broader opinion.

23              THE COURT:    The request to delete those words is

24   denied.

25        Next issue.
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 1               MR. LO:   With respect to Professor Athey, Your Honor,

 2   this was a question that was raised during examination.

 3        Professor Athey gave certain opinions about what consumers

 4   think or what consumers do.       At the time of the objection, the

 5   Court said you would consider whether there are factual

 6   support for those types of statements essentially after the

 7   facts have come in.

 8        And now that Epic is either close or will be closing their

 9   factual case, we are renewing that objection on the basis that

10   there have been no testimony on those underlying factors.

11               THE COURT:   Okay.   That probably requires more.       So

12   what I would need, I think, to resolve that is the factual

13   basis for Epic's position.       I don't know that I need a lot of

14   argument.     What I need to know is where the factual basis

15   comes from.

16               MR. BORNSTEIN:   Understood, Your Honor.

17        We would have, in our written submission, two other points

18   to make that I'll just foreshadow.        One being the parties

19   reached a stipulation under which Apple agreed not to make the

20   argument that they are making right now.         And the other being

21   that we believe that the opinions that are at issue in Apple's

22   objection here are proper under Rule 703 even as to facts that

23   are not admissible or admitted, but nevertheless within the

24   scope of facts on which an expert is permitted to rely under

25   the rule.
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 1              THE COURT:     Okay.   It doesn't sound like I need more

 2   than four pages of briefing.        And then I'll take a look at

 3   what the factual basis is.        And perhaps it also just means

 4   that, as I will do with many of these things is, I need to

 5   decide how much weight to give any opinion.          And it could be

 6   little to a lot.

 7        So, okay.    Just when you get it filed, I'll try to turn it

 8   around.

 9              MR. BORNSTEIN:     Would Your Honor like those

10   simultaneously?      If so, we can coordinate on a time.

11              THE COURT:     That would be preferable.     Thanks.

12              MR. BORNSTEIN:     Thank you, Your Honor.

13              MR. LO:    Thank you, Your Honor.

14              THE COURT:     Okay.   That's it from your side,

15   Ms. Forrest?

16              MS. FORREST:     Yes, Your Honor.

17              THE COURT:     Mr. Doren, how about from your side?

18              MR. DOREN:     That is it from our side, Your Honor.

19              THE COURT:     Okay.   Then let's call Professor Mickens

20   back to the stand.

21        Good morning, Professor.

22              THE WITNESS:     Good morning.

23              THE COURT:     Our weather this weekend was not as warm

24   as it was the prior weekend, so -- but maybe that reminds you

25   of Massachusetts.
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                             MICKENS - CROSS / LO

 1        You're still under oath.

 2               THE WITNESS:     Yes.

 3               MR. LO:    Your Honor, may I hand up a binder for the

 4   witness?

 5               THE COURT:     You may.    So I take it that you pass the

 6   witness?

 7               MR. CLARKE:     Yes, Your Honor.      We pass the witness.

 8               THE COURT:     All right.     Mr. Lo, you may hand it up

 9   and you may proceed.

10               MR. LO:    Thank you, Your Honor.

11                               CROSS-EXAMINATION

12   BY MR. LO:

13   Q.   Good morning, Professor Mickens.

14   A.   Good morning.

15   Q.   Can you hear me okay?

16   A.   Yes.   Can you hear me?

17   Q.   Yes, I can.      Thank you.

18               THE COURT:     Although is he --

19               THE CLERK:     I'm going to turn on his mic.

20               THE WITNESS:     Hello?    Good?

21               THE COURT:     No, not quite.

22               THE WITNESS:     No?     Not quite?

23        How about now?       Testing.

24               THE CLERK:     You have the mic underneath?

25               THE WITNESS:     How about now?
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                             MICKENS - CROSS / LO

 1                THE COURT:     I think that that's better.   You're not

 2   holding that mic, are you?

 3                THE WITNESS:     No.

 4                THE COURT:     I think that works.

 5                THE WITNESS:     Okay.

 6                THE COURT:     You may proceed.

 7                MR. LO:   Thank you, Your Honor.

 8   BY MR. LO:

 9   Q.   Professor Mickens, my name is Jason Lo, and I represent

10   Apple.

11   A.   Hello.

12   Q.   On Friday, the judge asked you whether you have an opinion

13   as to why the Android has more security issues than the

14   iPhone.

15        Do you recall that question from the judge?

16   A.   Yes.

17   Q.   And you disagree with the premise that Android has more

18   security issues than the iPhone; is that correct?

19   A.   Yes.

20   Q.   And, in fact, you testified under oath that Android and

21   iOS are in the same rough equivalence class when it comes to

22   susceptibility to malware, viruses or, things like that.

23        Do you recall that exchange, sir?

24   A.   I do.

25   Q.   In fact, sir, you personally don't know whether or not
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                             MICKENS - CROSS / LO

 1   iOS has historically had more, or less, or the same amount of

 2   the malware as distributed by the store on Android, do you,

 3   sir?

 4   A.     I don't know that anybody knows that.

 5   Q.     Do you personally know, sir?

 6   A.     I personally do not.

 7   Q.     And, in fact, you claim not to be able to get your hands

 8   on numbers that you would trust about the relative frequency

 9   of malware on each device, correct?

10   A.     Yes.   I think that methodologically it's very difficult to

11   get those numbers.

12   Q.     Let's start by talking about the work that you did in this

13   case.

14          You did not sign the protective order, correct?

15   A.     That is correct.

16   Q.     You formed your opinions in this case without taking into

17   account a single internal document produced by Apple, correct?

18   A.     That is right.

19   Q.     And that includes Apple internal documentation about

20   security issues and app review, correct?

21   A.     Yes.

22   Q.     When you formed your opinions, you had not reviewed the

23   testimony of the -- any of the current or former Apple

24   employees who have been deposed in this case, correct?

25   A.     If I understand the question correctly, at the time that I
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 1   prepared by expert witness report, no, that was before any of

 2   the trial testimony of the Apple employees.

 3   Q.   Okay.

 4        At that time, were you aware that certain Apple employees

 5   had already been deposed in the case?

 6   A.   I don't believe that I was aware of that.

 7   Q.   But in any event, at the time you signed your expert

 8   report, you had not read the deposition transcript of any

 9   current or former Apple employees in connection with this

10   case, correct?

11   A.   I believe that's right.

12   Q.   You mentioned on Friday, though, that you reviewed

13   materials on reverse engineering.

14        Did I catch that correctly?

15   A.   Yes.    If I understand the question, as I was preparing my

16   expert report, I looked at reverse engineering materials.

17   Q.   None of the materials relating to reverse engineering

18   relate to the tools that Apple uses for app review, correct?

19   A.   That's correct, although not relevant to my determination.

20   Q.   And in your expert report, you do not discuss a single

21   book, article, or source of any kind that gave you factual

22   information about the tools that Apple uses to conduct app

23   review, correct?

24   A.   That is correct.

25   Q.   And prior to signing your report, you did not see any
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 22 of 295 2633
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 1   factual information about the human process that Apple employs

 2   to conduct app review, correct?

 3   A.   I saw no internal Apple documentation about that, although

 4   I saw Apple's public-facing documentation such as the review

 5   guidelines and I also looked at public-facing evidence about

 6   the efficacy of that procedure.

 7   Q.   Right.

 8        What you did, was you looked at Apple's publicly available

 9   review guidelines, and then you went ahead and made

10   assumptions about what Apple must be doing behind the scenes

11   in order to enforce those guidelines, correct?

12   A.   No.     Not just that.   So I also looked at quote-unquote

13   "the lived experience," if you will, developers, for example,

14   who have experienced app rejections.        I looked at other

15   complaints or such things involving the app review process.

16   Q.   Okay.    We will talk about that in a minute.

17   A.   Okay.

18   Q.   So you chose to form your opinions in this case without

19   knowing all of the mechanisms by which Apple's app review is

20   conducted, correct?

21   A.   That's correct, although there's --

22   Q.   Thank you.

23   A.   -- abundance of empirical evidence --

24   Q.   Thank you --

25                         (Simultaneous colloquy.)
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 1   Q.   Thank you, professor.

 2   A.   Yes.

 3   Q.   Now, to support your opinions, I think you just referenced

 4   this a minute ago, you cite to media articles about

 5   problematic apps that apparently got through the app-review

 6   process, correct?

 7   A.   Yes, sir.

 8   Q.   I think there's one article that talks about a 2019

 9   scenario in which Apple had to take down 17 apps.

10        Do you recall that article?

11   A.   Yes.

12   Q.   And then there's another article that you cite talking

13   about two fitness apps that Apple took down I think in the

14   2018 time frame.

15        Does that sound familiar?

16   A.   That sounds about right, yes.

17   Q.   You did not personally examine the 17 apps that were taken

18   down, did you?

19   A.   No.

20   Q.   You didn't personally examine the two fitness apps that

21   were taken down and referenced in those articles, correct?

22   A.   Correct, although the sources cited are considered

23   reputable in my field.

24   Q.   In fact, for all of the allegedly bad apps that you

25   reference in your expert report, is it accurate to say that
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 24 of 295 2635
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 1   you did not personally examine any of them?

 2   A.   Yes.   In the same way that Apple hasn't looked at some of

 3   the results from the Nokia report I imagine.          They rely on

 4   outside sources.

 5   Q.   Sir, so you did not personally examine any of the

 6   allegedly bad apps that you reference in the article, correct?

 7   A.   That's correct.

 8   Q.   And while your quick to criticize Apple regarding these

 9   apps, is it fair to say that you rendered that criticism in

10   your report without taking into account the total number of

11   apps that goes through the app-review process every year?

12        That's not data that you took into consideration, correct?

13   A.   That data wasn't relevant to my determination.

14   Q.   So you did not take it into consideration, correct?

15   A.   Correct.   Because I didn't think it was relevant.

16   Q.   And you also did not take into account the number of

17   similar apps, similar to the bad apps that you point out, that

18   Apple successfully kept from reaching iOS device users; you

19   didn't take that data into account, correct?

20   A.   If by that data I believe you are referring to like

21   internal Apple statistics about that, I did not review any

22   internal Apple statistics.

23   Q.   What I mean is, when you point out that certain bad apps

24   got through the app-review process, you did not take into

25   account whether there are similar bad apps that Apple
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 25 of 295 2636
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 1   successfully prevented from getting through the app-review

 2   system and kept away from the public; that's not information

 3   you considered in rendering your opinions, correct?

 4   A.   No because I don't believe that information is relevant to

 5   my overall determination.

 6   Q.   Okay.

 7        And let's take a look --

 8                MR. LO:   I will ask Mr. Eltiste to put up the slides

 9   you discussed on Friday.

10   BY MR. LO:

11   Q.   And let's take a look at PDX81.12.

12        Now, you recognize this as one of the demonstratives that

13   you used on Friday?

14   A.   I do.

15   Q.   And at the very bottom there's a section on legal

16   compliance.

17        Do you see that?

18   A.   I do.

19   Q.   And your conclusion on Friday was that it is difficult for

20   app review to ascertain whether an app is in legal compliance,

21   correct?

22   A.   Correct.

23   Q.   When you formed your opinions, you had no factual

24   information about what tools Apple uses to ensure that apps

25   don't have a legal compliance issue, correct?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 26 of 295 2637
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 1   A.   Not entirely.    My determination about this was based on

 2   general purpose computer science knowledge about what I

 3   believed --

 4   Q.   Sir, my question is about, do you know what tools the

 5   app-review process uses to ensure that apps don't have legal

 6   compliance issues?

 7        Did you have any factual information about that at the

 8   time you signed your opinions?

 9   A.   None other than the general purpose computer science

10   knowledge that I mentioned.

11   Q.   When you formed your opinions, you had no factual

12   information about how Apple's app reviewers are trained or not

13   trained, perhaps, to look for legal compliance issues; that's

14   also not something you took into account prior to signing your

15   report, correct?

16   A.   Not entirely.    Because I'm able to look at the empirical

17   effectiveness and empirical characteristics --

18   Q.   Sir, my question is, do you have or did you have

19   information about how Apple trains its app reviewers to look

20   for legal compliance issues?

21   A.   I could only see the effects of that.        But, no, I didn't

22   see the internal training documents, for example.

23   Q.   You don't know anything about what internal training Apple

24   provides to its reviewers in order to ensure that apps don't

25   have legal compliance issue.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 27 of 295 2638
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 1        Do we agree on that?

 2   A.   Partially.    I think that some of that training can be

 3   gleaned from the review guidelines, for example.

 4   Q.   And when you formed your opinions, you had no factual

 5   information about app reviews success rate in order -- in

 6   terms of screening apps for legal compliance issues, correct?

 7   A.   I would not fully agree, no.       Because, once again, we can

 8   look at the empirical results of that review process and make

 9   observations.

10   Q.   Did you have any data in terms of the actual number of

11   successful or unsuccessful attempts by app review to ensure

12   that apps don't have legal compliance issues?

13        Is that data that you had, sir?

14   A.   Are you referring to data like the raw number of apps that

15   were scanned for legal issues?

16   Q.   Correct.     The totals.

17   A.   No, I did not have access to that information.

18   Q.   In your written direct, you also cite an article -- well,

19   first, even though you didn't have any of that internal data,

20   you were comfortable rendering an opinion that Apple has a

21   difficult time ensuring that apps comply with legal compliance

22   issues, correct?

23        You were comfortable rendering that opinion?

24   A.   Yes.

25   Q.   In your written direct, you also cite an article that
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 28 of 295 2639
                             MICKENS - CROSS / LO

 1   claimed to have found that iPhone apps suffered from the same

 2   security problems found in many Android apps.

 3        Do you recall referencing an article to that effect?

 4   A.   I do.

 5   Q.   Would you agree that article only tells you about the

 6   types of issues that show up on an iOS and Android, not the

 7   total number of instances?

 8        Would you agree with that?

 9   A.   I would agree, yes, that it doesn't tell you the

10   denominator.

11   Q.   Well, it doesn't tell you the numerator either, does it?

12   A.   Well, it gives you an intuition for the rough equivalence

13   class argument that I make at several points throughout my

14   expert witness report.

15   Q.   Well, sir, the article that you cite suggested, and I'll

16   generalize that --

17                THE COURT:     Can you tell me, Mr. Lo, what paragraph

18   of his report we're dealing with so I can go back and review

19   the --

20                MR. LO:   Yes, Your Honor.

21        May I hand up some binders with the report for the witness

22   so he's got it as well?

23                THE COURT:     Yes.

24                MR. LO:   Thank you.

25                THE WITNESS:     Thank you.
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 1               MR. LO:   Your Honor and Professor Mickens, the

 2   report -- I'm sorry, the -- it's actually in the written

 3   direct, which is in Tab 1.       And it is -- I'll ask Mr. Eltiste

 4   to pull it up as well so we are looking at it together.

 5        It is paragraph 78.

 6               THE COURT:   Thank you.

 7   BY MR. LO:

 8   Q.   Are you looking at paragraph 78, Professor Mickens?

 9   A.   Yes, sir.

10   Q.   And that -- this is -- you recall that this is the article

11   that you and I have been discussing for the last two minutes?

12   A.   That's correct.

13   Q.   What the article talks about is that on some iPhones --

14   on iPhones, the writer found that there were certain apps

15   that stored things without proper -- stored passwords without

16   properly encrypting them, correct?

17   A.   Yes.   There were also problems of network transmissions of

18   clear text instant data.      That's right.

19   Q.   And the finding by the author was, I found certain apps

20   on iOS that had these problems, and I also found certain

21   apps on Android that had these problems, correct?

22   A.   Yes.

23   Q.   And what the author does not say is, that I looked at the

24   total number of apps that were available on iOS and the

25   total number of apps that are on Android, and I found more of
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 30 of 295 2641
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 1   them on one platform versus the other.

 2          Do you agree that the author did not conduct that

 3   analysis?

 4   A.     For reasons of scalability, yes, that's why the author

 5   didn't do that.

 6   Q.     Okay.

 7          Would you agree that nothing in your written direct

 8   conducts -- purports to have conducted an analysis in terms of

 9   the total number of incidences on one platform versus the

10   other?

11   A.     That type of analysis wasn't necessary to make the broad

12   equivalence class argument that I --

13   Q.     You do agree that that is not in your analysis, correct?

14   A.     Yes.    I'm just establishing that it isn't necessary to

15   create my conclusions.

16   Q.     Thank you.

17                  MR. LO:   You can take that down, Mr. Eltiste.    Thank

18   you.

19   BY MR. LO:

20   Q.     On Friday you mentioned on direct examination that you

21   reviewed certain books by Jonathan Levin?

22   A.     Yes, sir.

23   Q.     And I'll ask Mr. Eltiste to put up your report which is at

24   Tab 2.        And if you go to page 63, that's got your materials

25   relied upon, just make sure we are on the same page here.
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                             MICKENS - CROSS / LO

 1        And this is -- do you recognize, sir, that this is the

 2   appendix A to your expert report?

 3   A.   I believe that it is, yes.

 4   Q.   And this is the area where you listed the materialities

 5   that you relied upon in rendering your opinions, correct?

 6   A.   Yes.

 7   Q.   And in the book section, it looks like you didn't

 8   reference one book by Mr. Levin, you referenced three of them,

 9   correct?

10   A.   Yes, that's right.

11   Q.   Is there a reason why you relied on three separate books

12   by Mr. Levin?

13   A.   So, let's see.    The first -- sorry.      The third book, I

14   believe, is an older book that Levin wrote.

15        And then the -- there's a newer version of that, which is

16   the 2017 one.     I'm not sure if the 2016 version, if that's --

17   like an error in -- I don't know if there is a separate book.

18        I only recall looking at two individual books written by

19   that author.

20   Q.   Do you recall which two you looked at?

21   A.   The most recent version of the macOS and iOS internals

22   book and then the original book, the 2013.

23   Q.   The 2013 and the 2017?

24   A.   Yes.

25   Q.   On Friday you gave testimony about notarization and
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 32 of 295 2643
                             MICKENS - CROSS / LO

 1   gatekeeper mechanisms on MacOS.

 2        Do you recall that?

 3   A.   Yes, sir.

 4   Q.   Is it your understanding that that technology came into

 5   place in around the 2019 time frame?

 6   A.   That is about right, yes.

 7   Q.   So that technology came in after the publication dates of

 8   all of Mr. Levin's books, correct?

 9   A.   I believe that's correct.      Yes.

10   Q.   Let's take a look, actually, at Mr. Levin's book.          And you

11   will have a copy of it in Tab 12 of your blinder.

12              MR. LO:   I will ask Mr. Eltiste to put it up.

13   BY MR. LO:

14   Q.   By the way, is Mr. Levin a respected authority in the --

15   in your field?

16   A.   He is.

17   Q.   And you recognize the -- this cover page here as

18   Mr. Levin's book?     I believe this is the original one.

19   A.   This is the 2013 book.

20   Q.   Turn to what's page 80 of this book, sir.

21   A.   Yes, sir.

22   Q.   I'm going to read from the paragraph at the very top that

23   says "in actuality."

24   A.   Uh-huh.

25   Q.   (reading)
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 33 of 295 2644
                             MICKENS - CROSS / LO

 1                "In actuality, however, Apple's application security

 2                is light years, if not parsecs ahead of its peers.

 3                Windows user account control, UAC, has been long

 4                present in OS X.    IOSs hardening makes Android seem

 5                riddled in comparison."

 6        Do you see that, sir?

 7   A.   I do.

 8   Q.   And for those of us who are not Star Wars fans, the word

 9   "parsecs" that's Mr. Levin's way of saying that Apple is far,

10   far ahead of its competitors in terms of security?

11   A.   That's right.

12        I should note, though, this is a 2013 quote.         That's

13   actually quite relevant to my testimony --

14   Q.   Thank you.

15   A.   -- and to my written direct report.

16   Q.   Thank you.

17        Let's move forward in time then.       In 2018, you are aware

18   that Epic offered a Fortnite installer for Android, users?

19   A.   I am aware of that, yes.

20   Q.   And that was Epic's way of trying to make Fortnite

21   available for Android users without having to go through the

22   Google Play store, correct?

23   A.   I believe that's correct, yes.

24   Q.   And you are aware that immediately after that installer

25   was released, it was discovered that the Fortnite installer
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 34 of 295 2645
                             MICKENS - CROSS / LO

 1   had a security vulnerability?

 2   A.   That's correct.

 3   Q.   And that was a serious security vulnerability, correct?

 4   A.   Yes, one that was fixed very quickly.

 5   Q.   And would you agree that that was a fairly common

 6   vulnerability in Android?

 7   A.   The security error in question was not an Android error so

 8   much as it was a programming bug in the Fortnite installer

 9   itself.

10   Q.   Okay.

11        So would you agree that that vulnerability was caused more

12   by carelessness on Epic's part rather than a vulnerability in

13   the Android system?

14   A.   I would have to think about that.        It was a programming

15   error.      I'm not quite sure how to apportion blame between the

16   two parties.

17   Q.   Now, when I asked you about that error, you were quick to

18   point out that Epic fixed it quickly.         Yes?

19   A.   Yes.

20   Q.   And you were quick to point that out because you wanted to

21   put in the context of the security vulnerability in terms of

22   how quickly Epic patched up the vulnerability; is that why you

23   offered that, you volunteered that information?

24   A.   Not quite.    I offered up that information because I think

25   that it's hard to deploy a complex piece of software.
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                             MICKENS - CROSS / LO

 1        We see that with Apple.      Apple has been subjected to jail

 2   breaking attacks for the past what, 10, 15 years.           It's hard.

 3   And all that means is that it's difficult to create complex

 4   software.

 5   Q.   In your analysis of Apple's shortcomings with respect to

 6   its security issues, would you agree that there is no place in

 7   your report where you took into account the speed with which

 8   Apple remedied any of the issues?

 9        That's not part of your analysis, correct?

10   A.   Because it's not relevant to my determination of the right

11   equivalence class argument.

12   Q.   When I asked you about Epic's security shortcomings, you

13   volunteered information about the speed of the patch, correct?

14   A.   That's correct.

15   Q.   And -- but when it comes to the Apple potential

16   shortcomings, that was not relevant to your analysis, correct,

17   the speed with which Apple may or may not have remedied any

18   security issues, correct?

19   A.   No.    Because all that I am trying to establish in my

20   expert witness report is this rough parity argument.

21   Q.   Sir, did you or did you not take into account the manner

22   in which Apple remedied any of the security shortcomings you

23   allege occurred?

24        Is that something you took into account?

25   A.   I did.   In making --
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 36 of 295 2647
                             MICKENS - CROSS / LO

 1   Q.    Okay.

 2                         (Simultaneous colloquy.)

 3   Q.    Let's go to your report in -- which is in Tab 2.

 4   A.    Yes, sir.

 5   Q.    And would you point me to the paragraph where you took

 6   into account the speed or the manner in which Apple responded

 7   to any of the vulnerabilities or shortcomings you point out?

 8         What paragraph should we look at?

 9   A.    Well, I don't have the report memorized.        So I do know,

10   though, there is a discussion in that report -- I mean, I can

11   take the time to look for the particular paragraph number if

12   you'd like.

13   Q.    We will see if it comes up on redirect, and we will move

14   on.   Thank you.

15   A.    I do establish in the report --

16   Q.    Thank you.   There is no question pending.

17   A.    Yes, sir.

18   Q.    You have heard of "security" referred to as a cat and

19   mouse game?

20   A.    That's right.

21   Q.    And it's a weird analogy, but I guess it means that

22   sometimes the cat wins and sometimes the mouse wins?

23   A.    Accurate.

24   Q.    And the analogy is there because in security, the

25   attackers are constantly trying to up their game to one-up the
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                             MICKENS - CROSS / LO

 1   cat.    I'm going to say that the defender is the cat in this

 2   situation.

 3   A.     Sure.

 4   Q.     And as a result, the cat has to constantly up its game in

 5   order to keep up with the attackers, the mouse, correct?

 6   A.     That's right.

 7   Q.     All right.

 8          What you did, sir, in your report, was you took snapshots

 9   in moment in which the cat got a temporary advantage.              That's

10   what you did, sir, correct?            You pointed out situations in

11   which bad apps got through the app-review process, correct?

12                  THE COURT:     You mean the mouse?

13                  MR. LO:    The mouse.     Thank you, Your Honor.   This is

14   the danger of analogies.          Yes.

15                  THE WITNESS:     There's a lot going on, but suffice it

16   to say that the report does point out some specific instances

17   where -- let's just say the attacker won.

18   BY MR. LO:

19   Q.     Yeah.    And what you don't take into account is how the

20   cat -- I'll get it right this time -- responded to any of

21   those circumstances; that was not relevant to your analysis,

22   correct?

23   A.     I disagree.       Because the report actually talks about

24   specifically many of the defensive techniques that iOS in

25   particular uses.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 38 of 295 2649
                             MICKENS - CROSS / LO

 1   Q.   Do you -- do you talk about any of the responses that

 2   Apple took in terms of its app-review process in order to make

 3   it stronger relative to attackers; is that something you

 4   discussed?

 5   A.   Well, it gets back to the question from a few minutes ago.

 6        I talk about in the report that major software companies,

 7   like Apple, have a strong security culture, and that speaks

 8   directly to your question.

 9   Q.   Sir, my question is focused on the app-review process.

10        Do you or do you not discuss how Apple's app-review

11   process may have responded to any of the incidences you raise

12   in your report?     Is that anywhere in there?

13   A.   I think this section about security culture speaks to that

14   indirectly, yes.

15              THE COURT:     You said indirectly?

16              THE WITNESS:     Indirectly, yes.

17              THE COURT:     You said that's in the report, but it's

18   not in the direct examine, your direct written testimony?

19              THE WITNESS:     I would have to look and see.

20              THE COURT:     That's okay if you don't know.

21              THE WITNESS:     Okay.

22   BY MR. LO:

23   Q.   Let's change subjects for a minute and talk about zero-day

24   vulnerabilities.

25        As I understand it from reading your written direct, a
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                             MICKENS - CROSS / LO

 1   zero-day vulnerability is a security bug that is unknown to

 2   the developers of the Bug E program, correct?

 3   A.   That is correct.

 4   Q.   So in the context of a mobile device, it could be a flaw

 5   in the operating system or in the browser or maybe even the

 6   hardware, correct?     It could be in any of those places,

 7   correct?

 8   A.   Yes.

 9   Q.   And it's called a zero-day vulnerability because it's

10   something that the manufacturer, which in this case, let's say

11   it's Apple, doesn't even know about, correct?

12   A.   Yes.

13   Q.   And it's got value to an attacker because if you use a

14   vulnerability that Apple doesn't even know about, then Apple

15   is not defending against it at the moment, correct?

16   A.   Correct.

17   Q.   And apparently there's a market to buy these

18   vulnerabilities, correct?

19   A.   Yes, sir.

20   Q.   That is because people or law enforcement or nation states

21   will buy knowledge about these vulnerabilities in order to

22   gain access to a device, correct?

23   A.   That's right.

24   Q.   And in your written direct, you cite to evidence that on

25   at least one marketplace, it costs more money to buy a
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                             MICKENS - CROSS / LO

 1   vulnerability for Android devices than it is to buy a

 2   vulnerability for iOS devices.

 3        Do you recall that, sir?

 4   A.   I do.

 5   Q.   And I think the market analysis or logic is that the more

 6   secure a device is, the more one has to pay to find a

 7   vulnerability to break into it.

 8        Is that roughly correct?

 9   A.   Yes.

10   Q.   So if you -- one wanted to find a way to break into Fort

11   Knox, that's going to cost a little bit more than finding a

12   way to break into the local bank, yes?

13   A.   Yes.

14   Q.   All right.

15        Let's take a look at the data that you actually relied

16   upon.   And that's in Tab 10 of your binder.

17                MR. LO:   I will ask Mr. Eltiste to put it up on the

18   screen as well.

19   BY MR. LO:

20   Q.   And particularly, it's on, I believe, you looked at page 6

21   of this document.

22        Do you recognize this as the payout table that you were

23   looking at for the zero-day vulnerability payouts?

24   A.   I do.

25   Q.   And this is from the website of Zerodium and you cite to
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 41 of 295 2652
                             MICKENS - CROSS / LO

 1   this particular page in your -- both in your report and

 2   written direct, correct?

 3   A.   Correct.

 4   Q.   First, let's get oriented here and make sure we are

 5   looking at the same information.

 6        If you go to the top right-hand corner, you will see -- is

 7   that a brown?     What would you call that color?

 8   A.   It's brownish.    That's close enough.

 9   Q.   All right.    Let's say it's brownish.      And that's for an

10   Android FCP 0-click.      So that's a particular type of

11   vulnerability, that if you can come up with one, Zerodium

12   would pay you for it, correct?

13   A.   Yes.

14   Q.   All right.

15        And we can see in the middle of this page there's a

16   legend, which the brownish color is for Android.          Yes?

17   A.   Yes.

18   Q.   And then to read this table, if we go all the way to the

19   left, we'll see that the highest price for an Android

20   vulnerability is $2.5 million, correct?

21   A.   That's correct.

22   Q.   Now, if we come back to the right-hand side, we see that

23   the next highest box is a red box and that's for an iOS

24   vulnerability, correct?

25   A.   Correct.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 42 of 295 2653
                             MICKENS - CROSS / LO

 1   Q.     And if we just again skip over to the left-hand side of

 2   this periodic table-looking document, you see that the highest

 3   price that zero-day was willing to pay at the time was

 4   $2 million for an iOS zero-day vulnerability, correct?

 5   A.     Correct.

 6   Q.     You are using the difference between the $2 million payout

 7   and the $2.5 million payout for Android as a way of

 8   demonstrating that Android is more secure than iOS; that was

 9   the logic you used?

10   A.     Not quite.

11   Q.     Well, let me see if I can reframe that then.

12   A.     Please.

13   Q.     You stated in your testimony that a reasonable

14   interpretation of this market data is that iOS phones are

15   now easier to compromise than Android phones making iOS

16   exploits less valuable.

17          Would you agree with that?

18   A.     I said that, yes, that's a reasonable interpretation of

19   the data.        I also said that --

20   Q.     Thank you.

21   A.     -- market data.

22   Q.     The gap between 2 million and $2.5 million for a zero-day

23   vulnerability, would you consider that to be a significant

24   gap?

25   A.     Well, remember that my argument is about equivalence
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 43 of 295 2654
                             MICKENS - CROSS / LO

 1   classes.       I think that if we are trying to argue about

 2   equivalence classes, then that gap is sufficient to suggest

 3   that both iOS and Android are at least in the same rough

 4   equivalence class with respect to security.

 5                  MR. LO:   You can take that down, Mr. Eltiste.    Thank

 6   you.

 7   BY MR. LO:

 8   Q.     Let's switch topics and talk about macOS.

 9   A.     Okay.

10   Q.     You have observed that macOS allows for sideloading,

11   meaning the distribution of applications outside of the Mac

12   App Store, correct?

13   A.     Correct.

14   Q.     And the inference you draw from that is that if

15   sideloading is safe enough for macOS, then it ought to be

16   safe enough for iOS, correct?

17   A.     That's paraphrasing a bit, but roughly, yes.

18   Q.     You did not analyze in your testimony whether different

19   security considerations apply for computers as opposed to

20   mobile devices, correct?

21   A.     I don't believe that claim to be true.

22   Q.     Did you analyze whether the difference in numbers of iOS

23   devices versus macOS devices create different security

24   considerations?

25          Do you believe that claim to be true?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 44 of 295 2655
                             MICKENS - CROSS / LO

 1   A.   I do not.

 2   Q.   Do you believe that malware developers will tend to target

 3   their attacks on the devices with the most number of users?

 4   A.   Not necessarily.

 5   Q.   Okay.

 6        So you don't agree that as if -- for a typical malware

 7   developer, they may say there's a lot more Windows computers

 8   out there as opposed to Mac computers, so I am going to put my

 9   effort into writing malware for Windows computers because that

10   allows me to reach the greatest audience of potential victims.

11        You don't agree with that?

12   A.   I believe that's part of the calculation that malware

13   writers use, but that's not the end story.

14   Q.   Okay.

15        Well, let's take a look at what Mr. Levin has to say about

16   that.   So let's go back to Tab 12.        And this is, again, the

17   Jonathan Levin book that you cited to three times or three

18   different times in your expert report.

19        And turn to page 79.

20                MR. LO:   And I'll ask Mr. Eltiste to put it up so we

21   can look at it together.

22        And it's the bottom heading OS X and iOS security

23   mechanisms.      Let me know when you're there.

24                THE WITNESS:     This is Tab 12?

25                THE COURT:     Yes.   Tab 12 of your binder with your
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 45 of 295 2656
                             MICKENS - CROSS / LO

 1   cross-examination exhibits.

 2              THE WITNESS:     All right.

 3   BY MR. LO:

 4   Q.   Let's see what Mr. Levin writes.       He writes that, "viruses

 5   and malware are rare on OS X."

 6        Let me pause there.      You recognize OS X as a reference to

 7   the then current version of MacOS?

 8   A.   Correct.

 9   Q.   It was version 10, correct?

10   A.   Correct.

11   Q.   (reading)

12              "Which is something Apple has kept boasting for many

13              years as an advantage for Mac in their commercials of

14              Mac versus PC.     This, however, is largely due to the

15              Windows monoculture.     Put yourself in the role of

16              malware developer, concocting your scheme for the

17              next devious bot.     Would you invest your time and

18              effort in attacking 90 percent of the world or under

19              5 percent"?

20        And then it goes:

21              "On, indeed, OS X and to an extent Linux, remain

22              healthy in part simply because they do not attract

23              much attention from malware providers, another reason

24              is that UN*X has always adhered to the principle of

25              least privilege in this case of not allowing the user
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 46 of 295 2657
                             MICKENS - CROSS / LO

 1                root access by default."

 2        Did you understand Mr. Levin's point here to be that

 3   because there were fewer Mac devices at the time of this

 4   writing, there were simply fewer attackers interested in

 5   attacking Mac computers?

 6        Did you understand that to be what he was presenting here?

 7   A.   Yes, I believe that's his argument.

 8   Q.   And you understood his analysis to be that malware

 9   developers will target the products with the greatest number

10   of devices, correct?

11   A.   That's the argument that he's making here, although I

12   don't fully agree with that analysis.

13   Q.   Sure.

14        And in rendering your analysis here, you ignored the

15   possibility that today MacOS can stand to have different

16   security measures from iOS simply from the fact that there

17   are fewer macOS devices out there; that's not something you

18   took into consideration, correct?

19   A.   From the security perspective, that's a difference without

20   distinction.

21   Q.   Okay.

22        And from a security perspective, is it a difference

23   without distinction that because there are much fewer Macs out

24   there than iOS devices, it may just be the case that there

25   are fewer attempted attacks on Macs as opposed to iOS?           Is
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 47 of 295 2658
                             MICKENS - CROSS / LO

 1   that a distinction without a difference in your view as well?

 2   A.   Well, I think Apple certainly doesn't think that way

 3   because it doesn't advertise macOS as being less secure

 4   because hey, there are fewer attacks on macOS.

 5   Q.   Okay.    But it's not relevant to your consideration,

 6   correct, the number of devices?

 7   A.   The number of devices that are used in the world hopefully

 8   doesn't make a determination on whether we try to make those

 9   devices secure.

10   Q.   Does the number of devices that are out there in the world

11   have any impact, in your view, on the incentives for attackers

12   to write malware for a particular platform?

13   A.   I think there are two things --

14   Q.   Does it or does it not in your view?

15   A.   It is part of the determination --

16   Q.   Okay.

17   A.   -- that guides what malware writers do.

18                MR. LO:   Your Honor, we have a copy of this document

19   which we would like to enter into evidence as 5562.

20        I can hand that up if Your Honor permits.

21                THE COURT:   Of the next one you mean?

22                MR. LO:   Of this particular document, we have it

23   marked as the next number, which would be 5562, and we move to

24   enter it into evidence.

25                THE COURT:   Mr. Levin's document?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 48 of 295 2659
                             MICKENS - CROSS / LO

 1               MR. LO:   Yes, Your Honor.

 2               MR. CLARKE:    Objection, Your Honor.     I'm not sure

 3   what the non-hearsay purpose of this document would be in

 4   evidence.

 5               THE COURT:    Okay.    Response?

 6               MR. LO:   Well, first, it's -- if Mr. Clarke is saying

 7   it is not admissible for the truth of the matter, it is a

 8   document that Mr. Mickens relies upon.         And, second, I think

 9   the words that are written by Mr. Levin in the community has

10   independent value regardless of whether it is for the truth of

11   the matter or not.

12               THE COURT:    I'll admit it for the limited purpose of

13   understanding what Mr. -- or Professor Mickens relied on it

14   for in his report.

15               MR. LO:   Thank you, Your Honor.     May I hand the

16   exhibits up?

17               THE COURT:    You can hand one to the clerk.      I have my

18   own copy.

19               MR. LO:   Thank you.

20           (Defendant's Exhibit 5562 received in evidence)

21               THE COURT:    I take it that -- I'll just say this:          I

22   thought that each side -- each of their witnesses experts was

23   relying on significant amounts of hearsay.          And I think

24   Mr. Evans told me that that's what antitrust economists do.

25   So this really isn't anything different from those.           Proceed.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 49 of 295 2660
                             MICKENS - CROSS / LO

 1                MR. LO:   Thank you, Your Honor.

 2   BY MR. LO:

 3   Q.   Let's keep talking about MacOS.       You were asked on

 4   Friday whether iOS is more secure than MacOS.

 5        Do you remember the judge asking you that question?

 6   A.   Yes.

 7   Q.   And your answer was, and I think it's consistent with what

 8   you are saying this morning is that, I would not say it is

 9   meaningfully more secure.

10        Do you recall that exchange?

11   A.   I do.

12   Q.   Did you observe any data that sheds light on whether MacOS

13   with its ability to sideload is, in fact, meaningfully -- in

14   fact equally secure as iOS?

15        Did you see any data that would shed light on this

16   particular issue?

17   A.   The data that I considered was the design of the two

18   operating systems in the security mechanisms they use.

19   Q.   Any other data that you had in mind?

20   A.   If I understand the intent of the question, no.          The

21   majority of evidence that I looked at was the engineering and

22   security of the two systems.

23   Q.   Let's go back to tab 10, which is the Zeriodium document.

24   And let's go back to page 6.

25   A.   Yes.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 50 of 295 2661
                             MICKENS - CROSS / LO

 1   Q.   All right.

 2        We were just talking about this a few minutes ago.          And

 3   you pointed out that Android has a higher payout than iOS.

 4   And as we talked about, a reasonable interpretation of that

 5   data is that iOS phones are now easier to compromise than

 6   Android phones.

 7        Do you recall discussing that a few minutes ago?

 8   A.   I do.

 9   Q.   Let's turn back one page, so let's go to page 5 of the

10   document.    And here, we've got another periodic table-looking

11   chart except this one is for desktops and servers.

12        Do you see that, sir?

13   A.   I do.

14   Q.   And let's start with the legend in the middle.

15        And you'll see that -- can we agree to call it orange for

16   MacOS; is that close enough?

17   A.   Sure.

18   Q.   All right.

19        So the legend says that you look for the orange box to see

20   what the payouts are for MacOS, correct?

21   A.   Correct.

22   Q.   Now let's look for the highest paying MacOS zero-day

23   payout.

24        Would you agree that that's in the left-hand side, middle

25   of the page that says "Safari RCELPE"?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 51 of 295 2662
                             MICKENS - CROSS / LO

 1   A.   Yes.

 2   Q.   And according to the zero-day Zerodium zero-day chart, the

 3   highest payout of MacOS at the same, again it's the same

 4   document we were looking at earlier, is up to 100,000,

 5   correct?

 6   A.   That's correct.

 7   Q.   And if my math is correct, that would mean that the

 8   highest payout that zerodium is giving for a MacOS

 9   vulnerability is 5 percent of the highest payout for iOS,

10   correct?

11   A.   Uh --

12   Q.   Maybe I'll make it easier.

13                MR. LO:   Mr. Eltiste, is there a way to put page 6

14   and page 5 side by side so we don't have to flip back and

15   forth?

16        There we go.

17                THE WITNESS:   It's lower, certainly.     We can agree on

18   that, yes.

19   BY MR. LO:

20   Q.   All right.

21        And when we were talking about the distinction of $500,000

22   between Android and iOS, you said that that put them in the

23   same equivalence class, correct, that that meant that Android

24   and iOS were in the same security equivalence class,

25   correct?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 52 of 295 2663
                             MICKENS - CROSS / LO

 1   A.   Roughly speaking, yes.

 2   Q.   Would you say a $100,000 payout for the MacOS to a

 3   $2 million payout for iOS, would that still put them in the

 4   same security equivalence class in your view?

 5   A.   Well, we are looking at apples and oranges here.          Because

 6   the first chart we looked at was mobile devices and then the

 7   second one that we looked at was for desktop and servers OSs.

 8   Q.   I thought you told me a minute ago that you did not think

 9   that different safety considerations applied for commuters and

10   mobile devices.

11        Did I hear you correctly previously?

12   A.   That's correct.     Yes.

13   Q.   Okay.   And so according to the Zerodium payout chart you

14   are looking at, would you agree that the difference in the

15   payout is significantly more for iOS than for MacOS?

16   A.   That is true, although we would have to look at the market

17   dynamics affecting the two vulnerability markets.

18   Q.   And using the logic you applied when you were just looking

19   at Android versus iOS, the 2 million-dollar payout for iOS

20   versus the $100,000 payout for MacOS would suggest that iOS

21   is treated as being more secure than MacOS, using your logic,

22   correct?

23   A.   Well, my logic was looking at the particular mobile

24   category.    That's what's covered in my written report.

25        And so I think that's particularly relevant because I
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 53 of 295 2664
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 1   think both sides, Apple in particular, is worried about,

 2   well, iOS must be so much more secure.         That's what Apple

 3   will claim than Android.      That's why I focused purely on the

 4   the mobile pricing data.

 5   Q.   And even though you do an analysis of MacOS versus iOS --

 6   well, first, let me ask a foundational question.

 7        In performing your analysis, did you know that the

 8   information on page four was there?        Did you notice that when

 9   you were doing your analysis?

10   A.   I did.

11   Q.   Okay.    And so you saw that the data of the $100,000 payout

12   for MacOS was there on the page before the 2 million-dollar

13   payout for iOS but you made a decision not to include that

14   in your analysis, accurate?

15   A.   Well I thought it wasn't relevant to my determination.

16   Q.   Okay.

17        Would you agree that the difference in the two prices,

18   meaning the $2 million for iOS versus $100,000 for MacOS, is

19   that consistent or inconsistent with your testimony on Friday

20   that MacOS is just as secure as iOS?

21   A.   I think it is consistent.

22   Q.   And would you agree though that the difference in relative

23   popularity and security is what explains the difference -- are

24   two of the reasons that explain the difference between the

25   high payout for an iOS vulnerability and the $100,000 pay
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 54 of 295 2665
                             MICKENS - CROSS / LO

 1   out for MacOS?

 2   A.   Not necessarily.

 3   Q.   Not necessarily.

 4   A.   Even if that were true --

 5   Q.   Let's see what Zerodium says.       We have gone to page 6,

 6   we've gone to page 5, let's go to page 4 of the document.

 7        And there -- I will ask, Mr. Eltiste, to put it up so we

 8   can look at it together.

 9        And there's a section there called Zeroduium payouts.

10        Do you see that, sir?

11   A.   I do.

12   Q.   Let's read the second sentence there, which says:

13                "The amounts paid by Zerodium to researchers to

14                acquire their original zero-day exploits depend on

15                the popularity and security level of the affected

16                software system as well as the quality of the

17                submitted exploit."   And then there's a

18                parenthetical.

19        Do you see that, sir?

20   A.   I do.

21   Q.   So according to this document that you are relying upon,

22   the differences -- by the way, the prior sentence talks about

23   the fact that the exploits range from $2500 to up to

24   $2.5 million.

25        Do you see that, sir?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 55 of 295 2666
                             MICKENS - CROSS / LO

 1   A.   I do.

 2   Q.   So what Zerodium is explaining to the public on the

 3   document that you relied upon is that they are giving

 4   different prices in part based on how popular a particular

 5   platform is and what the security level of that platform is.

 6        That is what Zerodium is saying, correct?

 7   A.   Yes.    It considers all those facts.      That's right.

 8   Q.   But in reading these charts, and in noticing that there is

 9   a $1.9 million difference in the payout between MacOS and

10   iOS, you did not form a conclusion that perhaps one

11   explanation for the great difference in price is that one

12   platform may be more popular or that one platform may be more

13   secure than the other; you did not draw that conclusion from

14   this data, is that accurate?

15   A.   I did not although just to make sure I understand the

16   question --

17   Q.   You've answered the question.

18   A.   Okay.

19                MR. LO:   Your Honor, we would move what is in Tab 10

20   into evidence as Exhibit 5561, which is the next in number.

21                MR. CLARKE:    Your Honor, I would raise the same

22   objection on the last exhibit.

23                THE COURT:    Admitted, with the same limitation.

24           (Defendant's Exhibit 5561 received in evidence)

25
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 56 of 295 2667
                             MICKENS - CROSS / LO

 1   BY MR. LO:

 2   Q.   All right.

 3        Sir, we've talked Star Wars, let's talk Enterprise now.

 4        You gave some testimony about the Enterprise Program on

 5   Friday, correct?

 6   A.   I did.

 7   Q.   And you understand that Apple imposes requirements for

 8   participation in the Enterprise Program?

 9   A.   If I understand that correctly, Apple is the one who gets

10   to decide which businesses can participate in the program,

11   that's right.

12   Q.   You mentioned in your response, but primarily the

13   Enterprise Program is intended for businesses to distribute

14   applications to their employees, correct?

15   A.   Correct.

16   Q.   And, in fact, it's not for any business, it's for

17   relatively large organizations with over 100 individuals,

18   correct?

19   A.   Yes.

20   Q.   Okay.

21        You understand that oftentimes in the business or the

22   Enterprise setting, the devices may sometimes be owned by the

23   employer.     The employer will provide the iPhone or the iPad to

24   the employees.     Yes?

25   A.   That happens sometimes.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 57 of 295 2668
                             MICKENS - CROSS / LO

 1   Q.   That happens.

 2        Would you agree that particularly in the instances where

 3   the business is providing the device to the employee, they are

 4   not likely to intentionally write a program that's going to

 5   destroy the device?      Would you agree with that?

 6   A.   I would hope that that's true.

 7   Q.   I would hope so, too.

 8        Would you agree that in general, if the employer is

 9   distributing applications to its employees, they are not

10   likely to write a program that's going to scam or physically

11   or mentally harm their own employees?         You would agree with

12   that?

13   A.   Well, I would say that I wish that was always the case,

14   but if you are an operating systems designer, you have to

15   assume the worst.

16   Q.   I'm saying intentionally.      I get that sometimes bugs get

17   through the program.      Would you agree it is less likely for an

18   employer to intentionally write an app that tries to harm

19   their employees?

20   A.   That's a plausible theory.

21   Q.   Have you researched whether there have been instances of

22   abuse of the Enterprise Program?

23   A.   There -- I am aware of some instances of abuse of the

24   Enterprise Program.

25   Q.   You are aware of specific instances of abuse?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 58 of 295 2669
                             MICKENS - CROSS / LO

 1   A.   Yes.    How are you defining abuse?

 2   Q.   Well, how did you define abuse?

 3   A.   A question has been met with a question.

 4        So I am aware that there are instances in which companies

 5   have used the Enterprise Program to distribute apps to people

 6   who are not Enterprise employees.

 7   Q.   Okay.

 8        Are you aware of any kind of malware or scams or

 9   Phishing-type activity that occurred as a result of the

10   Enterprise Program?

11   A.   Some of the incidents that I mentioned before, there were

12   concerns that the apps that were distributed collected too

13   much user information, yes.

14   Q.   And when you say the apps collected too much information,

15   are you referring to the Facebook incident?

16   A.   That's one of the incidents.

17   Q.   What Facebook was doing with the Enterprise Program was it

18   was distributing apps to the general public, paying

19   individuals I think $20 a month or something to that effect,

20   in exchange for tracking them in great detail, correct?

21   A.   Correct.

22   Q.   And that was an abuse of the program, correct?

23   A.   Yes.

24   Q.   Because it violated the rules about not distributing

25   outside of your organization, correct?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 59 of 295 2670
                             MICKENS - CROSS / LO

 1   A.   Yes.

 2   Q.   All right.

 3        In the instances of bad apps, meaning scams or privacy

 4   intrusions of the Enterprise Program that you're aware of,

 5   would it be accurate to say that all of them occurred in the

 6   context -- outside of the context of an employer/employee

 7   relationship?

 8        In other words, those are all of the company distributing

 9   apps using the Enterprise Program to strangers and third

10   parties?

11   A.   In all of the instances I've heard of of abuse, yes,

12   that's the setup.

13   Q.   Right.

14        You've not heard of any instances of abuse where it's

15   actually the employer trying to scam or institute a privacy

16   intrusion on its own employees, correct?         You are not aware of

17   any instances of that happening?

18   A.   Correct.

19   Q.   And so does that -- did that fact enter into your

20   consideration at all when you are advocating that the

21   Enterprise Program should be expanded beyond the

22   employee/employer relationship and permit anybody to

23   distribute apps to strangers?       Did that -- did that fact come

24   into consideration?

25   A.   I am not suggesting what you just suggested.         I just want
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 60 of 295 2671
                             MICKENS - CROSS / LO

 1   to be clear about that.

 2          I brought up the Enterprise Program merely to say that

 3   there are already a variety of distribution channels that

 4   exist on iOS, and the Enterprise model could act as sort of a

 5   starting point for thinking about what a third-party channel

 6   might look like.

 7   Q.     Okay.

 8          You are actually -- just to be clear, you are not

 9   advocating that the Enterprise Program should be used to allow

10   app developers to distribute apps to people outside the

11   organization; you are not advocating for that?

12   A.     Right.    Just to be clear, I'm saying it's a point in the

13   design space and we can think of other points in the design

14   space if we were to have third-party distribution channels on

15   iOS.

16   Q.     All right.

17          Let's go back to your deck that you showed on Friday.

18                  MR. LO:     I will ask Mr. Eltiste to put it up.   That's

19   PX0081.        And I'm going to ask Mr. Eltiste to put up .9.       And

20   we will all look at it together.           If you want to take a look

21   at the paper version, it is on Tab 13 of your binder.

22                  THE WITNESS:     I can see it.

23   BY MR. LO:

24   Q.     All right.        Your conclusion in this case is that iOS

25   users would be just as safe even if app review did not exist,
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 61 of 295 2672
                             MICKENS - CROSS / LO

 1   correct?

 2   A.     Not quite.

 3          I said that I believe that the app review provides

 4   marginal additional security benefit to that which is provided

 5   natively by the operating system.

 6   Q.     Fair enough.

 7          And you think that the reason that app review provides

 8   marginal value is that anything the app review does to keep a

 9   user safe, the on-device mechanisms can accomplish almost as

10   good, correct?

11   A.     Not quite.     I would say that there are a series of

12   security mechanisms that the OS alone can enforce.           Then there

13   are some other security properties which an OS cannot, but

14   also the app review struggles to provide those properties,

15   too.

16   Q.     Okay.    So when you say the things that the OS layer can

17   provide, we're talking about the portion that's in green on

18   the screen right now, the on-device security as you've marked

19   it?

20   A.     Yes.    If I understand your question, what we are looking

21   at is sort of the core foundation of the client side, security

22   mechanisms.

23   Q.     And on Friday, if I heard you correctly, you called this

24   layer the most important layer for security, correct?

25   A.     I believe that's right.     Yes.
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                             MICKENS - CROSS / LO

 1   Q.   Okay.

 2        Would you agree that the on-device security measures that

 3   we are looking at on the screen right now cannot protect users

 4   from apps that could inflict mental or physical harm to

 5   individuals?

 6   A.   I believe that's correct, although we are talking about

 7   content moderation here, I believe, not about security.

 8   Q.   Okay.   You called it content moderation so let me give you

 9   a more specific example.

10        If an app encourages distraught teenagers to commit

11   suicide, would you agree that on-device security does nothing

12   to keep that app from the hands of iOS users?          Would you

13   agree with that?

14   A.   Well, once again, I want to distinguish between security

15   and content, but, yes, I do agree.

16   Q.   And let's talk about content for age appropriate content

17   for children.

18        If an app is targeted to young children and asked them are

19   your parent home, and if not, where do they keep their

20   jewelry, would you agree that the on-device security

21   mechanisms you call the most important layer does nothing to

22   protect users from that kind of behavior?

23   A.   That's correct.

24   Q.   And what about scams?      If an app pretends to be the Red

25   Cross and says we'd love to have you donate $500 and it goes
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 63 of 295 2674
                             MICKENS - CROSS / LO

 1   off to some entity other than the Red Cross, you would agree

 2   that the on-device security mechanisms we are looking at on

 3   the screen does nothing to protect users from that type of

 4   behavior, correct?

 5   A.   I would say the world that you are describing sounds a lot

 6   like the MacOS world in as much as those exact same type of

 7   apps can get on MacOS.

 8        Yes, I agree.

 9   Q.   What about copycat apps and piracy, you are not rendering

10   an opinion that the on-device security mechanisms here do

11   anything to protect against piracy, correct?

12   A.   It depends on what kind of piracy.        This is mentioned in

13   my expert witness report.

14   Q.   Let me just be clear about what kind of piracy.

15   A.   Sure.

16   Q.   You're a former Microsoft guy.       Microsoft sells Word,

17   correct?

18   A.   Correct.

19   Q.   If somebody puts out a version of word that is free,

20   and -- to users, that's what I mean by piracy.

21        Would you agree that the on-device security doesn't know

22   whether the version of Word that I've download is real or not.

23   A.   Correct.

24   Q.   Okay.

25        What about fake reviews, do you agree that sometimes app
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 64 of 295 2675
                             MICKENS - CROSS / LO

 1   developers will give themselves thousands of fake reviews in

 2   order to entice users to buy their applications?

 3        You understand that that happens from time to time?

 4   A.   That can happen, yes.

 5   Q.   Would you agree that the on-device security mechanisms we

 6   are looking at on screen that you call the most important

 7   layer does nothing to protect users and developers from that

 8   kind of behavior?

 9   A.   Well, there's a conflation here I just want to note for

10   the Court --

11   Q.   Does it protect or does not it?

12   A.   It does not, but you are not talking about core security

13   features, though.

14   Q.   Fair enough.

15        You hit on my next point, which is that these are not, in

16   your view, core security features, correct?

17   A.   Correct.   Even though I think that --

18   Q.   And, in fact, sir, in your report, do you recall what

19   you -- what phrase you used to describe apps that may inflict

20   physical or mental harm?

21        What was the phrase you used?

22   A.   I don't think that I specifically used a phrase to talk

23   just with apps that may cause harm.

24   Q.   You -- instead, you described all of the categories of

25   apps that we have been discussing for the last few minutes as
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 65 of 295 2676
                             MICKENS - CROSS / LO

 1   quality assurance properties, correct?

 2   A.   That's not quite right.

 3        What I said in my report is --

 4   Q.   Let's take a look at your report.

 5                MR. LO:   I will ask Mr. Eltiste to put up 111.       It is

 6   in Tab 2 if you would like to turn to it on paper.

 7   BY MR. LO:

 8   Q.   All right.

 9        In paragraph 111 of your report, you start to enumerate

10   Apple's list of desirable app properties.

11        Do you see that, sir?

12   A.   I do.

13   Q.   And you helpfully tell us that security properties are

14   underlined, correct?

15   A.   Yes.

16   Q.   And other properties, which are not underlined, you refer

17   to as quality assurance properties, correct?

18   A.   Correct.

19   Q.   And now let's take a look at the next page where there's a

20   safety bullet point.

21                MR. LO:   I will ask Mr. Eltiste to put that up.

22   BY MR. LO:

23   Q.   Are you with me at the safety bullet point?

24   A.   Yes, sir.

25   Q.   Let's start at the bottom.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 66 of 295 2677
                             MICKENS - CROSS / LO

 1        You write that an app must handle private user data

 2   securely as required by the legal review step described below.

 3        Do you see that, sir?

 4   A.   I do.

 5   Q.   That's underlined, yes?

 6   A.   Yes.

 7   Q.   That's a security property?

 8   A.   Yes.

 9   Q.   Let's go back to the first sentence:

10        "Broadly speaking, this review step attempts to identify

11   apps that could inflict mental or physical harm to users."

12        Do you see that, sir?

13   A.   I do.

14   Q.   That is not underlined, correct?

15   A.   Correct.

16   Q.   So that is not a security issue?

17   A.   Correct.

18   Q.   And instead, that is what you call a quality assurance

19   issue, correct?

20   A.   Yes.

21   Q.   And, in fact, you say that QA properties reflect judgments

22   about characteristics that make user interactions with an app

23   more enjoyable.

24        That's what you say in paragraph -- in the top of

25   paragraph 111.     We will go back to the previous page.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 67 of 295 2678
                             MICKENS - CROSS / LO

 1        Do you see that, sir?

 2   A.   Yes.

 3   Q.   And so you refer to apps that may physically or mentally

 4   harm individuals as a quality assurance property -- or Apple's

 5   attempt to search for those features as a quality assurance

 6   property, correct?

 7   A.   As differentiated from the security properties I describe.

 8   Q.   Sure.

 9        And because QA properties are about just making apps more

10   enjoyable, what you go on to write in paragraph 111 of your

11   report is that enjoyable is defined from the perspective of

12   Apple not from some universally accepted understanding of QA

13   properties.

14        Do you see that, sir?

15   A.   I do.

16   Q.   That's meant to suggest that some of Apple's things that

17   Apple looks for are rather arbitrary and capricious in your

18   view?

19   A.   Kind of.   I want to emphasize --

20   Q.   Okay.

21        Would you say, sir, that Apple's attempt to prohibit apps

22   that may inflict mental or physical harm to individuals is not

23   a universally accepted goal?

24        Would you say that?

25   A.   I think that you're taking some of these quotes out of
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 68 of 295 2679
                             MICKENS - CROSS / LO

 1   context.

 2        Nothing in the report or in my testimony has said that

 3   trying to provide, you know, some type of screening for

 4   objectionable content is a known bat.         I haven't claimed that.

 5   Nothing in my report that says that.

 6   Q.   Thank you, sir.

 7   A.   If you look at what I'm talking about here --

 8   Q.   That's fine.    Thank you.

 9        Let's take a look back at your slides now, PDX81.3.

10        And this is a variation of the slide we have been looking

11   at for the past couple of minutes.        And you have a note which

12   you talked about on Friday on app review.

13        Do you see that at the very top, sir?

14   A.   Yes, sir.

15   Q.   And your conclusion, which I believe you said a little bit

16   earlier in our session this morning, is that app review

17   provides minimal, if any, security benefits relative to what

18   iOS on-device security mechanisms provide.

19        Do you see that, sir?

20   A.   I do.

21   Q.   If someone were to take a broader view of security and say

22   that security encompasses trying to keep out apps that may

23   cause physical, mental, or financial harm to iOS device

24   users, would you still make the same statement that app review

25   provides minimal security benefits, if any?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 69 of 295 2680
                             MICKENS - CROSS / LO

 1   A.   I would not make that same statement.

 2   Q.   Sir, you are aware that if third-party apps -- if app

 3   distribution were to be opened up and third parties had the

 4   ability to distribute apps that may physically or mentally

 5   harm individuals, that those apps would still be running on

 6   Apple hardware, correct?      They would still need Apple hardware

 7   to run?

 8   A.   Correct, if they are iOS apps.

 9   Q.   If iOS app distribution were to be opened up to third

10   parties and developers had free rein to write apps that may

11   mentally, physically, or financially harm individuals, that

12   they would be able to do so using -- running on the iOS

13   operating system that's provided by Apple, correct?

14   A.   Not necessarily.     There are embodiments of third-party app

15   stores that would allow Apple to sanction or cut off access to

16   apps that contain extremely objectionable content.

17   Q.   Okay.   Well, let's talk about that and let's talk about

18   these policies then.

19        If Apple makes a policy determination that there should be

20   no native apps with pornography and a third-party app store

21   decides I'm okay with pornographic content, whose policy

22   should prevail in your view?

23   A.   Well, I am not the Court.      That's a --

24   Q.   Do you have a view on that subject, sir?

25   A.   Is this specific question about whether pornography should
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 70 of 295 2681
                             MICKENS - CROSS / LO

 1   be allowed on --

 2   Q.    No.     The specific question is on, if in the instance where

 3   Apple doesn't want native apps with pornographic content on

 4   its devices, and a third party wants to distribute it, do you

 5   have a view, as a security expert, which view should prevail

 6   should Apple be required to get rid of its current app

 7   distribution model?

 8   A.    I think it's a complex policy issue.       So I think it -- you

 9   know, I think the Court and the two sides would have to come

10   to some agreement on that.

11   Q.    Okay.

12         And you're aware that Apple just released something called

13   app tracking transparency?

14   A.    I am.

15   Q.    There are many features, but one of the features is that

16   in order for an app to track a user, the user has to first opt

17   in.

18         Do you have that understanding?

19   A.    Correct.

20   Q.    Now, if Apple takes the privacy view that a user should

21   opt in before the app is permitted to track you, but a third

22   party app store or app writer thinks, no, the user should have

23   to opt out before I stop tracking, do you have a view on which

24   policy should prevail if Apple were required to open up iOS

25   app distribution?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 71 of 295 2682
                             MICKENS - CROSS / LO

 1   A.   It's a policy issue that, once again, the Court would have

 2   to decide, but I would emphasize --

 3                         (Simultaneous colloquy.)

 4   Q.   Thank you.

 5        You don't have a view on it, you would leave that to the

 6   Court to decide, correct?

 7   A.   Yes.   I just want to point out there's a spectrum of

 8   third-party distribution channels.

 9   Q.   What about pirated software:       If Apple makes a policy

10   determination that we don't want pirated software on our

11   devices because piracy hurts developers and there are

12   third-party stores that say we love to distribute pirated

13   software, do you have a view as a security expert as to which

14   policy should prevail?

15   A.   I am personally against pirated software.

16   Q.   But you don't have a view on which policy should prevail

17   were Apple forced to change its app distribution methods,

18   correct?

19   A.   I think that if it were up to me, Apple should be allowed

20   to prevent pirated software from being on its platform.

21   Q.   Well, you are aware, sir, that there are developers out

22   there who disagree with Apple's policy on preventing pirated

23   software, correct?

24   A.   But that disagreement doesn't mean that we had to push

25   ourselves towards a maximalist, completely open third-party
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 72 of 295 2683
                             MICKENS - CROSS / LO

 1   distribution channel.

 2        So I just want to make that spectrum clear because there's

 3   a lot of implicit assumptions in this line of questioning.

 4   Q.   Okay.

 5                THE COURT:     You haven't provided an opinion with

 6   respect to some middle ground.

 7                THE WITNESS:     Well --

 8                THE COURT:     Just yes or no.   Have you?

 9                THE WITNESS:     No, I've only talked about the design

10   spectrum.

11                THE COURT:     Right.

12                THE WITNESS:     Yes.

13                THE COURT:     Go ahead.

14                MR. LO:   Thank you, Your Honor.

15   BY MR. LO:

16   Q.   By the way, you do agree that some of Apple's app-review

17   policies are intended to protect developers in addition to

18   users, correct?

19   A.   Protect them in what way?

20   Q.   Well, for example, you would agree that banning pirated

21   software on iOS devices is one way to protect developers who

22   put in the hard work and write apps, correct?

23   A.   Agreed.

24   Q.   And you agree that enforcing rules against fake reviews

25   helps developers because it prevents bad developers from
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 73 of 295 2684
                             MICKENS - CROSS / LO

 1   scooping up business at the expense of good developers with

 2   good apps, correct?

 3   A.     It would be nice if the app users provided that property,

 4   yes.

 5   Q.     But you would agree that the goal of preventing fake

 6   reviews is one that can further the -- further give benefits

 7   to developers, correct?

 8   A.     Yes, although as I mentioned in my report, there's

 9   controversy over whether the app-review actually provides

10   that.

11   Q.     Let's actually talk about that because you have said that

12   at several points now.

13          Take look at paragraph 79 of your written direct.        And

14   that is -- your written direct, again, is in Tab 1 of your

15   binder.

16               MR. LO:   Mr. Eltiste, if you would put that up and we

17   can look at it together.

18   BY MR. LO:

19   Q.     Your introduction to paragraph 79 says that Apple's review

20   process has been criticized by app developers who believe that

21   Apple enforces the review guidelines inconsistently.

22          Do you see that, sir?

23   A.     Yes, sir.

24   Q.     And in the next sentence, you refer to -- or actually you

25   put in bold, "copycat apps, scam apps, and review fraud."
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 74 of 295 2685
                             MICKENS - CROSS / LO

 1        Do you see that, sir?

 2   A.   I do.

 3   Q.   And this paragraph is meant to suggest that Apple's -- the

 4   app reviews efforts to deal with these type of security issues

 5   is, at best -- has at best mixed results; is that accurate?

 6   A.   Yes.

 7   Q.   Okay.

 8        Now, sir, just a couple of minutes ago you confirmed for

 9   me that in your view piracy, scam apps, and review fraud are

10   not security issues under your definition, correct?

11   A.   Yes.

12   Q.   And so for the purposes of determining whether the

13   on-device mechanisms can do all of the security things that

14   app review does, you chose a definition of security that does

15   not include copycat apps, scam apps, and review fraud,

16   correct?     That was your definition for purposes of that

17   analysis, yes?

18   A.   Yes.

19   Q.   And, here, you are citing to an article about app reviews

20   ability to keep out copycat apps, scam apps, and review fraud

21   as an example of app reviews inability to enforce security

22   measures, correct?

23   A.   No.

24   Q.   No.     Let's take a look at paragraph 11 of your written

25   direct.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 75 of 295 2686
                             MICKENS - CROSS / LO

 1                MR. LO:   And, Mr. Eltiste, you can put that up.

 2   BY MR. LO:

 3   Q.   Now, here, you write that Apple's review guidelines do

 4   enumerate some security properties that cannot be enforced by

 5   an OS alone.

 6        Do you see that, sir?

 7   A.   I do.

 8   Q.   And then the next sentence makes reference to some

 9   empirical evidence that Apple's review process does a weak at

10   best job of enforcing those additional security guarantees.

11        Do you see that, sir?

12   A.   Yes.

13   Q.   And the citation here is to pages 21 to 27 of your written

14   report.

15        Do you see that?

16   A.   I do.

17   Q.   So now let's go back to the paragraph we were looking at,

18   which is paragraph 79.

19        And would you agree that your discussion about copycat

20   apps, scam apps, and review fraud appears on page 25 of your

21   written direct?

22   A.   It does.     Although --

23   Q.   Okay.

24        And so when you were introducing the information on page

25   25 and 26 in your written direct, you were saying that this is
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 76 of 295 2687
                             MICKENS - CROSS / LO

 1   empirical evidence that Apple's app review does a bad job of

 2   enforcing security measures.

 3         That's what you said in paragraph 11, correct?

 4   A.    No.    If you look at the pages that we are talking about in

 5   question --

 6   Q.    Sir?

 7   A.    -- page 25.

 8   Q.    Does page 25 line up to what you reference in paragraph

 9   11?

10   A.    Paragraphs of page 25 line up to that.       So you are pulling

11   a paragraph that wasn't covered by that.         If we look at

12   other --

13                THE COURT:     I actually don't understand that,

14   professor.

15         Paragraph 11 says it is supported by pages 21 through 27.

16   The next opinion is supported by pages 27 through 29.

17         So by your own estimate here, all of those pages, 21

18   through 27, support opinion number 11 and nothing else.

19                THE WITNESS:     So perhaps I misunderstood what the

20   page numbers meant.         The paragraph that we were just talking

21   about --

22                THE COURT:     Do I not understand what your entire

23   direct testimony is, how it is structured?

24         If I look, you have a number of opinions, which I asked

25   each expert to do, which -- and the cross-reference for the
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 77 of 295 2688
                             MICKENS - CROSS / LO

 1   opinions gives me the page numbers.

 2        So, do I need to strike paragraphs from your report now

 3   because they don't, in fact, support what you tell me in

 4   paragraph 11?

 5                THE WITNESS:     I don't think so.    Although what I

 6   believe is the confusion here is that on page 25, there are

 7   paragraphs up at the top that are talking about what was

 8   referred to in -- on paragraph 11.         That's the paragraph that

 9   Your Honor just read out.

10                THE COURT:     All right.   Mr. Lo.

11                MR. LO:   Thank you, Your Honor.

12   BY MR. LO:

13   Q.   Let's move on from paragraph 79 and go to paragraph 80

14   which we talked about earlier.

15   A.   Okay.

16   Q.   And this was the paragraph that talked about the 17 apps

17   and the two apps.

18        Do you recall that, sir?

19   A.   Yes.

20   Q.   The two apps that are referred to paragraph -- in

21   paragraph 80 are also scam apps because they relate to

22   financial fraud, correct?

23   A.   Let's see here.

24                MR. LO:   I'll ask Mr. Eltiste to just highlight the

25   sentence that is marked by footnote 11.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 78 of 295 2689
                             MICKENS - CROSS / LO

 1                THE WITNESS:   Yes.

 2   BY MR. LO:

 3   Q.   Okay.

 4        So here, too, you are giving another example of Apple's

 5   inability to provide security features for app review and you

 6   are doing so by pointing out that scam apps got through the

 7   app-review process, correct?

 8   A.   These apps also involve fingerprint data.         And so that's

 9   actually a category of sensitive user data --

10   Q.   Okay.

11   A.   -- that was described earlier in my testimony.

12   Q.   The problem with the apps, as you've described in your

13   report, is that they are financial fraud, correct?

14        That's something you described in your written direct?

15   A.   Yes, yes.    One problematic aspect of them is they involve

16   financial fraud.

17   Q.   Thank you.

18        In -- and finally, professor, let's take a look at

19   paragraph 78 of your written direct.

20        This is the article we were talking about that said that

21   the iPhone app suffer from the same types of security

22   problems.

23        Do you recall that discussion?

24   A.   Yes.

25   Q.   All right.    And, again, for this one you did not review
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 79 of 295 2690
                             MICKENS - CROSS / LO

 1   the actual apps that were referenced in the article, correct?

 2   A.   Correct.

 3   Q.   Okay.

 4        But you did -- I think I heard you say the information in

 5   the article was accurate?

 6   A.   I believe it was accurate, yes.

 7   Q.   Okay.    You agreed with the author's conclusions, correct?

 8   A.   Yes.

 9   Q.   Let's actually take a look at what the author's conclusion

10   are, and the underlying article appears at Tab 8 of your

11   binder.      And let's go to page -- the top of page 3.

12                MR. LO:   And I will ask Mr. Eltiste to put that up so

13   we can look at it together.

14   BY MR. LO:

15   Q.   Well, first, before we get into the details, do you

16   recognize what's in Tab 8 as the article that is cited in

17   paragraph 78?

18   A.   I believe that it is, yes.

19   Q.   Okay.

20        And let's take a look at the author's actual conclusions.

21   At the top of page 3 it says:

22                "Much of the blame falls on third-party app

23                developers that are contracted to build apps for

24                other companies, Bowne said."

25        You recognize that Bowne, B-O-W-N-E is the name of the
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 80 of 295 2691
                             MICKENS - CROSS / LO

 1   security researcher?

 2   A.   Yes.

 3   Q.   (reading)

 4                "But ultimately the responsibility lies with the

 5                companies whose names are on their apps."

 6        Do you see that sir?

 7   A.   I do.

 8   Q.   Now let's turn to page 6 of this article.

 9        And there's a paragraph that starts with "the problem."

10   Let me know when you are there.

11   A.   There.

12   Q.   All right.

13                "The problem with mobile-app flaws is that in Bowne's

14                experience, maybe 10 percent of companies that he

15                notifies of flaws in their apps will ever fix them.

16                That's better than a few years ago, Bowne said, when

17                2 percent of companies would fix the flaws and others

18                would threaten to sue him or call him a criminal."

19        Do you see that, sir?

20   A.   I do.

21   Q.   And you have no reason to doubt these conclusions in the

22   article, do you?

23   A.   I do not.

24   Q.   And you understand that what the plaintiff wants to do in

25   this case is to prevent Apple from controlling app
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 81 of 295 2692
                          MICKENS - REDIRECT / CLARKE

 1   distribution and to put app distribution in the control of the

 2   companies that Mr. Bowne says refuses to fix the flaws in

 3   their apps.

 4        You understand that that's the result that the plaintiff

 5   is advocating for here?

 6   A.   No, I do not think that is the result the plaintiff is

 7   advocating for.

 8   Q.   All right.

 9               MR. LO:   Thank you, Professor Mickens.      I pass the

10   witness.

11               THE WITNESS:     Thank you.

12               THE COURT:     Redirect.

13               MR. CLARKE:     Good morning, Your Honor.

14               THE COURT:     Good morning, sir.

15                             REDIRECT EXAMINATION

16   BY MR. CLARKE:

17   Q.   Good morning, Professor Mickens.

18   A.   Good morning.

19   Q.   So, Professor Mickens, I want to start at the end there.

20   You were asked some questions about your use of the term

21   "quality assurance" in your expert report?

22   A.   Yes.

23   Q.   What did you mean when you used the term "quality

24   assurance" in your expert report?

25   A.   So by that I just meant properties that the app review
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                          MICKENS - REDIRECT / CLARKE

 1   checks for that are not covered by the security properties

 2   that I was mentioning in my expert witness report.

 3   Q.   Now, Professor Mickens, you were asked about a scenario

 4   where there's a conflict in views between Apple and a third

 5   party app store over whether certain types of content should

 6   be permitted.

 7        Do you recall that?

 8   A.   I do.

 9   Q.   So, for example, you were asked about a conflict in views

10   over whether pornography should be permitted.

11   A.   Correct.

12   Q.   And you said that the determination over which views

13   should prevail is ultimately a policy decision; is that

14   correct?

15   A.   That's correct.

16   Q.   So from a technical engineering perspective, are there

17   technical engineering solutions that would allow for either

18   outcome?

19   A.   For either outcome is either pornography being allowed or

20   not being allowed, for example?

21   Q.   Correct.

22   A.   The answer is yes.     So I think that this is one of the

23   reasons I was discussing the variety of application

24   distribution channels on both iOS and MacOS as they

25   currently exist.
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                          MICKENS - REDIRECT / CLARKE

 1              THE COURT:     So, wait.    Where is that in your written

 2   direct?    What paragraph are we talking about now?

 3              THE WITNESS:     Let's see.

 4              MR. CLARKE:     So, Your Honor, this is responsive to a

 5   question that counsel asked in cross-examination.           I'm

 6   offering Professor Mickens an opportunity to provide a full

 7   response to the question.

 8              THE COURT:     There's nothing new in this case.       It

 9   sounds like a new opinion.

10              MR. CLARKE:     So, Your Honor --

11              THE COURT:     It wasn't in your direct, right?        Now I'm

12   getting something new?

13              THE WITNESS:     Well, if you look in the written direct

14   testimony --

15              THE COURT:     Right.

16              THE WITNESS:     -- there's a section in there that

17   talks about the six different models and then offers some

18   observations about what the existence of these models means.

19        And so this is sort of speaking --

20              THE COURT:     Give me a paragraph.

21              THE WITNESS:     Okay.     One second.

22        Do you know which tab the written direct is in?          Is it Tab

23   1?

24              MR. LO:   It's in Tab 1 of the binder I handed up.

25              THE WITNESS:     Okay.     Thank you.
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                          MICKENS - REDIRECT / CLARKE

 1               THE COURT:     This way I'll go back and read it.

 2               THE WITNESS:     So if we look at Section 10, so Section

 3   X in the written direct report, where -- so that section is

 4   titled Design Implications for Third Party App Stores on

 5   IOS.

 6               THE COURT:     Okay.     Thank you.   Proceed.

 7               THE WITNESS:     Okay.     So, right --

 8               THE COURT:     I'm asking him to proceed.

 9               THE WITNESS:     Sorry.

10               THE COURT:     Let me get a question.

11               MR. CLARKE:     Your Honor, I'd also just like to point

12   out paragraphs 22 and 23 of the expert report.               That's not the

13   written direct, but the actual report.

14               THE COURT:     Okay.     Thank you.

15   BY MR. CLARKE:

16   Q.     So the question was simply, in response to these policy

17   questions that Apple's counsel was asking you, I just wanted

18   to know from a technical engineering perspective whether there

19   are engineering solutions that would allow for either outcome.

20   A.     There are.   And a variety of outcomes in between.

21          So at a high level, there are envisionments for a

22   third-party app store that would still, for example, allow

23   Apple to make certain decisions about whether content is good

24   or bad despite the fact that applications are distributed via

25   third channels.
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                          MICKENS - REDIRECT / CLARKE

 1        There is also another embodiment, which is sort of let's

 2   say all the way to one end of a spectrum, where Apple gets to

 3   make no decisions about which content is good and which

 4   content is bad.

 5        So just to be clear, I personally am not advocating a

 6   specific solution whereby there is no content moderation, I'm

 7   merely talking about these things from an engineering and

 8   security perspective to say that there are a variety of

 9   different embodiments of third-party distribution channels

10   that have a variety of different approaches towards, for

11   example, content like pornography.

12   Q.   I specifically mentioned pornography, but I believe

13   counsel for Apple mentioned a few other categories.           For

14   example, digital piracy, those sorts of things.

15        Is your answer the same for each of those categories?

16   A.   It is.   And we can think of it at a high level, the

17   notarization approach that we see on MacOS as sort of an

18   inspiration for a hybrid model, if you will.

19        Because in the notarization approach, what happens is that

20   Apple doesn't do a full content review, but it does scan for

21   malware.    And you can imagine that there are similar types of

22   hybrid third-party distribution channel models in which Apple,

23   for example, scans for some type of particularly objectionable

24   content but doesn't exercise any other editorial decision.

25   Q.   So, Professor Mickens, is content moderation something
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                          MICKENS - REDIRECT / CLARKE

 1   that third parties are capable of doing outside of the iOS

 2   app store?

 3   A.   I believe that it is and you do see that on other

 4   third-party app stores in some cases.

 5   Q.   So, for example, if Sesame Street were to set up a

 6   Childhood Literacy app store on iOS, is there any technical

 7   constraint that would prevent them from streaming the content

 8   on that app store to make sure it is appropriate and not

 9   harmful for children?

10   A.   There's no technical reason they couldn't do that.          In

11   fact, that's an important aspect of the case.

12        Oftentimes implicitly people are wondering, well, what

13   incentive would a third party have to do any type of content

14   moderation in the third-party app store.         That's a great

15   example of why that might happen.

16        Or let's say, for example, Disney.        I have no stock in

17   Disney.    I'm not advocating for them particularly.         If they

18   were to have a third-party distribution channel, they would be

19   highly incentivized for reputational reasons to make sure that

20   no obviously objectionable content made its way to that

21   third-party app store.

22   Q.   From a technical perspective, Professor Mickens, if some

23   sort of harmful or illegal content did make its way on to

24   iOS devices, are there any technical solutions that Apple

25   might have available to it to remove that content after the
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                          MICKENS - REDIRECT / CLARKE

 1   fact?

 2   A.   The answer is yes.     And we can see empirical examples of

 3   these technical solutions already deployed.

 4        So, for example, on MacOS, there are tools that MacOS has

 5   to remove malware that happens to end up on a particular

 6   machine.     So even if iOS is opened up to third-party app

 7   stores, Apple still fundamentally controls the client-side

 8   operating system.

 9        What that means is Apple, if it so desired, could

10   fundamentally turn off the spigot, if you will, on a

11   particular piece of obviously objectionable content.           That's

12   all compatible with the third-party app store.

13   Q.   Professor Mickens, you were asked a question about the

14   Levin book.

15        Do you recall that?

16   A.   I do.

17   Q.   There was some language quoted from the Levin book.

18        Do you recall?

19   A.   This is the language about the prevalence of various

20   devices and what that means for malware distribution.

21   Q.   And you noted that counsel for Apple showed you the 2013

22   version of the book not the subsequent version of the book.

23        Do you recall that?

24   A.   Yes.

25   Q.   What's the relevance of that to your opinion?
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                          MICKENS - REDIRECT / CLARKE

 1   A.   Well, I think if you look at what's happened since then,

 2   then the MacOS and iOS platforms have become much more

 3   popular.

 4        So you see now more attacks on both of those platforms,

 5   and I think you see, as a result, Apple is trying to improve

 6   the security for both of those types of platforms.

 7        And, importantly, as far as an outside observer can tell,

 8   Apple puts just as much interest in securing iOS versus

 9   MacOS despite the claim, it seems from some of the

10   questioning, that while MacOS devices aren't as common, so,

11   therefore, we should somehow not worry about securing them as

12   much.

13   Q.   And I believe Apple's counsel noted that gatekeeper and

14   notarization were technologies that were both developed after

15   the later edition of the Levin book was released.

16        Do you recall that?

17   A.   I do.

18   Q.   What's your basis for your knowledge about gatekeeper and

19   notarization?

20   A.   The basis for that knowledge is public-facing

21   documentation that Apple has put out about those two

22   technologies as well as the work of reverse engineers.

23   Q.   You were asked some questions about Apple's speed at

24   remedying shortcomings after those shortcomings are

25   discovered.
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                          MICKENS - REDIRECT / CLARKE

 1        Do you recall that?

 2   A.   I do.

 3   Q.   To what extent is that something that you took into

 4   account?

 5   A.   So that's taken into account when I have a discussion in

 6   my report about security cultures.

 7        And in that discussion, I mention that Apple is not the

 8   only company that has security positive security cultures.

 9   And I mention at the beginning of my expert witness report

10   that Apple does have a reputation for security.          And that is

11   not undeserved.

12        My only observation is that there are other companies that

13   are also trying to and I think actually achieving similar

14   levels of high security.

15                MR. CLARKE:   If we could put PDX81.2 up on the

16   screen.

17        Could you go to PDX81.1.      There you go.

18   BY MR. CLARKE:

19   Q.   Professor Mickens, you were asked a series of questions

20   about Zerodium and Zerodium payment markets.

21        Do you remember that?

22   A.   I do.

23   Q.   Did the questioning concerning Zerodium implicate any of

24   the conclusions that appear on this screen here in any way?

25   A.   It did not.
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                          MICKENS - REDIRECT / CLARKE

 1                MR. CLARKE:   If we could put up PDX81.15.

 2   BY MR. CLARKE:

 3   Q.   Do you recognize this slide from your demonstratives,

 4   Professor Mickens?

 5   A.   I do.

 6   Q.   So counsel for Apple asked you a series of questions about

 7   the number of apps on a platform.

 8        Do you remember that?

 9   A.   I do remember.

10   Q.   I believe the Court at the end of the day on Friday asked

11   a similar question about the number of apps on a platform and

12   you responded by discussing scalability.

13        Do you recall that discussion?

14   A.   I do.

15   Q.   Okay.

16        So starting with the app store distribution channel that

17   appears all the way to the left here, if there were a large

18   number of new apps being distributed through this distribution

19   channel, what is your opinion on the scalability of the

20   off-device security layers?

21   A.   Well, you know, absent any other change in the way that

22   that process is implemented, the scalability will get worse.

23        In other words, given the same number of reviewers with

24   the same number of hours that those humans can review things,

25   each app would get fewer amount of reviewer attention per app
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                          MICKENS - REDIRECT / CLARKE

 1   review.

 2   Q.   To be clear, we are talking about the Mac App Store

 3   distribution channel here?

 4   A.   That's right.

 5   Q.   What implications would that have for security through

 6   that distribution channel?

 7   A.   Well, that would have a negative impact on the security.

 8   To the extent that the app-review process can provide security

 9   benefits, those benefits, at least when we look at the human

10   aspect of the review process, they are a function of how long

11   a human reviewer can look at the app.

12        So we already know empirically that there are scalability

13   issues with that aspect of the review process.          And this is a

14   place where allowing third-party app stores would actually

15   spur more competition here.

16        It might give more eyeballs, more people who can look at

17   these apps and look for properties which even Apple says are

18   good property for apps to have.        And it might also lead to

19   more innovation in the way that app stores screen for security

20   issues or performance issues or even content moderation

21   problems.

22   Q.   So, Professor Mickens, looking at the middle category that

23   appears on this slide, the third-party distribution with

24   notarization, do you see that?

25   A.   I do.
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                          MICKENS - REDIRECT / CLARKE

 1   Q.   How scalable would this distribution channel be in

 2   response to an increase in a large number of new apps?

 3   A.   Well, here, roughly speaking, when we look at

 4   notarization, we are -- Apple, I should say, is performing a

 5   malware scan of an app.      That's the main thing that happens

 6   here.

 7        And so if the volume of apps that were submitted via this

 8   channel went up, there also might be some scalability issues

 9   here as well, although the malware scan, that's an automated

10   process.    So in some sense, it is easier to scale because you

11   can always buy more computers to run more malware scans.

12   Q.   So between the two distribution channels, the first and

13   the second distribution channel, do you have a view as to

14   which is more scalable in response to a large number of new

15   apps?

16   A.   I think the one in the middle, the notarization based

17   channel is the one that is easier to scale.

18   Q.   So I want to ask about the third distribution channel that

19   appears on this page.      This is distribution that does not

20   involve any kind of app review or notarization.

21        So in this distribution channel, are there any sort of

22   technical security techniques that iOS could adopt that

23   would protect people in the event that there were a large

24   number of new third-party apps being distributed through this

25   channel?
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                          MICKENS - REDIRECT / CLARKE

 1   A.   I think the answer is yes.

 2        I think that iOS could adopt similar security mechanisms

 3   to what MacOS already uses.

 4        So, for example, iOS could use client-side malware

 5   scanners to identify an objectionable content that happened to

 6   have made it through whatever app review process or

 7   notarization process, if any was used to distribute an

 8   application.

 9        And I would also emphasize that iOS also still enforces

10   those client-side security mechanisms that are present on

11   MacOS and which Apple seems to believe are helpful for

12   protecting users on that platform.

13        So it's really important to note that on MacOS today, we

14   have all three distribution models, and even in that third

15   model, there are still protections that Apple provides its

16   consumers.     We could port those protections over to iOS as

17   well.

18        As a final note, I want to mention that what we are seeing

19   here are three points in the design spectrum for app stores.

20   These are not the only three envisionable points.           And I just

21   want to reemphasize that because that point is so important.

22        There are a variety of different application models which,

23   once again, allow for various degrees of Apple to have

24   editorial control or the ability to implement malware

25   scanning.
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                          MICKENS - REDIRECT / CLARKE

 1   Q.   Professor Mickens, are there default settings that iOS

 2   could adopt that would prevent people from inadvertently

 3   downloading harmful content through that third channel?

 4   A.   Yes.    So this is another aspect of the policy decision

 5   that would have to be made if iOS were to be opened up to

 6   third-party distribution channels.

 7        You can imagine that iOS could ship with any number of

 8   different defaults with respect to what types of channels a

 9   user is allowed to download content from.

10   Q.   Professor Mickens, you were asked a series of questions

11   about your access to confidential Apple information on Cross.

12        Do you recall that?

13   A.   I do.

14   Q.   In the field of mobile device security, is it generally

15   the case that security researchers require access to

16   confidential information in order to be able to draw

17   conclusions about the security features of a platform?

18   A.   The answer is no.     This is an extremely important point.

19        In the field of mobile security, oftentimes researchers

20   are asked to evaluate the security of a system that is

21   partially or totally closed source.

22        And the security community has designed a variety of

23   techniques to allow sound analyses in the absence of

24   information about closed source systems.         This is an accepted

25   technique in the community.
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                          MICKENS - REDIRECT / CLARKE

 1        And, furthermore, it is actually accepted by Apple who

 2   runs a Bug Bounty Program, a Bug Bounty Program that allows

 3   outsiders, people who don't work for Apple to analyze Apple's

 4   partially closed source software and hardware and find errors

 5   in it.

 6        So even Apple understands that one does not have to be an

 7   Apple employee to understand the security implications of

 8   Apple products.

 9   Q.   As a general matter, do you believe that the

10   confidentiality that surrounds Apple security practices makes

11   the platform more secure?

12   A.   In general, no, I do not think that confidentiality makes

13   products more secure.

14        That's true not just for Apple, but for other products as

15   well.

16   Q.   Do you believe that the materials you reviewed in

17   preparing your report for this case were adequate to support

18   the conclusions you arrived at?

19   A.   I do.

20   Q.   You were asked a question about paragraph 79, page 25 of

21   your written direct.

22   A.   Yes.

23   Q.   What point were you trying to establish in this paragraph?

24   A.   So the point that I was trying to establish in this

25   paragraph, and just as a reminder, thank you.          So this is the
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                          MICKENS - REDIRECT / CLARKE

 1   paragraph about the review process.

 2        And so the point that I was trying to establish here is

 3   that when we look at the full spectrum of the app review, it

 4   involves checking for a variety of different characteristics

 5   for applications.       And so what we see here is that I enumerate

 6   three different types of applications and say that, well, it

 7   seems empirically there are problems with this.

 8        Now, I think the point that was brought up by the opposing

 9   counsel is that, you know, copycat apps, scam apps, and review

10   fraud don't fall under the security categories that I was

11   mentioning.    But I think it is important when you are

12   considering the overall operation of the app review that it

13   seems like it has challenges along multiple parts of its

14   implementation and practice.

15        So that is what I think the main point of this paragraph

16   is, that when you look at the app review holistically, then

17   the properties it purports to provide, whether they be

18   security or otherwise, oftentimes are not provided.

19              THE COURT:     Which company does it better?

20              THE WITNESS:     Well, I would say it's tough in

21   general.    It's tough in general.

22        So I want to be very clear about my testimony.          I'm not

23   claiming that in-app review process sort of writ large, when

24   implemented by anyone, is ever going to be perfect.

25        I was tasked to look at security in particular, and I
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                            MICKENS - RECROSS / LO

 1   found that the client-side OS is mostly responsible for

 2   security.    But as we were talking about with the opposing

 3   counsel, there is this issue of content moderation or copycat

 4   app, or things like that.        It's important to note that opening

 5   up iOS to third-party app stores doesn't mean we can't have

 6   some of the other properties like checking for copycat apps or

 7   content moderation or things like that.

 8        My only claim is that if we were to allow those

 9   third-party distribution channels, we wouldn't be punting on

10   the security issues because the security issues are mostly

11   enforced by the OS, which would be there regardless of the

12   distribution channel.

13               THE COURT:     But in the industry today, is there

14   anybody who does it better for comparison?

15               THE WITNESS:     I think -- no.   I don't know anyone who

16   I could point to definitively and say, ah-huh, they definitely

17   do it better in all cases.

18               THE COURT:     Thank you.

19               MR. CLARKE:     No further questions.

20               THE COURT:     Recross limited to the scope of redirect?

21                              RECROSS-EXAMINATION

22   BY MR. LO:

23   Q.   Professor Mickens, you mentioned Sesame Street as an

24   example of a store that would be able to curate apps and

25   content.
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                            MICKENS - RECROSS / LO

 1        Do you recall that?

 2   A.   Yes.

 3   Q.   Would you agree that there are other stores out there,

 4   such as Itch.io, that have very different standards of content

 5   moderation than the Apples and the Sesame Streets of the

 6   world?

 7   A.   That's correct.

 8   Q.   Okay.

 9        And if app distribution were to be opened up, you

10   understand that both the Itch.io's of the world and Sesame

11   Streets of the world would be able to freely distribute their

12   apps for iOS, correct?

13   A.   I don't understand that.      Because there are envisionments

14   of third-party app stores that do not actually allow sort of

15   unfettered access to the platform.

16        This gets back to the policy question.        This gets back to

17   the issue of what does the Court think is the best way to

18   handle this.

19   Q.   So in your view, as a security expert, if app distribution

20   were to be opened up outside of the app store, you would

21   recommend that the Itch.ios of the world not be permitted to

22   distribute their apps for iOS devices?

23   A.   I'm saying that's one point on the spectrum.         And it's

24   important to realize that there's a spectrum.          Because it's

25   not just binary.     We either don't have third-party channels or
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                            MICKENS - RECROSS / LO

 1   we do and then we just have this absolute mayhem where

 2   anything goes.

 3   Q.   And in your view, as a security expert, who decides which

 4   end of the spectrum we end up in in the world where Apple does

 5   not get to centralize distribution?

 6   A.   Well, ultimately I think it is the Court who would decide.

 7   I think the Court could consult with security experts and

 8   people who are experts in content moderation.

 9   Q.   Okay.   And is it correct that in terms of how to -- where

10   in the spectrum you end up, you're not offering any advice on

11   that particular issue.      You are not offering any expert

12   opinions on that issue, correct?

13   A.   Well, I would say the following:       If we look at MacOS,

14   which currently already supports three different models --

15   Q.   Sir, I am asking you on issues such as content moderation

16   in the world between -- in the spectrum between Sesame Street

17   and Itch.ios and the ones that are actually, you know, far

18   more extreme than Itch.io, you are not offering any

19   professional opinions in terms of where on the spectrum we

20   should end up should Epic prevail in this case, correct?

21   A.   No, not quite.    So what I was trying to explain is that we

22   know that Apple's already comfortable on MacOS with three

23   distribution channels --

24   Q.   Sir, I am asking you if Epic were to prevail, should

25   companies like Itch.io be permitted to distribute apps on
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                            MICKENS - RECROSS / LO

 1    iOS?

 2           Do you have a view on that or is it your view that that's

 3    for the judge to decide without any opinions by you to help

 4    her in that process?

 5    A.     I, personally speaking --

 6    Q.     No, I'm asking you whether you rendered opinions in this

 7    case that you believe would be helpful to the Court in

 8    deciding that question.

 9           Have you offered such opinions?

10    A.     My opinion is that there is a spectrum of possibilities

11    along the engineering and security spectrum, and that from the

12    engineering and security perspective, it is possible to

13    support third-party channels.

14    Q.     Sir, I'm not talking to you about the engineering

15    possibilities.      I am asking you in terms of the policy

16    considerations on content moderation, have you offered any

17    opinion as a security expert on that topic that you think

18    would assist the Court in picking among that spectrum?

19           Yes or no?

20    A.     I think that it would be --

21    Q.     Did you or did you not, sir?

22    A.     I am trying to offer it now.

23    Q.     I'm not asking for you to offer it now.

24           I'm asking you whether you have offered that in your

25    written testimony or even in your expert report.          You haven't,
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                            MICKENS - RECROSS / LO

 1    have you?

 2    A.   No because my task was to evaluate the security of the

 3    iPhone as it relates to the App Store.

 4    Q.   Thank you, sir.

 5    A.   Yes.

 6                MR. LO:   No further questions, Your Honor.

 7                THE COURT:     Anything on that topic?

 8                MR. CLARKE:     No further questions, Your Honor.

 9                THE COURT:     All right, professor, you're excused.

10    Thank you very much.

11                THE WITNESS:     All right.     Thank you very much, Your

12    Honor.

13                THE COURT:     Next witness.

14                MS. FORREST:     Your Honor, Epic provisionally, subject

15    to the various items that we mentioned this morning, has no

16    further witnesses to call in its case subject to rebuttal and

17    the other items we talked about earlier today.

18                THE COURT:     All right.     Thanks, Ms. Forrest.

19         Mr. Doren, your witness.

20                MR. DOREN:     Your Honor, Apple calls Mr. Philip

21    Schiller.

22         (SCHILLER, PHILIP, called as a witness for the Defendant,

23    having been duly sworn, testified as follows:)

24                THE WITNESS:     I do.

25                THE CLERK:     Please be seated.
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                           SCHILLER - DIRECT / DOREN

 1         And scoot the microphone so it's under the shield there.

 2    And then in a moment you can state your full name and spell

 3    your last name.

 4              THE WITNESS:     Philip William Schiller,

 5    S-C-H-I-L-L-E-R.

 6              THE COURT:     Good morning, Mr. Schiller.

 7              THE WITNESS:     Good morning.

 8              THE COURT:     You look a little bit different closer.

 9              THE WITNESS:     Thank you.    I hope.

10              THE COURT:     Mr. Doren, I'll let you get started.        It

11    is 10:09 so we will take a break in six minutes.

12              MR. DOREN:     Thank you, Your Honor.

13         May I proceed?

14              THE COURT:     You may proceed.

15                             DIRECT EXAMINATION

16    BY MR. DOREN:

17    Q.   Good morning, Mr. Schiller.

18    A.   Good morning.

19    Q.   Where are you currently employed?

20    A.   At Apple.

21    Q.   And how long have you been with Apple?

22    A.   Over 30 years.

23    Q.   And what is your current position at Apple?

24    A.   My title is Apple Fellow.

25    Q.   And how long have you been an Apple Fellow?
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 1    A.   Since this past August.

 2    Q.   August 2020?

 3    A.   Yes.

 4    Q.   What was your position prior to that?

 5    A.   Senior vice president of worldwide marketing.

 6    Q.   How long did you hold that position, sir?

 7    A.   Approximately 20 years.

 8    Q.   And have you had responsibilities for the App Store over

 9    the years?

10    A.   Yes.

11    Q.   And when did those responsibilities first arise?

12    A.   When we were first conceiving the App Store before it was

13    announced.

14    Q.   And do you continue to have responsibilities for the App

15    Store?

16    A.   Yes, I do.

17    Q.   And could you describe briefly for the Court the nature of

18    your responsibilities related to the App Store over the years?

19    A.   I have been responsible for helping define and create the

20    idea of the App Store, to help build the processes of the App

21    Store, created the app review team.        I was responsible for the

22    worldwide developer relations team that also has a role

23    working with the App Store.       For a number of years now I have

24    been responsible for the marketing and business teams of the

25    App Store.
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 1    Q.   Thank you.

 2         And does Apple have an executive team?

 3    A.   Yes, we do.

 4    Q.   Have you served on that team?

 5    A.   I have.

 6    Q.   How long did you serve on that team?

 7    A.   Again, approximately 20 years.

 8    Q.   And what is the role of the executive team at Apple?

 9    A.   The executive team are all the members of the different

10    functions of Apple that all report to our CEO.          For example,

11    hardware engineering, software engineering, marketing,

12    finance, operations.     And we meet weekly to discuss the

13    business of Apple.

14    Q.   And you left Apple for a few years in the early 1990s; is

15    that correct?

16    A.   That is correct.

17    Q.   And what brought you back in 1997 or what brought you

18    back?

19    A.   Specifically a call from Steve Jobs to ask me to come back

20    at a critical time in Apple's history.

21    Q.   What year was that?

22    A.   That was in 1997.

23    Q.   And what was the financial condition of the company at

24    that time?

25    A.   Apple was famously just months from being out of business.
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 1    Q.   And did Mr. Jobs reorganize the company at that time?

 2    A.   He did.

 3    Q.   And did you participate in that effort?

 4    A.   Yes.

 5    Q.   Can you describe the reorganization please?

 6    A.   Yes.

 7         Before Mr. Jobs came back in 1997, Apple was built by --

 8    into divisions.     It was organized by divisions.       There were

 9    product divisions like Macintosh, E-World, and then there were

10    market divisions like education and business.          Each division

11    had a general manager and a P&L structure, and each was run as

12    individual somewhat independent businesses.

13         And when Mr. Jobs came back, and Apple was nearly out of

14    business, he changed that structure completely.

15    Q.   And what was the -- what were the structural changes?

16    A.   Well, we got rid of all the divisions.        We reorganized the

17    company to a functional organization.

18         So, again, as I mentioned, hardware engineering, software

19    engineering, sales, marketing.       Much as a start-up is

20    organized as a small business, and got rid of every general

21    manager, laid them off from the company, and had professionals

22    of each of these categories or functions report directly to

23    the CEO, and together all make decisions on all products as

24    one business.

25    Q.   And prior to the reorganization, did each business
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 1    division maintain its own profit and loss statement?

 2    A.   Yes.

 3    Q.   And did that change with the reorganization?

 4    A.   It did.

 5    Q.   And how did it change?

 6    A.   We became one P&L for the entire company.

 7    Q.   And did you observe benefits from that change?

 8    A.   Yes.   Many.

 9    Q.   What -- can you describe generally those benefits?

10    A.   A few of those are that now we work together as one team

11    where we all worked on all of the products and we made

12    decisions on these products collectively because they were all

13    together under one P&L.

14         We would not compete with each other for just our quote

15    "slice of the pie" as one might say, and it meant that it was

16    a very collaborative process now.        No one person could go off

17    in the direction in the business or on a product, it took all

18    of these functions working together under the CEO to decide

19    and implement every product we created.

20    Q.   And you heard Mr. Sweeney's testimony about the benefits

21    of a functional organization that does not have specific

22    business units, didn't you?

23    A.   Yes, I did.

24    Q.   And did you hear Mr. Sweeney's testimony about the

25    benefits of a single company-wide profit and loss statement?
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 1    A.   Yes, I did.

 2    Q.   Did you agree with that testimony?

 3    A.   Absolutely.

 4                 MR. DOREN:   Your Honor, this would be a good point.

 5                 THE COURT:   All right.   We will stand in recess then

 6    for 20 minutes.

 7         Thank you.

 8                 MR. DOREN:   Thank you, Your Honor.

 9                       (Recess taken at 10:15 a.m.)

10                    (Proceedings resumed at 10:35 a.m.)

11                 THE COURT:   Okay.   We are back on the record.     The

12    record will reflect the parties are present.          Mr. Schiller is

13    on the stand.

14         Mr. Doren, you may proceed.

15                 MR. DOREN:   Thank you, Your Honor.

16    Q.   Mr. Schiller, were you at Apple when the development of

17    the iPhone was first considered?

18    A.   Yes.

19    Q.   And did you participate in Apple's decision to develop the

20    smartphone?

21    A.   I did.

22    Q.   Can you explain please why the head of marketing would be

23    involved in a product design or product selection process?

24    A.   Sure.    My role is now head of marketing but of a group we

25    call product marketing at Apple, and Apple Product Marketing
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 1    is completely involved in the definition, creation, and

 2    management of all of our products.        So it is absolutely part

 3    of the official process in making a product that product

 4    marketing is involved from the very beginning.

 5    Q.   Thank you.

 6         And when did Apple start developing the iPhone?

 7    A.   In 2004.

 8    Q.   And when did the -- when was the first iPhone released?

 9    A.   2007.

10    Q.   And, sir, if you could please turn to Exhibit DX3426 in

11    your binder.

12    A.   Yes.    I have that open.

13    Q.   Thank you.

14         And do you recognize this document?

15    A.   Yes, I do.

16    Q.   What is it?

17    A.   This is our press announcement launching the iPhone.

18    Q.   And the date is January 9, 2007; correct?

19    A.   Yes, it is.

20    Q.   And the press release states, "Apple today introduced

21    iPhone combining three products -- a revolutionary mobile

22    phone, a widescreen iPod with touch controls, and a

23    breakthrough internet communications device with desktop

24    class, email, web browsing, searching and maps -- into one

25    small and lightweight handheld device."
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 1         Can you explain what is being described here in terms of

 2    the thought process underlying the creation of the iPhone?

 3    A.   Yes.   When we were working on the iPhone, we had a few

 4    goals in mind, things we were trying to accomplish.           One was

 5    we had had a -- our first real successful consumer electronic

 6    device, the iPod, and the iPod was a breakthrough music

 7    player, particularly at a time when -- when these music

 8    players were transitioning from an old way, mechanical devices

 9    like CD players, to new generation digital devices that had

10    software and computer chips in them, and it was a whole new

11    class of device.

12         So we were thinking about what would be another class of

13    device Apple could innovate and again as it transitions from

14    an old-styled product to a new generation software and

15    hardware-driven product.      So that was one part of what we were

16    working on.

17         The second was we did have the iPod.        It was a very

18    successful product at Apple, and we knew that one day people

19    might start to put their music on their phones and carry it

20    with them, and in that case, there wouldn't be the need for an

21    iPod, so we thought if anyone is going to kill the iPod, we

22    should do it ourselves with a new generation product.

23         And then third, the mobile devices we had at the time that

24    were somewhat smarter, like BlackBerrys and things, were not

25    very good at the internet.       They could do email, they could do
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 1    messaging, but in terms of web browsing and the internet,

 2    those were not experiences that were good on mobile yet.            So

 3    those were the -- sort of the three leading functions we were

 4    trying to create with iPhone:           A new generation phone, a

 5    replacement for iPod functionality, and the internet in your

 6    pocket.

 7    Q.   And you mentioned BlackBerry.           Prior to the launch of the

 8    iPhone, were there other mobile devices on the market?

 9    A.   Yes.

10    Q.   Did any of them combine the features you just described?

11    A.   No.

12    Q.   And did Apple develop -- and, Your Honor, I would move,

13    please, Exhibit 3426 into evidence.

14                MS. FORREST:      No objection.

15                THE COURT:     Admitted.

16                (Defense Exhibit 3426 received in evidence)

17    BY MR. DOREN:

18    Q.   And, Mr. Schiller, did Apple develop a unique operating

19    system for the iPhone?

20    A.   Yes.

21    Q.   And what were some of the technical challenges in doing

22    that?

23    A.   We wanted to offer up for the first time an advanced

24    operating system for creating these rich experiences on a

25    mobile device, but what we had to work with previously, macOS,
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 1    was not appropriate at all.       It was very large, it required a

 2    lot of resources, storage, memory, compute power.           It wasn't

 3    very efficient for battery life in the way we would need for a

 4    phone.   It didn't connect at all with cellular networks or do

 5    phone calling in any regard at all, and so what the team had

 6    to do was redesign the operating system and start from

 7    scratch, strip it down, remove everything they could to make

 8    it work on a small device, and then build it up to the

 9    capabilities that an iPhone would need.

10    Q.   And were there any concerns specific to the fact that this

11    device was to be a mobile phone?

12    A.   Absolutely.

13    Q.   And can you describe those concerns, please.

14    A.   There were many.    As I said, one is it had to be a phone,

15    and it sounds simple, but a phone you rely on for making phone

16    calls and being connected and available to use all the time.

17    Other applications or uses can't get in the way of that

18    capability.     It's -- it's core to it.

19         Secondly, it needs to work completely wirelessly on

20    cellular networks.     Again, easy sounding thing, but on an

21    advanced new operating system and platform, pretty hard to

22    build and test as a global product that can roam from cell

23    tower to cell tower and stay connected, especially with data

24    uses as well.

25         And then of course it has to have small size, great
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 1    battery life while being a new generation powerful platform.

 2    So there are many considerations that went into it, and

 3    probably the most important of all of course is the security

 4    and privacy issues.     You're carrying this around in your

 5    pocket.

 6    Q.   And can you describe a bit more the thought process around

 7    the security and privacy issues, please.

 8    A.   Yes.   The idea of this new computing device in your pocket

 9    means it's capable of more new things.         It's going to store

10    information around in our life that we're not used to having

11    all the time in our pocket.       Simple example of course being

12    location data, knowing where you are, when you are, how long

13    you're in places is extremely personal, so these are highly

14    personal devices with a growing amount of information

15    available everywhere you go, roaming on other networks

16    everywhere you go.

17    Q.   Thank you.

18         And does Apple license iOS to third parties?

19    A.   No.

20    Q.   And why not?

21    A.   That's, you know, not the business we're in.         Apple always

22    considers ourselves not a hardware company, not a software

23    company, but a product company.       We make a product as a

24    complete experience of the hardware and software working

25    together to create a unique offering in the market.           And as
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 1    such, the software is part of the product we're making.            The

 2    kind of company -- and there are others -- the kind of company

 3    that licenses software for other -- to other companies is just

 4    a very different kind of business model with different

 5    tradeoffs.

 6    Q.   And I hear you alluding to those who make a different

 7    decision.    Have any of your competitors made a different

 8    choice in terms of licensing versus not licensing their

 9    software?

10    A.   Yes.

11    Q.   And who specifically?

12    A.   Well, the two most that come to mind of course are Google

13    and Microsoft.

14    Q.   And how did Apple evaluate the tradeoffs between choosing

15    between these different business model options?

16    A.   Well, it's been our experience that a company that

17    licenses their operating system to other devices needs to

18    support a wide range of vendor products:         Different chips,

19    different screens, different designs.        And that's not saying

20    it's good or bad.     It's a different model.      But in our

21    opinion, it reduces the quality, it reduces the speed of

22    innovation because you're now supporting many other companies

23    who have different ideas of what they want to make.

24         You need to, as a vendor, support those ideas, and that's

25    the tradeoff we believe that comes about, is you just can't be
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 1    as fast and efficient at innovating and you just can't do it

 2    as high quality, in our opinion.

 3    Q.   And we've heard discussion at this trial about a duopoly.

 4    Do you recall that topic generally?

 5    A.   Yes.

 6    Q.   And as Apple's head of marketing for the last 30 years, is

 7    that how you view the smartphone market?

 8    A.   No.

 9    Q.   How do you view the smartphone market?

10    A.   We compete against many companies.        It's a very big,

11    competitive market.

12    Q.   And, Mr. Schiller, I'm hearing a little friction.          I just

13    want to make sure nothing is --

14    A.   Sorry.

15    Q.   I'm sorry.   I didn't mean to interrupt you.

16    A.   So, in my view, in doing this work, we compete every day

17    with many, many companies from Samsung to Microsoft to Google

18    to Huawei to LG to Motorola, Amazon, on and on.          There are

19    many competitors in this market.

20                THE COURT:     In what market?

21                THE WITNESS:     Mobile devices, mobile phones.

22    BY MR. DOREN:

23    Q.   And at the time the iPhone was introduced, were there any

24    digital transaction platforms for the sale of software apps?

25    A.   Yes.
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 1    Q.    And can you name any examples for us?

 2    A.    Well, I know of two personally that I used at the time.

 3    One is Steam, which we've talked about many times in this

 4    case, and the other was actually for mobile apps called

 5    Handango, and Handango is a -- was an online store for apps

 6    for BlackBerry, PalmPilot, and other platforms.

 7    Q.    And what did Steam and Handango charge developers as

 8    commissions at the time that the iPhone was released?

 9    A.    30 percent.

10    Q.    And aside from these early digital platforms, how did

11    developers distribute their games and other software?

12    A.    Well, the most common way still at the time was through

13    physical distribution.

14    Q.    And have you had personal experience in that area, sir?

15    A.    A great deal.

16    Q.    And can you describe that, please, generally.

17    A.    Sure.

18          In making products for physical distribution, you, of

19    course, engineer the software.       You usually license installer

20    and uninstaller software that you need to put together with

21    it.   You put it on a CD.     You design the CD.      You design the

22    packaging.    You design the manuals.      You put that all

23    together, and you then take it through distribution channels,

24    stores like CompUSA and Fry's.       And with them, you have to cut

25    deals for how much shelf space you get.         People aren't aware
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 1    of that.    You used to pay by what is called "facings."         If you

 2    have room for one box, two boxes, or three boxes, the more

 3    facings, the better chance of a sale.         You paid for things

 4    called end caps to be able to market at the end of the row of

 5    an aisle.      You paid for weekend flyers.     This was actually one

 6    of the biggest demand drivers, was whether you paid for a

 7    quarter, half-page, full-page ad in the weekend flyers that we

 8    all got in our mailboxes back then.        You had to cover all the

 9    returns when you updated your software.         On and on.    There are

10    just many elements of that distribution.

11    Q.   And what was the cost to the developer of that system?

12    A.   Typically we'd see that the channel would get between 50

13    to 70 percent of the sale.

14    Q.   And did that system remain the dominant means of

15    distribution for some years after the iPhone launched?

16    A.   It did.

17    Q.   Were there any third-party native apps on the iPhone when

18    it launched?

19    A.   No.

20    Q.   And was that a conscious decision on the part of Apple

21    management?

22    A.   Yes.

23    Q.   What was the reasoning behind that decision?

24    A.   We thought that we wanted to create an Apple experience

25    with some built-in native apps from Apple and that the
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 1    security and privacy risks of opening it up to other native

 2    apps was too great and not something that we could solve when

 3    we launched the iPhone, so instead, we offered up the idea of

 4    web apps.

 5    Q.   When you say the risk was too great, what do you mean?

 6    A.   I mean that it was too great to -- first of all, the

 7    quality of the product.      We're trying to deliver our first

 8    generation iPhone with an entirely new operating system and

 9    architecture.    Getting that done was a huge task.         There just

10    wasn't time to consider many third-party APIs and tools and

11    distribution.

12         Secondly was the security issues we've been talking about.

13    That unlike the Mac, which we were making at the time, we

14    believed that the risk of security and privacy for iPhone

15    users would be dramatically greater, and we did not yet know

16    how to solve for those and didn't have a program yet to deal

17    with it.

18    Q.   And did the first iPhone include any native apps at all?

19    A.   Just from Apple.

20    Q.   And can you describe what those apps were?

21    A.   Sure.   There are many apps that we're familiar with today.

22    The phone app was an app experience, the Safari for browsing

23    the web, calendar, email, messages.

24    Q.   And at some point, did Apple decide to permit third-party

25    native apps on the App Store?
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 1    A.   Yes, we did.

 2    Q.   Presumably that's what we are all here to discuss this

 3    month.

 4         Were you involved in that decision, sir?

 5    A.   Yes.

 6    Q.   And when was that decision made?

 7    A.   Shortly after bringing to market the first iPhone, getting

 8    it out into the world and to customers' hands, we then saw it

 9    was helping the world and heard feedback that led us to decide

10    to make native app distribution a plan for the iPhone.

11    Q.   And you mentioned what was going on in the world and

12    receiving feedback.     Can you describe for us what the basis

13    for the decision was to take steps to facilitate third-party

14    native apps?

15    A.   Yes.   There are two things I recall from that time.

16         Number one, we did start to hear more feedback from

17    developers that they wanted the opportunity to create native

18    apps, not just web apps.

19         And secondly, we saw users and developers starting to try

20    anyway.     They were creating what's called "jailbreaking," a

21    way to sideload software onto iPhone, and they were writing

22    apps without any documented APIs to build with that were

23    creating great quality risks, so we saw this beginning of

24    demand and quality and security risks on the iPhone.

25    Q.   Is there anything wrong with jailbreaking in terms of your
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 1    perspective on the iPhone?

 2    A.   Well, from the perspective of a person responsible for

 3    the -- what an iPhone is, the marketing of it, what it stands

 4    for, yeah, there is a lot that I see wrong with it.

 5    Q.   Can you describe that, please.

 6    A.   Well, one, the software being created with undocumented

 7    APIs becomes incredibly unstable and unreliable.          These are

 8    things that Apple doesn't know and never promised it should

 9    work the way they're being used, it won't work the next time

10    the software gets updated, maybe the APIs are being used for

11    unintended purposes, and they give access into the system in

12    places that were not intended and risks the privacy and

13    security of the users, and so there -- I think there are great

14    risks to the iPhone when this started to happen.

15    Q.   And did it also put the functioning of the iPhone itself

16    at risk?

17    A.   Of course, yes.

18    Q.   And, sir, when did Apple announce that it would be

19    proceeding with the creation of an App Store?

20    A.   In late 2007.

21    Q.   If you could please take a look at Exhibit 4566 in your

22    binder.

23    A.   Yes.   I see that.

24    Q.   And do you recognize this exhibit?

25    A.   Yes, I do.
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 1    Q.   And what is it in?

 2    A.   This is Apple's news site.            This is where we publish all

 3    of our announcements to the press called "Hot News."

 4    Q.   Looking at the second item in this exhibit, what does it

 5    address?

 6    A.   This is a letter from Steve Jobs to the world, to our user

 7    community and to developers about our intention in this area.

 8    Q.   And what was the date of this document, of this

 9    announcement?

10    A.   October 17th, 2007.

11                 MR. DOREN:     Your Honor, I would move Exhibit DX4566

12    into evidence.

13                 MS. FORREST:      No objection.

14                 THE COURT:     Admitted.

15                 (Defense Exhibit 4566 received in evidence)

16    BY MR. DOREN:

17    Q.   And in the first sentence of that section, Mr. Jobs says,

18    "Let me just say it.         We want native third-party applications

19    on the iPhone, and we plan to have an SDK in developers' hands

20    in February."

21         I believe we've heard the term "SDK" a time or two here,

22    but can you tell us what that of stands for?

23    A.   Sure.     That's Software Development Kit.

24    Q.   And what is a Software Development Kit?

25    A.   It includes a number of resources for developers to write
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 1    software, resources like the APIs that we have been talking

 2    about, developer tools like Xcode.        It includes documentation

 3    to help understand the APIs and their functions.          Often has

 4    sample code to help a developer start to write their

 5    application or learn how to use an API.

 6    Q.   And do the Software Development Kits -- are they made up

 7    of Apple's intellectual property?

 8    A.   Yes.

 9    Q.   Does Apple require that its SDK's be used to develop apps

10    for iOS?

11    A.   Yes.

12    Q.   And does that remain the case today?

13    A.   Yes.

14    Q.   And who develops SDKs at Apple?

15    A.   We have a software engineering team, a tools team, that

16    works under our head of software engineering.

17    Q.   In terms of this initial SDK, how significant an effort

18    was that?

19    A.   Tremendous.

20    Q.   Can you describe that a bit, please.

21    A.   For the better part of a year, the entire software

22    organization was working to create and document the APIs as

23    well as make the tools work with these new APIs on this new

24    platform for developers.

25    Q.   And was the cost of that development work allocated to the
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 1    App Store in any way?

 2    A.   No.

 3    Q.   Has it -- has the cost of developing APIs ever been

 4    allocated to the App Store specifically?

 5    A.   No.

 6    Q.   Turning back to Exhibit DX4566 -- first of all, is this

 7    sort of advance notice that something is coming common at

 8    Apple?

 9    A.   No.   No.   Very uncommon.

10    Q.   What is Apple's more common practice?

11    A.   We try more often to not announce software until we're

12    ready to release it to the world, at least in beta form

13    directly to developers so they can begin working on it

14    immediately.

15    Q.   And why was a different approach taken here?

16    A.   Well, as I mentioned, we were beginning to see these

17    jailbreak -- jailbreaking and sort of rogue app development

18    without documented APIs happening, and we were very concerned

19    that this would create unreliable, unstable devices, and this

20    was our way to quickly say hold on, just wait, we're going to

21    address this and we want to give you something safe and

22    reliable to use.

23    Q.   And, Mr. Jobs goes on in that same paragraph to state, "We

24    are excited about creating a vibrant third-party developer

25    community around the iPhone and enabling hundreds of new
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 1    applications for our users."

 2         Does that accurately capture your hopes for the App Store

 3    as of October 2007?

 4    A.   Yes, it did.    We were very careful in discussing and

 5    deciding to use the word "hundreds" to set a reasonable

 6    expectation of what we thought we could do.

 7    Q.   And Mr. Jobs then goes on to say in the second paragraph,

 8    "It will take until February to release an SDK because we're

 9    trying to do two diametrically opposed things at once:

10    Provide an advanced and open platform to developers while at

11    the same time protect iPhone users from viruses, malware,

12    privacy attacks, etc.      This is no easy task."

13         Do you see that statement?

14    A.   Yes, I do.

15    Q.   And do you share that view?

16    A.   Absolutely.

17    Q.   Can you describe what the tension is between those two

18    diametrically opposed things?

19    A.   Yes.   I think this is the -- the core thing at the base of

20    all that we're talking about.

21         We want to create a more powerful, capable platform that

22    enables developers to create wonderful applications for all of

23    us, but we need to find ways to do it that helps to protect

24    users from this malware, from the threats that they're going

25    to receive, the attacks, and to try to keep your device
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 124 of 295 2735
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 1    functioning properly.       Again, this is not a general PC.       This

 2    is your phone in your pocket that needs to work reliably.

 3    Q.   And at the end of that same paragraph, Mr. Jobs says, "As

 4    our phones become more powerful, these malicious programs will

 5    become more dangerous, and since the iPhone is the most

 6    advanced phone ever, it will be a highly visible target."

 7         Did you agree with that statement back in 2007?

 8    A.   Absolutely.

 9    Q.   And is that still the case today, in your opinion?

10    A.   I think it has only increased in this description since

11    then to today.

12    Q.   And when did Apple launch the SDK for the iPhone?

13    A.   In 2008.

14    Q.   And did you participate in a launch event for the SDK?

15    A.   Yes.

16    Q.   Could you please turn to Exhibit PX0880, which,

17    Your Honor, I believe is already admitted in evidence.

18                 THE COURT:   Yes, it is.   I remember this one.

19                 MR. DOREN:   Thank you, Your Honor.

20    Q.   Mr. Schiller, do you have that exhibit in front of you?

21    A.   I do.

22    Q.   Do you recognize what it is?

23    A.   Yes.    This is a transcript of our launch event for the

24    iPhone SDK.

25    Q.   And did Apple maintain these sorts of transcripts for
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 125 of 295 2736
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 1    events like this?

 2    A.   Yes, we did.

 3    Q.   And can you help us -- so it's dated March 6, 2008.           Was

 4    that the date of the event?

 5    A.   Yes.

 6    Q.   And then there is kind of a code or a key, rather, with

 7    initials and names.     Can you describe what that -- what

 8    function that serves, please.

 9    A.   Yes.   With the transcript you'll see a letter initial and

10    then that corresponds to the names of the presenters here in

11    this table.

12    Q.   So "S" being Mr. Jobs; correct?

13    A.   Yes.

14    Q.   And frankly the "S" being for Steve?

15    A.   Correct.

16    Q.   And "P" being for Phil Schiller and on down the line;

17    correct?

18    A.   Yes.

19    Q.   If you could look back at page 20, that being 00880.20,

20    about three-quarters of the way down the page, there are

21    statements by Steve Jobs.      Do you see that?

22    A.   Yes.

23    Q.   And Mr. Jobs says, "So you are a developer and you just

24    spent two weeks or maybe a little longer writing this amazing

25    app, and what is your dream?       Your dream is to get it in front
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 126 of 295 2737
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 1    of every iPhone user and hopefully they love it and buy it,

 2    right?      That's not possible today.    Most developers don't have

 3    those kinds of resources.      Even the big developers would have

 4    a hard time getting their app in front of every iPhone user."

 5         Do you remember Mr. Jobs saying that?

 6    A.   Yes.

 7    Q.   And was that statement accurate at the time?

 8    A.   Yes.

 9    Q.   And then he goes on to say, "Well, we are going to solve

10    that problem for every developer, big to small, and the way we

11    are going to do it is what we call the App Store."

12         And so was it important to Apple to treat big and small

13    developers the same?

14    A.   Yes, it was.

15    Q.   Why was that?

16    A.   Well, previous developer programs by Apple and others in

17    our industry we found were increasingly being focused on just

18    the biggest developers, developers that could spend more

19    money, get access to more support, more resources, more

20    programs, and we thought there was an opportunity with the

21    iPhone to change our developer program to make it available to

22    a very wide range of developers from the very smallest,

23    individual students, to the largest corporations, and that was

24    a goal that we set up when we created this App Store.

25    Q.   And has that philosophy ever changed?
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                           SCHILLER - DIRECT / DOREN

 1    A.    No, it hasn't.

 2    Q.    If I could direct your attention to page 21, which is the

 3    opposite page in your binder.       About halfway down, there is a

 4    single sentence paragraph where Mr. Jobs says, "So we think

 5    this is pretty cool, and the App Store is going to be the

 6    exclusive way to distribute iPhone applications directly to

 7    every iPhone user."

 8          Did I read that correctly?

 9    A.    Yes, you did.

10    Q.    And is that an accurate statement as of March 6th, 2008?

11    A.    Yes.

12    Q.    And so from the outset, is it accurate that the App Store

13    was to be the only means to distribute apps on the iPhone?

14    A.    Yes, it was.

15    Q.    And what were the business reasons that Apple decided that

16    it would only distribute third-party native apps on its App

17    Store?

18    A.    Well, we've covered a number of the important reasons to

19    us.   Maintaining the quality of iPhone, maintaining the

20    security and privacy of our users were all critical to the

21    idea of opening it up for native apps.

22    Q.    And have those priorities for privacy, security, and

23    reliability ever changed?

24    A.    No.

25    Q.    And has the need to safeguard those things changed over
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 128 of 295 2739
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 1    time?

 2    A.   Yes.

 3    Q.   And can you describe how?

 4    A.   I think that over the years, the ways and methods

 5    developers and bad actors try to get at users and their data

 6    has only increased dramatically, and we see this from all the

 7    important data we have.      The many attacks and attempts to

 8    steal it and get access to it have increased.

 9    Q.   And in the next paragraph, Mr. Jobs says, "Now people are

10    going to ask, 'Well, this is great, but what's the deal?

11    What's the business deal?'"       And he states, "We think we've

12    got a great business deal for our developers.          First of all,

13    the developers pick the price."

14         And was that an accurate statement back in 2008?

15    A.   Yes.

16    Q.   And why did Apple decide to let the developers pick the

17    price?

18    A.   We had an existing store for music, the iTunes Music

19    Store.      I think many of us all remember it.      And how it was

20    innovative was it created one price for music, 99 cents for a

21    song, 9.99 for an album, and that helped grow the digital

22    music market.

23         When we started working on the App Store, we thought well,

24    that model doesn't work here.       There are so many different

25    kinds of software applications that are going to be created
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 129 of 295 2740
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 1    that we needed to make it easy for the developer to then pick

 2    their price and not have just one price for all apps.

 3    Q.   And Mr. Jobs then goes on to say, "Pick whatever price you

 4    want to sell your app at, and when we sell the app through the

 5    App Store, the developer gets 70 percent of the revenues right

 6    off the top and we keep 30 percent."        Correct?

 7    A.   That's right.

 8    Q.   And is that what we've heard in this trial referred to as

 9    kind of the 70/30 revenue share?

10    A.   Yes.

11    Q.   And was that the revenue share as of the launch of the App

12    Store?

13    A.   Yes.

14    Q.   And has that commission level ever been increased?

15    A.   No.

16    Q.   Are there instances where it's been decreased?

17    A.   Yes.

18    Q.   And if we could look back, sir, at page 27, .27.

19    A.   Yes.

20    Q.   Do you see at the bottom of the page the statement

21    attributed to you?

22    A.   Yes.

23    Q.   And at this launch event, you stated, "When I think about

24    the class of developers that will be using this store, I think

25    we really have come up with the best model for the two big
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 130 of 295 2741
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 1    important classes.     One is imagine you are just a free

 2    developer, you want to give it to everyone for free.           And the

 3    other is" -- on the top of the next page -- "if you want to

 4    generate some revenue and drive revenue for your app."

 5         Those were statements you made back in March 2008?

 6    A.   Yes.

 7    Q.   And can you describe what you meant by "the two big

 8    important classes"?

 9    A.   Yes.    There -- right from the beginning we knew there

10    would be many developers who simply want to distribute a free

11    app, and there are many business reasons why to do so, and

12    then there are others that would like to use the App Store to

13    sell their app, and we want to create an easy, secure model

14    for doing that.

15    Q.   And were there any other classes, if you will, of

16    developers at that time?

17    A.   No.

18    Q.   And what did Apple charge developers for free apps?

19    A.   Nothing.     There was no commission for a free app.

20    Q.   And has that ever changed?

21    A.   No.

22    Q.   And how did the 70/30 revenue split that Apple set back in

23    March 2008 compare to other software commissions at that time?

24    A.   Well, as we've discussed, there were two models at the

25    time.      The physical model, this was much less than, on
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 1    average, about half, and then digital distribution, it was the

 2    same.

 3    Q.   And in -- presently in terms of digital distribution, is

 4    Apple's 30 percent commission still competitive?

 5    A.   We believe it is, yes.

 6    Q.   Now, do developers -- did developers back in 2008 or at

 7    the time the App Store was launched -- did they have to pay

 8    any credit card fees?

 9    A.   No.

10    Q.   Did they have to pay any hosting fees?

11    A.   No.

12    Q.   Did they have to pay for any engineering costs?

13    A.   No.

14    Q.   Did they pay any fees for marketing and editorial support

15    from Apple?

16    A.   No.

17               THE COURT:     Did they pay for the SDKs?

18               THE WITNESS:     We have two -- two programs then and

19    still now today.     We have a free program for learning to

20    develop or developing in-house in an enterprise, and the

21    majority of developers who sign up are free.          And then we have

22    the $99 program.

23               THE COURT:     So that engineering cost, do you think

24    that's something different when you said it was nothing?

25               THE WITNESS:     Yes.   We -- I'm just talking about all
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 132 of 295 2743
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 1    the engineering Apple does.       We don't charge them for our

 2    engineering work.

 3                THE COURT:   Okay.   Proceed.

 4                MR. DOREN:   Thank you, Your Honor.

 5    Q.   And other than the $99 fee under the second contract,

 6    under the DPLA, do the -- do developers of free apps pay

 7    anything to Apple?

 8    A.   No.

 9    Q.   And does that remain the case today?

10    A.   Yes.

11    Q.   And if we could refer to page -- staying rather on page 27

12    and going up one entry to Mr. Jobs' statement immediately

13    above yours.     Do you see that?

14    A.   Yes.

15    Q.   And Mr. Jobs says, "And also just to make it a little

16    clearer, we don't intend to make money off the App Store.            I

17    mean, we don't make a lot of money off iTunes, and the split

18    with the music companies is about the same, so in the case of

19    the iTunes Music Store, we give all the money to the content

20    owners, and we are basically giving all the money to the

21    developers here.     And if that 30 percent of it pays for

22    running the store, well, that will be great, but we just want

23    to create a very efficient channel for these developers to

24    reach every single iPhone user."

25         Is that a statement that Mr. Jobs made back in March 2008?
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 1    A.   He did.

 2    Q.   Now, at the time that the -- of this announcement and at

 3    the time that the SDK and the App Store was actually launched,

 4    did Apple know whether the App Store would make any money?

 5    A.   No.

 6    Q.   And did Apple ever promise -- ever promise -- that it

 7    would not make money?

 8    A.   No.

 9    Q.   Was it a risk for Apple to launch the App Store?

10    A.   A huge risk.

11    Q.   How so?

12    A.   Well, we're in the first year here of the iPhone.          It's a

13    tremendous success.     People wrote it was the greatest product

14    launch ever.    Exciting.    People love it.     And now we're going

15    to take this hot, new product with a new platform and we're

16    going to create something that we did not have, a new SDK, new

17    APIs, new kinds of applications, new distribution of software

18    with an App Store, all things that we did not have and had not

19    done before.    We're taking our hot, new product and putting

20    something we have never done before on it, and we have no apps

21    yet so we have no idea how this is going to do.

22    Q.   And did Apple create or perform any forecasts for the App

23    Store at the time of its launch?

24    A.   No.

25    Q.   How do you know that?
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                           SCHILLER - DIRECT / DOREN

 1    A.     Because I would have been responsible to do those had we

 2    done them.

 3    Q.     And if you could look, please, at page .30.       And you will

 4    see about the fourth entry down is attributed to Mr. Jobs;

 5    correct?

 6    A.     Yes.

 7    Q.     And Mr. Jobs is responding to a question; is that true?

 8    A.     Yes.

 9    Q.     And Mr. Jobs says, "This is an international rollout.

10    Everything we do will be in all the countries we are in with

11    iPhones.      This is not an open-source project.      This is a

12    for-profit project.     Even though we are providing this as a

13    free software update to all the iPhone customers, hopefully

14    people will think iPhones are even more valuable and buy more

15    of them."

16           Was that a statement that Mr. Jobs made?

17    A.     He did.

18    Q.     And in March 2008, did Apple hope that the App Store would

19    make money?

20    A.     Of course we did.

21    Q.     Let's jump ahead a couple of years, sir, and if we could

22    look, please, at PX417.       Do you have that exhibit in front of

23    you?

24    A.     Yes, I do.

25    Q.     And do you recall --
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                           SCHILLER - DIRECT / DOREN

 1                THE COURT:   It was previously admitted.

 2                MR. DOREN:   Yes, Your Honor.    Thank you.     Apologies.

 3    Q.   And, Mr. Schiller, do you recall seeing at least excerpts

 4    from this slide during Epic's opening statement?

 5    A.   Yes, I do.

 6    Q.   And do you recall Dr. Evans testifying that Apple promised

 7    never to make more than a billion dollars off the App Store?

 8    A.   I did hear that.

 9    Q.   Sir, first of all, you state here, "Do we think our 70/30

10    split will last forever?      While I am a staunch supporter of

11    the 70/30 split and keeping it simple and consistent across

12    our stores, I don't think that 70/30 will last that unchanged

13    forever."

14         And then at the bottom in the last paragraph, you state,

15    "Just as one thought, once we are making over a billion

16    dollars a year in profit from the App Store, is that enough to

17    then think about a model where we ratchet down from 70/30 to

18    75/25 or even 80/20 if we can maintain a

19    one-billion-dollar-a-year run rate."        You then say, "I know

20    this is controversial.      I just tee it up as another way to

21    look at the size of the business, what we want to achieve and

22    how we stay competitive."

23         First of all, did I read all of that correctly?

24    A.   Yes, you did.

25    Q.   Can you tell us the context in which you wrote this email?
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 1    A.   Yes.   I am forwarding a Wall Street Journal article about

 2    competition to app stores from things like web app creation

 3    and distribution with HTML5, and that's spurring my thought of

 4    there will be future competitors in the App Store, and we

 5    should always be looking for them and thinking longer term

 6    about what we may want to do, and I'm spurring conversation

 7    about that.

 8    Q.   In fact, sir, if you could look, please, at page 0417.2,

 9    in the second paragraph of the article you attached, the

10    article states, "That led to HTML5 being discussed as a

11    technology that could kill Apple's highly profitable App

12    Store"; correct?

13    A.   Yes.

14    Q.   And has Apple, in fact, taken steps to, as you put it at

15    the end, stay competitive in the -- in the digital storefront

16    environment?

17    A.   Yes, we have.

18    Q.   And what sorts of things has Apple done in that regard?

19    A.   In many -- many ways, competition for us is about first

20    having more features for developers for better distribution,

21    bringing in more users to create a bigger place to sell your

22    software.     It includes supporting developers with things they

23    request to make it a better program to enable the kinds of

24    businesses they want to run, and in some cases, it included

25    changing the commission model.
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 1    Q.   And, sir, in terms of competition and competing -- I'll

 2    call them app stores or app marketplaces -- have app stores or

 3    app marketplaces continued to open since the launch of the App

 4    Store?

 5    A.   Yes.

 6    Q.   And can you give a few examples, please.

 7    A.   Well, there are many of them.       Certainly we've talked

 8    about Google Play, Samsung's Galaxy Store.         Huawei has a

 9    store.      Amazon is a very popular store.     Microsoft has a

10    couple stores.      And of course there are the -- the game

11    consoles.     I consider them a competitor as well:       Xbox,

12    PlayStation, Nintendo Switch.       There are many, many

13    competitors for app distribution.

14    Q.   So for purposes of digital game transactions on the App

15    Store, does Apple consider devices other than mobile devices

16    to be competition?

17    A.   Yes, we do.

18    Q.   Why is that?

19    A.   Because as a user, you're -- you're considering buying

20    games to play, and you can choose to get them on a variety of

21    devices, and you're going to make decisions based on where the

22    fun games are and experiences you want, and so we think that a

23    user is going to consider these different places when they're

24    thinking about where they want to play and get their games.

25    Q.   Now, we've heard a lot about app review.         We've heard
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 1    about app review even this morning.

 2         Was app review part of the App Store business model from

 3    the outset?

 4    A.   Yes.

 5    Q.   And what apps were required to go through app review?

 6    A.   All apps.

 7    Q.   And if we could go back, please, sir, to Exhibit PX0880

 8    and specifically to page 21.       And at the very bottom, Mr. Jobs

 9    comments on the page of page 21.        Mr. Jobs states, "Now, will

10    there be limitations?      Of course.    There are going to be some

11    apps that we are not going to distribute -- porn, malicious

12    apps, apps that invade your privacy -- so there will be some

13    apps that we are going to say no to."

14         Did I read that correctly?

15    A.   You did.

16    Q.   And did -- was the app review process known to developers

17    from the very date of the launch of the SDK?

18    A.   Yes.

19    Q.   And the App Store?

20    A.   Yes, it was.

21    Q.   And if we could please take a look at a screenshot from

22    Exhibit DX4287.

23         And, Your Honor, this is in your binder, and we will

24    provide it to the Court.      For the record, rather than the

25    entirety of DX4287, this is just a single screenshot.           So I
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 139 of 295 2750
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 1    would offer --

 2         Well, first of all, Mr. Schiller, what are we looking at?

 3    A.   We are looking at a screenshot from the video of the

 4    presentation that Steve gave to announce the App Store.

 5    Q.   And we see references to porn and malicious, as we've

 6    talked about before.        And what other categories did Mr. Jobs

 7    identify back in 2008?

 8    A.   As you see in the slide, "illegal," "privacy," "bandwidth

 9    hogs."     We are very worried about network performance.        And

10    importantly, "unforeseen."          That this is going to be a

11    rapidly-evolving system, and we are going to learn more and

12    more about the things that are not okay on iPhone.

13    Q.   And is it fair to say that the app -- that the app review

14    process was described in both qualitative and quantitative

15    terms back in 2008?

16    A.   Yes, it was.

17                MR. DOREN:     And, Your Honor, I would move to admit

18    this screenshot from DX4287.

19                MS. FORREST:      No objection.

20                THE COURT:     Admitted.

21                (Defense Exhibit 4287 received in evidence)

22    BY MR. DOREN:

23    Q.   Mr. Schiller, I'd like to show you a slide from Epic's

24    opening.     And do you recognize this slide?

25    A.   Yes, I do.
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 1    Q.   And it's entitled "Apple Develops A Plan."         The subject is

 2    "Yahoo widgets."     It is from yourself to Scott Forstall on

 3    January 21, 2008; correct?

 4    A.   Yes.

 5    Q.   And the pullout in the opening was the statement "the

 6    whole plan we have in place."       Do you see that?

 7    A.   I do.

 8    Q.   And the voiceover for this slide was that, "As all stories

 9    do, this story has a beginning, and it begins when Apple

10    developed what, in its own words, it called 'the plan'."            Do

11    you recall that?

12    A.   I do.

13    Q.   And do you recall the reference to "throwing away the

14    key"?

15    A.   Yes.

16    Q.   Let's take a look, please, sir, at PX0882, which,

17    Your Honor, I believe is also already admitted.

18                 THE COURT:   Yes.   I show it as admitted.

19                 MR. DOREN:   Thank you, Your Honor.

20                 THE COURT:   And just a quick point on that for you

21    and Ms. Forrest, we did send an email.         Because of the

22    tranches of exhibits that have been admitted by agreement, I'd

23    really appreciate a comprehensive numerical list because I've

24    only been tracking what I admit as opposed to what you all

25    agree to admit.
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 1                 MR. DOREN:     We will submit that, Your Honor.    I must

 2    admit, I was not checking email for 12 hours yesterday and

 3    only saw it last evening, so we are getting that pulled

 4    together with Epic.

 5                 MS. FORREST:     We'll take care of it, Your Honor.

 6                 THE COURT:     Thank you.

 7         Proceed.

 8    BY MR. DOREN:

 9    Q.   Mr. Schiller, do you have Exhibit PX882 in front of you?

10    A.   I do.

11    Q.   And do you recognize this as an email that you sent to

12    Scott Forstall on January 21, 2008?

13    A.   Yes.

14    Q.   And, first of all, can you describe where this is in the

15    timeline between the launch of the iPhone and the launch of

16    the App Store?

17    A.   Yes.    As we discussed, so the iPhone launched and started

18    shipping in mid 2007.         In October of 2007, Steve wrote the

19    letter that said we're going to come up with a distribution

20    solution, but we haven't announced it yet.         The events which

21    we were just discussing in March was the place where we now

22    announced the App Store.        So this is just over a few weeks

23    before we hold that event.

24    Q.   And, Mr. Schiller, can you describe the context in which

25    you wrote this email?
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                           SCHILLER - DIRECT / DOREN

 1    A.   Sure.   So Scott Forstall is our senior vice-president of

 2    software engineering, responsible for developing the iPhone

 3    software at this time.      As part of that development, he had

 4    worked with Yahoo on email integration for iPhone.           We

 5    announced that as part of the launch at iPhone.          And so we had

 6    a contact here with Yahoo, and in this time because we

 7    announced distribution but not how we were going to do it yet,

 8    an executive from Yahoo had reached out to Mr. Forstall and

 9    asked whether we would consider their widgets software APIs

10    and architecture as part of that software stack on iPhone.

11    Q.   And what was your position on that question?

12    A.   I didn't think it was a good idea at all.         We were worried

13    about the security and reliability of iPhone, and we were

14    weeks away from announcing what we did announce as our whole

15    strategy announcing an SDK, announcing a store, and making it

16    all work, and this is not part of that -- that idea at all and

17    not what we were going to launch.

18    Q.   And you state in the second paragraph, "With one API

19    (ours), we can manage what is on our products and what is not.

20    If we open it up, then we don't sign all apps, we don't

21    distribute all apps, etc., which is the same as throwing out

22    the whole plan we have in place."

23         And what plan were you referring to, sir?

24    A.   To have an SDK and an App Store and to review all apps and

25    make sure it was all safe and secure.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   This wasn't a monopolistic plot in January 2008?

 2    A.   No, sir.

 3    Q.   And when did Apple launch the App Store?

 4    A.   In 2008.

 5    Q.   And how many iPhones had been sold by that date?

 6    A.   I believe just over two million.

 7    Q.   And how many apps were on the App Store when it launched?

 8    A.   500.

 9    Q.   And how did you feel about that at the time?

10    A.   We were extremely excited.      That exceeded our goal for

11    launching the App Store.

12    Q.   And how many of those 500 apps were games?

13    A.   I believe it was 131.

14    Q.   And we mentioned before that this was to be an

15    international rollout.      Does Apple have app stores,

16    storefronts, in different countries?

17    A.   We do.

18    Q.   How many different countries?

19    A.   175.

20    Q.   Now, can a U.S. citizen, somebody who is living in the

21    United States, do business in, for example, the Italian App

22    Store?

23    A.   Not unless they have a residence and payment model like

24    credit card in those -- in that country.

25    Q.   And why is that?
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 1    A.   It's part of the accounting and business that's been set

 2    up with all of the stores that we have by law in each of these

 3    countries, that the users of those stores need to be residents

 4    of those countries.

 5    Q.   So as the head of marketing, it's your understanding those

 6    are legal requirements in those countries?

 7    A.   Exactly.   These are not for business purposes.         There is

 8    no business policy that we want it this way.          It's how we've

 9    been told we need to structure the stores.

10    Q.   So I, as someone who isn't fortunate enough to own a villa

11    in Italy or own a credit card from an Italian bank, could not

12    do business on that storefront?

13    A.   Correct.

14    Q.   Or any other country other than the United States?

15    A.   Correct.

16    Q.   The Court asked you a couple of questions that went to the

17    developer program and the contracts between developers and

18    Apple, so let's turn to that.

19         Was a developer program put together or constructed by

20    Apple for iOS developers?

21    A.   Yes.

22    Q.   And were you responsible for putting that program

23    together?

24    A.   I and my team, yes.

25    Q.   And did Apple have a developer program before the Apple
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                           SCHILLER - DIRECT / DOREN

 1    Store launch?

 2    A.    Yes.

 3    Q.    And what -- to what developers did that program relate?

 4    A.    Mostly Mac developers.

 5    Q.    And how much did that program cost developers to join?

 6    A.    It had a few different tiers, but the one I recall is we

 7    had a $3,500 fee for developers to get the most resources from

 8    it.

 9    Q.    And what were your priorities in modifying the program for

10    iOS developers?

11    A.    We wanted to make it more affordable and more available to

12    a lot of developers, particularly younger developers.

13    Q.    And what were your priorities in terms of benefits to

14    users regarding the development of the program?

15    A.    Well, our hope is by making a program that was more

16    affordable with more resources for developers all the way --

17    all around the world, that it would result in more exciting

18    software for users.

19    Q.    And if you could look, please, sir, at Exhibit 2 -- excuse

20    me -- PX2618, which, Your Honor, I believe is also admitted.

21                 THE COURT:   That looks familiar.     I show it as

22    admitted.

23                 MR. DOREN:   Thank you, Your Honor.

24    Q.    And, sir, if you flip past the page that says Exhibit J of

25    this exhibit, can you tell us what this document is?
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                           SCHILLER - DIRECT / DOREN

 1    A.   This is our developer agreement.

 2    Q.   And the "Apple Developer Agreement" is what it's entitled?

 3    A.   Yes.

 4    Q.   And are the terms of this agreement standardized?

 5    A.   They are.

 6    Q.   And are large developers able to negotiate more favorable

 7    terms than small developers?

 8    A.   No, they cannot.

 9    Q.   And what -- first of all, what's the purpose of this

10    document; in other words, who does Apple enter into this

11    contract with?

12    A.   So this is an agreement for anyone who wants to start

13    developing with our tools and software.         They get access to

14    our developer website and all of the content we have within

15    there and access to many of our tools they want to download

16    like our Xcode developer tools to begin development.

17    Q.   And is this license targeted at people that want to put

18    apps on the App Store specifically?

19    A.   Not specifically.

20    Q.   So what sorts of developers are there that don't want to

21    put -- or would enter into this agreement alone?

22    A.   Well, you could be a developer who's just learning to

23    develop and you want to start learning to code, and this would

24    be your first agreement and -- to get started.          Or you could

25    be all the way to a large enterprise developer creating
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 1    internal applications within your company, and, again, this

 2    may be what you need to get going and get your apps developed.

 3    Q.   Now, does Apple charge those developers a fee for access

 4    to the tools provided under the Apple Developer Agreement?

 5    A.   No.

 6    Q.   Does anyone pay a fee for the tools provided under the

 7    Apple Developer Agreement?

 8    A.   No.

 9    Q.   And if you could look, please, sir, at Exhibit 2622.           This

10    document is entitled "Xcode and Apple SDKs Agreement."           Do you

11    see that?

12    A.   Yes.

13                MR. DOREN:   And, Your Honor, I believe this is also

14    admitted.

15                THE COURT:   Yes, it is.

16    BY MR. DOREN:

17    Q.   And could you please describe the purpose of this

18    contract.

19    A.   Well, this is a developer -- software development

20    agreement for somebody who wants to get access specifically to

21    these tools and a license to use these tools.

22    Q.   And is there any charge to the developers for access to

23    these tools under this contract?

24    A.   No.

25    Q.   And do the two contracts we look at -- we've just looked
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                           SCHILLER - DIRECT / DOREN

 1    at -- do they restrict the use of Apple's intellectual

 2    property?

 3    A.     Yes.

 4    Q.     And is acceptance of those restrictions required for use

 5    of Xcode?

 6    A.     Yes.

 7    Q.     And Apple's SDKs?

 8    A.     Yes.

 9    Q.     Now, since 2008, how many developers have entered into the

10    developer agreement with Apple?

11    A.     I don't know the cumulative total.      I know the total right

12    now.    We're at the point where we've got over 30 million

13    developers who have entered the Apple Developer Agreement.

14    Q.     So just to be clear, there are 30 -- over 30 million

15    developers that have had free access to Apple's Xcode and SDKs

16    and the other tools provided under these contracts?

17    A.     Yes.

18    Q.     And if you could please look at PX2619.       And this document

19    is -- and, Your Honor, I believe 2619 is also admitted.

20                  THE COURT:   It is.

21                  MR. DOREN:   Thank you, Your Honor.

22    Q.     And, Mr. Schiller, this document is entitled "The Apple

23    Developer Program License Agreement"; correct?

24    A.     Yes.

25    Q.     And what is the purpose of this contract?
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                           SCHILLER - DIRECT / DOREN

 1    A.   This gives developers access to additional sets of tools

 2    and resources and technologies to develop apps, and it also

 3    gives them the ability to then submit those apps to the App

 4    Store and get support for managing their apps on the App

 5    Store.

 6    Q.   So is this contract required or entering into this

 7    contract required by developers who wish to place apps on the

 8    App Store?

 9    A.   Yes.

10    Q.   And how many people are current -- are currently enrolled

11    in the Apple Developer Program License Agreement?           Let me

12    rephrase that.

13         How many developers are currently enrolled in this

14    contract?

15    A.   We have approximately one million.

16    Q.   And are the terms of this contract standardized for all

17    developers?

18    A.   Yes.

19    Q.   And are larger developers able to negotiate more favorable

20    terms than small developers?

21    A.   No.

22    Q.   And you've described it generally, but when comparing the

23    first contract we looked at, the developer -- the Apple

24    Developer Agreement, compared to the Apple Developer Program

25    License Agreement, what additional tools or APIs in general
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                           SCHILLER - DIRECT / DOREN

 1    are received under this contract?

 2    A.   You get access to more beta or pre-released software

 3    through this program.      You get access to some additional APIs

 4    that have service components to them like push notifications

 5    or HealthKit.    They have extra security concerns as well.          Or

 6    Apple Wallet and Apple Pay so there is some extra things that

 7    take additional work to support.

 8         You also get access to TestFlight for distributing and

 9    testing software.     And tools for the App Store.       For example,

10    for managing your apps on the store, running marketing

11    campaigns on the store, getting data analytics about how your

12    apps are running on the store.       Those are all the kinds of

13    things that are additionally covered with this program

14    agreement.

15    Q.   And do the terms of this license agreement restrict the

16    developers' use of those tools?

17    A.   Yes.

18    Q.   And are those restrictions a condition of entry into this

19    contract?

20    A.   Yes.

21    Q.   And is there a cost to developers who enter into the Apple

22    Developer Program License Agreement?

23    A.   Yes.

24    Q.   And what is that cost?

25    A.   $99.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   How often is that $$99 fee charged?

 2    A.   Once a year.

 3    Q.   And there are instances where individuals enter into these

 4    contracts, there are instances where companies enter into

 5    these contracts; is that true?

 6    A.   Yes.

 7    Q.   Can you tell us kind of how many people pay -- or how

 8    often that the $99 is charged in those scenarios?

 9    A.   Yeah.    It's set up as a once-a-year program, and it

10    doesn't really matter how big the team is.         It could be an

11    individual.     It could be ten thousand developers.        You can --

12    you set it up.      Many companies just set it up for large teams.

13    Each one will have their own account and agreement.           But it's

14    independent of whether -- what your size is or whether you

15    submit an app.      We have developers who want these tools but

16    don't have apps in the App Store.        And it's independent of

17    whether you have one app or you want to put, you know, a

18    hundred apps in the App Store.       It's all the same.

19    Q.   And how was the $99 fee arrived at?

20    A.   Well, when we looked at the previous program, which I

21    mentioned was upwards of $3,500, we wanted to remove that

22    barrier, so to speak, and reduce it, but in the process, we

23    realized there were two important roles that $99 paid that we

24    thought were beneficial to -- to users.

25         Number one was that this is part of the account
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 152 of 295 2763
                           SCHILLER - DIRECT / DOREN

 1    validation, that we want to go through a process to understand

 2    who a developer is, are they really who they say they are.

 3    Having a financial transaction with that developer is one of

 4    many tools that we use to try to validate who the account is,

 5    so it was helpful to that.

 6         Secondly -- and Steve thought that it would be nice to

 7    have a minimum amount that if you really want to be on the App

 8    Store, it's important enough to you that you're willing to

 9    spend $99.      Otherwise, if it's not that important, you might

10    be flooding the store with a lot of junk, and that's not what

11    users want.      And so he thought that was a nice level set for

12    are you really serious about making a quality app on the Apple

13    store.

14    Q.   When you refer to "Steve," is that a reference to

15    Mr. Jobs?

16    A.   Yes.

17    Q.   Was the $99 annual fee also announced on March 6, 2008?

18    A.   Yes.

19    Q.   And has that fee ever increased?

20    A.   No.

21    Q.   Have the terms of who pays it and how often ever changed?

22    A.   No.

23    Q.   And, by the way, are there any entities or developer

24    populations that are exempt from the $99 fee?

25    A.   Oh, yes.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   And can you describe that, please.

 2    A.   There's no charge for this program for government

 3    institutions, for education institutions, for non-profit

 4    organizations.    We waive it on all those groups.

 5    Q.   Thank you.

 6         We've heard talk about the Worldwide Developer Conference,

 7    but we haven't really discussed that in depth with anyone.

 8         Are you familiar with the Worldwide Developer Conference?

 9    A.   Yes.   I run it.

10    Q.   And can you please describe what that is.

11    A.   Well, we have a number of programs to help educate

12    developers, give them access to all of these APIs and tools

13    and help them create their software, and this is probably one

14    of the most notable parts of that program.

15         Once a year, usually in the summer, for decades now we

16    hold an annual conference that goes for a week long for our

17    developers.

18    Q.   And what occurs at the conference?

19    A.   We typically hold about 200 sessions each year.          They're

20    all led by engineers.      The whole intent of the conference,

21    it's engineers helping engineers, and so we have content we

22    create, 200 sessions.

23         Those sessions are videotaped and then shared around the

24    world for free to all developers to use as a resource to learn

25    how to use our APIs and ToolKits.
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 1         And then we also have hands-on sessions where a developer

 2    can literally bring their code on a drive and sit down with an

 3    engineer and be consulted on how to solve problems or design

 4    some new interface or just get past the problem they're

 5    having.     So we have labs where they can explore some of these

 6    new technologies and get help.

 7         So it's a -- I think it's a great way for everyone to

 8    become a better developer, make better apps.

 9    Q.   And how many people -- how many developers attend that in

10    person?

11    A.   In person, six thousand.

12    Q.   And is it streamed?

13    A.   It is.

14    Q.   And what is the live audience through streaming?

15    A.   The keynote streams, and we get millions and millions of

16    views, over 25 million to sometimes close to 50 million now.

17    It's become very large.

18    Q.   And does Apple pay all charges or all costs related to the

19    WWDC?

20    A.   We do -- we do.    Particularly now that it's been online

21    only for developers, it's been offered for free.

22    Q.   How much does it cost Apple to put that annual event on?

23    A.   Just that one event is over $50 million.

24    Q.   Each year?

25    A.   Yes.
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 1    Q.     And is that event charged against the App Store in any

 2    way?

 3    A.     No.

 4    Q.     And I've heard of something called The Developers Center.

 5    Are you familiar with that?

 6    A.     Yes.

 7    Q.     What is The Developers Center?

 8    A.     We're just completing a new building facility at Apple

 9    Park in Cupertino that's designed entirely for supporting

10    developers as they come and get assistance developing their

11    applications and working on their next-generation projects.

12    Q.     And is that part of the App Store budget?

13    A.     It is not.

14    Q.     Who's in charge of creating that facility?

15    A.     We have a facilities team at Apple that is responsible to

16    build and maintain it.

17    Q.     And does Apple run any school programs regarding

18    development?

19    A.     Yes.   We have a number of education programs.

20    Q.     And are those charged to the App Store in any way?

21    A.     No.

22    Q.     Are you familiar with a program called Developer

23    Accelerator?

24    A.     Yes.

25    Q.     And what is that?
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                           SCHILLER - DIRECT / DOREN

 1    A.   We've created some facilities around the world where more

 2    advanced developers can come in and take part in programs led

 3    by Apple to help them make their apps better and take

 4    advantage of newer technologies.

 5    Q.   And are those programs charged against the App Store in

 6    any way?

 7    A.   No, they're not.

 8    Q.   And we talked earlier about free apps, and roughly what

 9    percentage of apps were free in the early years of the App

10    Store?

11    A.   In the beginning, it was closer to 50 percent of the apps

12    were free.

13    Q.   And today, what percentage of apps in the App Store are

14    free?

15    A.   84 percent.

16    Q.   And what percentage of game apps are free today?

17    A.   Approximately 75 percent.

18    Q.   Now, we've heard talk about premium and paymium and paid

19    downloads.    So when you say free games, what specifically are

20    you referring to?

21    A.   Simply completely free, that there is no charge to the

22    user or in-app charges.

23    Q.   And do developers pay any sort of commission to Apple to

24    distribute their free apps?

25    A.   No, they do not.
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                           SCHILLER - DIRECT / DOREN

 1    Q.     Can developers of free apps monetize their apps in any

 2    way?

 3    A.     Yes, they do.

 4    Q.     How can they do that?

 5    A.     Number one way is advertising.     A lot of developers,

 6    particularly game developers, will use display advertising.

 7    They will work with an ad network like with Google and place

 8    ads and earn revenue from those apps.

 9    Q.     And when a developer monetizes their app through the use

10    of advertising, does Apple earn any money off of those

11    transactions?

12    A.     No, we do not.

13    Q.     Has it ever?

14    A.     No.

15    Q.     And how does -- and can a developer also make money off of

16    their app through the sale of physical goods and services?

17    A.     Absolutely.

18    Q.     And in transactions involving the sale of physical goods

19    and services, does Apple make any revenue from the developer?

20    A.     We do not.

21    Q.     And why doesn't Apple charge for a percentage or a

22    commission on the sale of physical goods and services?

23    A.     We've thought from the start that the kind of an app that

24    requires some physical good -- use a simple example, an app to

25    buy a pair of sneakers.        You order the sneakers in the app but
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 1    then they show up at your home.         We don't know if they have

 2    been delivered.     We don't know if they are the color you want,

 3    the size you want.       That's really between you and that vendor,

 4    that supplier, and we just thought from the beginning that

 5    Apple is not completely involved in that experience and that

 6    we would not have any commission on those sales.

 7    Q.   And do you have any understanding of the amount of revenue

 8    developers earn through physical good transactions on an

 9    annual basis?

10    A.   Yes.

11    Q.   And what is that understanding?

12    A.   In 2019, the last study year I saw, it was over

13    $400 billion.

14    Q.   Billion dollars?

15                THE COURT:     Million?

16                THE WITNESS:     Billion.

17                THE COURT:     Billion with a "B"?

18                THE WITNESS:     Yes.

19    BY MR. DOREN:

20    Q.   And does Apple receive any commission on any of those more

21    than $400 billion?

22    A.   No.

23    Q.   And let's talk about -- we've heard about in-app

24    purchases, and were in-app purchases possible on the App Store

25    when it launched in 2008?
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 1    A.   No.

 2    Q.   Why not?

 3    A.   Our model, when we started, was the idea that a developer

 4    would want to sell their application, and so we created the

 5    ability to pay before the user downloads for getting that

 6    application if that's what the developer wanted, and that was

 7    the only business model involving any transaction we created

 8    for the store for the start of it.

 9    Q.   And did that change at some point?

10    A.   Yes.

11    Q.   Again, why we're here.

12         And why did that change; in other words, what prompted the

13    change?

14    A.   Input from developers.

15    Q.   And if you could please take a look at PX0888, which,

16    again, I believe is admitted, Your Honor.

17                THE COURT:     I believe so, yes.

18         And, by the way, your teams did send us the spreadsheet,

19    so thank you for that.

20                MR. DOREN:     Excellent.   I had heard people were ahead

21    of me on that.

22                THE WITNESS:     Yes.   I have that open.

23    BY MR. DOREN:

24    Q.   Thank you.

25         First of all, do you recognize Exhibit PX0888?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 160 of 295 2771
                           SCHILLER - DIRECT / DOREN

 1    A.   Yes.

 2    Q.   And it's an email with a deck attached; is that true?

 3    A.   Yes.

 4    Q.   And the email is from Mr. Ron Okamoto to Scott Forstall,

 5    yourself, and Greg Joswiak.       Could you please identify, other

 6    than yourself, of course, each of these individuals?

 7    A.   Sure.    Ron Okamoto worked for me running our Worldwide

 8    Developer Relations Team.

 9         Scott Forstall, who we have spoken about, Senior

10    Vice-President of Software Engineering.

11         And Greg Joswiak, my Vice-President of Product Marketing

12    at the time, running iPhone product marketing.

13    Q.   And this email was sent on December 11, 2008; is that

14    correct?

15    A.   That's right.

16    Q.   And, again, can you just remind us where this fits in the

17    chronology of events around the App Store?

18    A.   Yes.    So the App Store is now up and running in its first

19    year, and we are just months into that new App Store.

20    Q.   And the email states that, "Attached is a keynote preso."

21    First of all, what does that mean?

22    A.   Keynote is the application we use at Apple for creating

23    presentations.

24    Q.   And "preso" would be presentation?

25    A.   It's short for that, yes.
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 1    Q.   "Attached is a keynote preso outlining the various app

 2    commerce models used by Microsoft, Xbox, Nintendo, Sony

 3    PlayStation, etc.     We've included summaries of other models

 4    and developers so we can see the current scope of what's

 5    offered.     Let me know if you have any questions."

 6         Did I read that correctly?

 7    A.   Yes, you did.

 8    Q.   This was a communication from Mr. Okamoto to you and your

 9    colleagues?

10    A.   Yes.

11    Q.   And were you interested in receiving this information?

12    A.   Very much so.

13    Q.   And why in December 2008 did you care what the commerce

14    models were on MS, Xbox, Nintendo, and Sony PlayStation?

15    A.   Because in our mind, these are competitive stores for

16    games, and it's directly relevant to the features we are going

17    to offer hopefully in our App Store.

18    Q.   Let's take a look, please, at PX0888.3; in other words,

19    page 3 of this exhibit.

20    A.   Okay.

21    Q.   It's a page entitled "Current App Commerce Models."           Do

22    you have that in front of you?

23    A.   Yes.

24    Q.   Can you describe what's on that page, please.

25    A.   Yes.    So this is a summary of the different app commerce
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 1    models available in the world on all these different platforms

 2    broken up into four big categories.

 3    Q.   And one of those is "subscription"; correct?

 4    A.   Yes.

 5    Q.   And then the second is "download and install"?

 6    A.   Correct.

 7    Q.   And then "in-app"?

 8    A.   Yes.

 9    Q.   And "hybrid"; correct?

10    A.   Yes.

11    Q.   And under "download and install," there is a reference to

12    that being the most common commerce model; correct?

13    A.   Yes, it was.

14    Q.   Of these four, what were available on the App Store as of

15    December 10th, 2008?

16    A.   Just download and install.

17    Q.   And, by the way, I use that date because that's the date

18    of the deck; correct?

19    A.   Yes.

20    Q.   And if you could look, please, at page 4, this, again, is

21    entitled "Current Game Commerce Models."         Do you see that?

22    A.   Yes.

23    Q.   And under "download and install," it states "easy to

24    leverage existing E-commerce infrastructure."          Do you see

25    that?
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 1    A.   Yes.

 2    Q.   What is that a reference to?

 3    A.   That means that the method of download, paying to download

 4    up front and then install, can use the infrastructure of the

 5    stores because that's what they've been built to deliver.

 6    Q.   And then two further down, it states -- well, it also

 7    states, "Minimally invasive to the design of the game

 8    architecture."     What's that a reference to?

 9    A.   It simply means that the developer of the game doesn't

10    have much work to do because that's the easiest to implement

11    with an upfront payment.

12    Q.   And then it states, "Most common model for games," as we

13    saw on the last page; correct?

14    A.   Yes.

15    Q.   And then "Least optimal user experience."         And what did

16    that mean?

17    A.   That paying up front is limited in what you can do to

18    create user experiences; that there will be other things that

19    we're going to talk about in these other models that are also

20    good user experiences that developers could take advantage of

21    if they existed.

22    Q.   And then under "in-game commerce," Mr. Okamoto states that

23    "First of all, commerce solutions are custom built."           And what

24    did you understand that to mean when you received this deck?

25    A.   Meaning that the games that were starting to do this,
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 1    in-game commerce or in-app commerce, had to do it themselves;

 2    that there wasn't a model from any of these stores to support

 3    it.

 4    Q.    And then it goes on to say, "Requires the game be

 5    architected to accommodate."       What does that mean?

 6    A.    Again, if you want to do an in-app purchase to pay for an

 7    item or a level, that's something you have to design to your

 8    game, and so it's work.

 9    Q.    And then it states, "Not very common yet."        Was that true?

10    A.    Yes.

11    Q.    And then "Provides superior user experience."         And what

12    did you understand that to mean?

13    A.    That with this in-game commerce, the opportunity is to

14    give users other options for playing and paying for just

15    things they wanted, when and if they wanted them.

16    Q.    Now, as of December 2008, did the App Store have the

17    ability to facilitate in-app purchases?

18    A.    No.

19    Q.    As of December 2008, did the App Store permit app

20    developers to perform their own in-app purchases without the

21    involvement of the App Store?

22    A.    No.

23    Q.    And if you could please take a look -- we'll flip well

24    ahead, please, to page 25.

25                 THE COURT:   So some were doing it, but you didn't
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 1    allow it given that it says "not very common yet"?

 2                THE WITNESS:     Some were doing it on other stores.         No

 3    one was doing it on ours.

 4                THE COURT:     Right.   Okay.

 5    BY MR. DOREN:

 6    Q.   And, in fact, sir, if you look at slide 17 or page 17,

 7    rather, of Exhibit PX0888 --

 8    A.   Yes.

 9    Q.   -- under Mega Man 9, this is in relation to the Nintendo

10    Wii device and store; correct?

11    A.   Yes.

12    Q.   And there it references "developer implemented in-game

13    store"; correct?

14    A.   Yes.

15    Q.   And then if you look at slide 18 regarding "In-game

16    commerce on Xbox 360 and PS3"?

17    A.   Yes.

18    Q.   There is a reference to Rock Band 2, and Mr. Okamoto

19    references "in-game commerce as leverages billing

20    infrastructure of Xbox Live and Sony PS3"; correct?

21    A.   Yes.

22    Q.   But this was not something that Apple permitted as of this

23    date?

24    A.   That's right.       We did not.

25    Q.   Then if you could look, please, at slide 25, and this
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 1    slide is entitled "What Developers Are Asking"; correct?

 2    A.   Yes.

 3    Q.   And it identifies "subscription"; is that right?

 4    A.   Yes.

 5    Q.   And as of this date, did Apple provide subscription

 6    services?

 7    A.   We did not.

 8    Q.   And then it also identifies what developers are asking,

 9    once again, in-app commerce; is that right?

10    A.   Yes.

11    Q.   And then if you would look, please, at slide 27, which is

12    the summary.    Can you please summarize Mr. Okamoto's summary

13    of what he was communicating to you all in December 2008.

14    A.   Yes.   The summary of this presentation was first that the

15    model that the App Store currently supported, download and

16    install, is still the same model widely supported on consoles.

17         Second, that the idea of an in-app purchase or in-game

18    commerce is just starting to come to fruition, and there

19    really wasn't anyone doing it systematically across their

20    stores in a way to measure a benchmark against.

21         And, third, and most importantly, that the developers that

22    we had spoken to, many here represented in the slide deck,

23    believe that if Apple were to create an in-app purchase model,

24    it would put us into a leadership position for an App Store

25    and specifically for iPhone and iPod touch.
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 1    Q.   And around this December 2008 period, was Mr. Okamoto an

 2    advocate for an in-app purchase capability?

 3    A.   Yes, he was.

 4    Q.   And why was that?

 5    A.   Well, he's responsible for our developer programs.          His

 6    job is at this time to work with all developers, support them,

 7    and advocate for features and capability in our engineering

 8    and our App Store to support what they would like to do.

 9    Q.   And if you could look, please, at page slide 29 or 088.29.

10    A.   Yes.

11    Q.   And do you see the heading "What Developers Want"?

12    A.   Yes, I do.

13    Q.   And then beneath that, there is a reference to APIs.           Do

14    you see that?

15    A.   Yes.

16    Q.   Can you please describe what Mr. Okamoto was communicating

17    to you here?

18    A.   Yes.   He's proposing in this slide deck not long after the

19    store opened that we create a set of APIs for developers to do

20    in-app purchase as part of our iOS operating system and store

21    program to support developers to do in-app purchases.

22                THE COURT:   Is he testifying?

23                MR. DOREN:   Mr. Okamoto?    No, Your Honor.     He may be

24    in through deposition designations.        I'm not -- I don't recall

25    with certainty.
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 1                THE COURT:   Okay.

 2                MR. DOREN:   He's retired.

 3    Q.   And under the APIs, Mr. Schiller, the first is "scalable."

 4    Do you see that?

 5    A.   Yes.

 6    Q.   And what's that a reference to?

 7    A.   Well, we want to make sure that this isn't a small

 8    solution just for a few developers but something that can be

 9    used by all developers.

10    Q.   And the second is "Micro (sense) to macro (dollars) price

11    points."    And do you understand what that means?

12    A.   Yes.   There were different needs by developers, and some

13    needed not only to have an in-app purchase at a full dollar

14    amount but to have microtransactions.        I think that's a common

15    term in this industry.      And for that, we also -- it's not here

16    in the slide, but we started talking about the idea of

17    intermediary currencies, that an in-app purchase can be either

18    for immediate purchase or to put in an amount that can then be

19    used for micro purchases.

20    Q.   Did that morph into things like V-bucks in the future?

21    A.   Exactly.

22    Q.   And then there is a discussion of billing.         What did you

23    understand developers to want in that regard?

24    A.   The API that we create for in-app purchase to manage the

25    billing of that and payment of that -- of that transaction.
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 1    Q.     We've heard Epic suggest that they would like to handle

 2    that.    Obviously Epic is a very large company.        To your

 3    understanding, was this function -- having this function

 4    handled by the App Store important to smaller developers?

 5    A.     I think it was important to many developers but

 6    particularly small developers.

 7    Q.     And then there is a reference to "subscription services"

 8    which we'll talk about in a bit.

 9           And then a reference to the process being secure.          Did I

10    read that correctly?

11    A.     Yes.

12    Q.     And why was that important to developers?

13    A.     Well, it's important to protect the value of their app and

14    their assets, that there's not fraud, and that a user gets

15    what they pay for but they're not defrauded by many users

16    getting access to services or features that they don't pay

17    for.

18    Q.     And then there is a reference, a couple -- further down to

19    "enable fine grain control or quantity and frequency of

20    transactions."    And what is that a reference to?

21    A.     Well, it's a request for the API to allow the developer to

22    help manage the implementation of it specific to their app by

23    the range of the quantity, as it says, or how frequent a

24    transaction can be.     And you can imagine that will matter as

25    we talk about subscriptions, the frequency of the transaction.
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 1    Q.   And then we look to the right, and we see -- I won't call

 2    it rudimentary because I don't know if it is or isn't, but we

 3    see a diagram with one bar being "Commerce APIs" and then an

 4    arrow pointing over to "Commerce Solution."          Do you understand

 5    what that's intended to communicate?

 6    A.   Yes.

 7    Q.   And what is it intended to communicate?

 8    A.   It seems rudimentary now, but at the time when nothing

 9    existed, it took this kind of diagram and visualization to get

10    the proposal across that Ron was making.

11         The idea was that the store is the commerce engine,

12    commerce solution, and we want to create APIs for the

13    developer that they can put in their app to do in-app

14    purchases directly interacting with the store's commerce

15    engine.

16    Q.   And then if you could turn the page, please, to page .30,

17    and, again, "Developers'," plural possessive, "requests for

18    commerce."    Do you see that slide?

19    A.   Yes.

20    Q.   And there's a reference here or a heading here for

21    microtransactions with some bullet points under that.           Do you

22    see that?

23    A.   Yes.

24    Q.   And Mr. Okamoto wrote in the first bullet point,

25    "Microtransactions, small one-time fee to enhance already
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                           SCHILLER - DIRECT / DOREN

 1    installed application."      And at the time, what did you

 2    understand microtransactions to be?

 3    A.   They're small transactions that can occur in an app that

 4    you are already using, and they can be even less than whole

 5    dollar amounts.

 6    Q.   And has the meaning of that term remained the same since

 7    2008?

 8    A.   I believe so.

 9    Q.   And has that in fact become a business model for various

10    games?

11    A.   Yes, it has.

12    Q.   Including Fortnite; correct?

13    A.   Correct.

14    Q.   And after December 2008, did Apple take steps to address

15    these developer requests?

16    A.   We did.

17    Q.   And what did Apple do?

18    A.   We began the engineering and store work to develop what

19    Ron was requesting here in a set of APIs and capabilities that

20    plug in together with our commerce engine to enable in-app

21    transactions and then later to enable subscriptions.

22    Q.   And if you could please take a look at DX4192, which,

23    again, Your Honor, I believe has been admitted.

24              THE COURT:    4192.    Let's see.    It's not on my list.

25              MR. DOREN:    4192.
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 1                 THE COURT:     I don't see it on either list.

 2                 MR. DOREN:     Okay.    I will move it in then,

 3    Your Honor, once we have it established.

 4         I'm sorry.       Apparently, Your Honor, the same document --

 5    I'm sorry.      It was entered by the expert stipulation on May

 6    12th, Docket 635.         I'm happy to move it in, Your Honor, just

 7    to clear the record up now.

 8                 THE COURT:     Okay.    And I can't see the number on the

 9    screen again.

10                 MS. FORREST:      And we would have no objection,

11    Your Honor.

12                 THE COURT:     All right.      It's admitted.   May I see the

13    number?      4192.

14                 MR. DOREN:     I'm sorry, Your Honor, 4192.

15                 THE COURT:     Yes.    I do see it now.

16                 MR. DOREN:     Good.    Thank you, Your Honor.

17                 (Defense Exhibit 4192 received in evidence)

18    BY MR. DOREN:

19    Q.   Mr. Schiller, do you recognize Exhibit DX4192?

20    A.   I do.

21    Q.   And what do you know it to be?

22    A.   This is a transcript of another Apple event.

23    Q.   And I notice your name is not on this in terms of being a

24    presenter.      Were you present at this event?

25    A.   Yes.     I was sitting in the front row taking part in it.
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 1    Q.   And what was the purpose of this event?

 2    A.   This was announcing what we call our developer beta of

 3    iPhone Version 3.0 of the operating system.

 4    Q.   And this event occurred on March 17, 2009; is that right?

 5    A.   Yes.

 6    Q.   And the first speaker is Greg Joswiak; is that right?

 7    A.   Yes.

 8    Q.   Can you remind us what his position was at the time?

 9    A.   Vice-President of Product Marketing.

10    Q.   At the bottom and carrying over to the second page,

11    Mr. Joswiak says, "This also, of course, provided a great

12    opportunity for app developers, and we first introduced the

13    beta of this iPhone SDK here on this stage just one year ago,"

14    which would be March 6th, 2008; correct?

15    A.   Yes.

16    Q.   He then goes on to say, "And in this one year's time,

17    we've had over 800,000 downloads of the free iPhone SDK";

18    correct?

19    A.   Yes.

20    Q.   And was that accurate at the time?

21    A.   Yes.

22    Q.   And then he goes on to say, "Absolutely amazing.          And

23    we've had over 50,000 individuals and development companies

24    join our paid iPhone developer program."         And was that also

25    accurate at the time?
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 1    A.   Yes.

 2    Q.   So there were 800,000 downloads of the free iPhone SDK and

 3    then 50,000 individuals that joined the developer program with

 4    the $99 annual fee?

 5    A.   Correct.

 6    Q.   And then he goes on to say, "It has gotten off to a

 7    gigantic start, and if we look at these developers, I find it

 8    very interesting that most of them, over 60 percent of them,

 9    had never developed for any Apple platform before."           And was

10    that also accurate at the time?

11    A.   Yes.

12    Q.   So these were developers who were able to take advantage

13    of this opportunity that Apple had created?

14    A.   Exactly.

15    Q.   And in the next paragraph, just under the "[applause]",

16    Mr. Joswiak goes on to say, "So clearly with the App Store

17    appealing to big developers, small developers, and those in

18    between, there's no surprise that we've had an explosion of

19    apps and we've had over 25,000 apps now in the App Store

20    today.      Absolutely amazing."   Was that accurate information as

21    well?

22    A.   Yes.

23    Q.   So at the end of the first year, after the SDK and App

24    Store was announced, there were 25,000 apps in the App Store?

25    A.   That's right.     We went from 500 to 25,000 in one year.
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 1    Q.   And if you look over to page .003, just the next page in

 2    the document, in the second paragraph, Mr.-- in the second

 3    paragraph, Scott Forstall states that "Over 800 million

 4    applications have been downloaded, and we've gotten so used to

 5    calling those apps."     Those are apps; right?

 6    A.   Yes.

 7    Q.   So "Over 800 million apps have been downloaded and this is

 8    amazing, and it's the best way ever for developers to get

 9    their applications out to our collective tens of millions of

10    users."

11         And was that an accurate number, the 800 million downloads

12    after one year?

13    A.   Yes.

14    Q.   And, in fact, in reference to the tens of millions of

15    users, if you go back to the first page of this same exhibit,

16    in the third paragraph, you see that Mr. Joswiak says, "And

17    before we ever shipped our first iPhone, we set a very

18    aggressive and public goal that we would sell 10 million

19    iPhones in our first calendar year, calendar 2008, and we blew

20    that number away.     We sold 13.7 million last year in calendar

21    2008."

22         Is that an accurate figure?

23    A.   Yes.

24    Q.   And in the next paragraph, he states, "And if you look at

25    our iPhone sales from the time that we started shipping in
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 1    June of 2007 through the end of this last calendar year, you

 2    see that we have sold 17 million iPhones."         And is that also

 3    an accurate figure?

 4    A.   That's correct.

 5    Q.   And that would be through the end of 2008?

 6    A.   Yes.

 7    Q.   And then in the -- again, back to page 3, .003, in the

 8    third full paragraph which begins "But we've been listening."

 9    Do you see that?

10    A.   Yes.

11    Q.   And Mr. Forstall says, "But we've been listening, and some

12    developers have come to us saying that there are other

13    business models they'd love to support for their

14    applications."

15         Do you see that?

16    A.   Yes.

17    Q.   And he says, "For instance, subscriptions"; correct?

18    A.   Yes.

19    Q.   And then further down in the paragraph, Mr. Forstsall

20    says, "There are game developers who would love to add

21    additional levels and be able to sell game levels right from

22    within the game, and there's a lot of other new content that

23    developers like to sell inside an application."

24         Was that a statement that Mr. Forstall made back in March

25    2009?
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 1    A.   He did.

 2    Q.   And then further down in that same paragraph, he

 3    announces, "I'm happy to say that we are supporting all of

 4    these additional purchase models in iPhone 3.0, and we are

 5    doing it with what we call in-app purchase."

 6         And was that also an announcement that he made back in

 7    March 2009?

 8    A.   Yes, he did.

 9    Q.   And was this --

10              MS. FORREST:     Your Honor, could I just say one

11    objection.

12         This is hearsay, and it's no problem if the witness adopts

13    the statement, but to the extent he's adopting a statement of

14    another would be hearsay, Your Honor.

15    BY MR. DOREN:

16    Q.   Well, first of all, Mr. Schiller, was this document

17    created by Apple in the ordinary course of its business?

18    A.   Yes, it was.

19    Q.   And is it the practice of Apple to maintain accurate

20    transcripts of its various product launches?

21    A.   Yes, we do.

22    Q.   And is -- does this accurately reflect what was stated by

23    Apple personnel in the public launch of these -- of these new

24    offerings?

25    A.   Yes, it is.
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 1    Q.   And do you know, sir, the statements in this document to

 2    be accurate?

 3    A.   Not only do I know they were accurate, I took part in the

 4    writing of -- of the event of what these presenters presented.

 5    I took part in the rehearsals and reviewing everything they

 6    said, so I was an active participant in putting on the events

 7    where these statements were made.

 8                MR. DOREN:     Your Honor, I would suggest, first of

 9    all, this is a business record, and, secondly, the witness is

10    testifying independent of the document.

11                MS. FORREST:     Your Honor, since he has now testified

12    independent of the document, the objection is withdrawn.            It

13    was only when he was adopting Mr. Forstsall's statements.

14                THE COURT:     All right.   Accepted as a business

15    record.

16                MR. DOREN:     Thank you, Your Honor.

17    Q.   Just a couple other questions, Mr. Schiller, on Exhibit

18    4192.

19         If you'd turn to page .004, at the -- in the carryover

20    paragraph at the top, Mr. Forstall says, "So in-app purchase:

21    The business model for in-app purchase is the same as for the

22    same as the App Store, meaning the developer sets the price

23    for in-app purchase items.        Again, 70 percent of the revenue

24    goes straight to the developer.         There are no credit card

25    fees.     We will cover all the credit card fees, and the
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 1    developers are paid monthly."

 2         Was that a statement that Mr. Forstall made at this March

 3    2009 event?

 4    A.   He did.

 5    Q.   And can you tell us, sir, what the commission level was

 6    that was set for in-app purchases at the time of this

 7    announcement?

 8    A.   It was 70/30.

 9    Q.   As for -- previously set for paid downloads?

10    A.   Exactly.

11    Q.   And that was made public and announced at the time that IA

12    purchases -- that the company stated that in-app purchases

13    would be facilitated; is that correct?

14    A.   Yes.

15    Q.   And then in the next paragraph, Mr. Forstall says, "Now,

16    to keep the model simple for the consumer, this is for paid

17    apps only."     Do you see that?

18    A.   Yes.

19    Q.   And is that how the in-app purchase feature was initially

20    offered by Apple?

21    A.   Yes.   That's how it began.

22    Q.   And did that last very long?

23    A.   Not too long in the grand scheme of it.

24    Q.   And was that within a few months changed to apply to apps

25    that were free to download but then had in-app content?
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 1    A.   Exactly.

 2    Q.   And what resources went into developing the in-app

 3    purchase functionality?

 4    A.   It took work from our software engineering team to create

 5    the APIs and support it with our ToolKits.         And it took work

 6    from the App Store Team to build a store component of it with

 7    the commerce engine.

 8    Q.   And did any of the software engineering -- was any of that

 9    charged to the App Store?

10    A.   No.

11    Q.   And did the development of IAP facilitate a new business

12    model called "freemium"?

13    A.   It did.

14    Q.   And can you describe what "freemium" is?

15    A.   If a user downloads an app that is free to start to play

16    or use and then has the opportunity to make purchases within

17    that app with an in-app purchase, that's technically what is

18    called a "freemium app."

19    Q.   And while we are defining our vocabulary here, are you

20    familiar with a business model called "paymium"?

21    A.   Yes.

22    Q.   What is that?

23    A.   What Mr. Forstall was describing here is that is an app

24    where you pay up front and still have options to buy other

25    items or services within it and that is called "paymium."
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 1    Q.   And what is the business model of Fortnite and Epic?

 2    A.   I believe it's freemium.

 3    Q.   What percentage of game apps on the App Store today use

 4    the freemium model?

 5    A.   I believe it's 17 percent.

 6    Q.   And are the majority of the balance of games free?

 7    A.   Yes.   As we said, approximately 75 percent of the games

 8    are free.

 9    Q.   So that means something less than 10 percent are either

10    paid downloads or a paymium model; is that fair?

11    A.   Yes.   I believe approximately 6 percent are paid and then

12    the balance are paymium or subscription.

13                THE COURT:     You said 75 percent of the games.     So are

14    we talking about with these percentages just games or are we

15    talking about all apps?

16                THE WITNESS:     I'm sorry.   Just games, Your Honor.

17    BY MR. DOREN:

18    Q.   And why, sir, based on your experience, would a developer

19    use a freemium model rather than a paymium model?

20    A.   One of the very important things we discovered in building

21    IAP and then the rollout by developers using it for freemium

22    is that on average, we saw that a developer would increase

23    their customer base tenfold by going from paid to freemium.

24    Q.   And so the net effect of the freemium model is to attract

25    a significant amount of new players?
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 1    A.   Yes.

 2    Q.   And we have heard -- we've heard about IAP described now

 3    as this in-app purchase business model.         We've also heard of

 4    it referred to as a functionality that Apple provides.           Do you

 5    have those two kind of different uses of the term in mind?

 6    A.   Yes.

 7    Q.   And you mentioned earlier what you called the -- the

 8    commerce engine at Apple.      Can you tell us what you were

 9    referring to.

10    A.   Yes.   The App Store is sort of built with a commerce

11    engine that handles many of the responsibilities of

12    functioning and securing the App Store, and as I look at it,

13    IAP is one of the features that works with that commerce

14    engine.

15    Q.   And what else is the commerce engine used for?          And, for

16    example, do paid downloads go through the commerce engine?

17    A.   They do.

18    Q.   And do free downloads go through the commerce engine?

19    A.   They do.

20    Q.   If they're free, why do they go through the commerce

21    engine?

22    A.   Well, you still want to make sure you have a valid

23    developer, safe developer account.        You want to make sure you

24    have a valid user.     We still protect our developers from

25    fraudulent users, even if they have a different business model
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 1    like advertising.     We worry about the transaction and the

 2    download of that application and to make sure that when you

 3    later look at the App Store, the list of all the apps you've

 4    acquired, even the free ones are listed there.          The commerce

 5    engine provides the information to support that.          So there are

 6    many functions that the commerce engine supports, even for

 7    free apps as well as paid apps.

 8    Q.   And how do the IAP APIs relate to this overall commerce

 9    engine?

10    A.   The IAP APIs provide -- in this time provided a new

11    capability for developers to have a transaction and have the

12    App Store handle that transaction and then validate for the

13    developer that that has occurred and that the user has a right

14    to those goods or services.

15    Q.   And has Apple created an SDK for developers who wish to

16    use the IAP functionality in the commerce engine?

17    A.   We have.

18    Q.   And what is the name of that SDK?

19    A.   It's called StoreKit.

20    Q.   And do you recall Mr. Sweeney testifying that Epic had no

21    complaints about how Apple handles initial paid downloads?

22    A.   I did hear that.

23    Q.   And do you recall that Mr. Sweeney testified that he had

24    no problem with the 30-percent commission that Apple charges

25    on those transactions?
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 1    A.   Yes.

 2    Q.   Has Apple ever marketed IAP as a separate product?

 3    A.   No.

 4    Q.   Has anyone ever inquired about purchasing IAP from Apple?

 5    A.   Not that I've ever heard.

 6    Q.   Now, sir, you've spent 30 years marketing Apple products;

 7    correct?

 8    A.   Yes.

 9    Q.   Does Apple have a process for developing products?

10    A.   We do.

11    Q.   And can you please describe that process.

12    A.   I know it well.    I helped write it.      It's called the Apple

13    New Product Process, ANPP.       It's an iOS industry standard

14    process which is important when we do business with

15    governments and other institutions.        And Apple, in the product

16    process, defines every product we do with a rigid process for

17    the people who need to be involved in creating a product and

18    the phases every product goes through from concept to final

19    production and delivery, and so we have a formal process that

20    every product must go through.

21    Q.   And has -- have the IAP APIs ever been put through a

22    process anything like that?

23    A.   No.

24    Q.   Sir, is IAP a product?

25    A.   It is not.
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 1    Q.   What is it?

 2    A.   It is a feature on our commerce engine for the Apple

 3    store.

 4    Q.   And do the IAP APIs interact with other elements of the

 5    commerce engine?

 6    A.   Yes, it does.

 7    Q.   And can you give us some examples of that, please.

 8    A.   Some of them are, as I described, it needs to know that

 9    you have a valid developer.       It needs to know that you have a

10    valid user.     Worries about the protection of those accounts.

11    It needs to handle those transactions.         And all of that is

12    supported by the commerce engine.        It needs to understand if

13    there has been a refund to a user and whether it is still

14    available to use those services.        And there are many other

15    functions as well.

16    Q.   And we've heard talk at various times here about things

17    called parental controls and things referenced as "ask to

18    buy."    Are you familiar with those?

19    A.   I am.

20    Q.   And do the IAP APIs interact with those functions in the

21    commerce engine?

22    A.   Exactly.    The commerce engine provides the ability to

23    handle things like "ask to buy" that you want to set up that

24    you have to be asked each time you make a purchase to protect

25    your purchases, and that commerce engine provides that
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 1    capability to all the payment choices, pay to download, in-app

 2    purchase, subscription.      Exactly.

 3    Q.   And do the IAP APIs interact with any fraud checks within

 4    the commerce engine?

 5    A.   It does.

 6    Q.   And can you describe that, please.

 7    A.   Well, we have a team that manages looking out for

 8    fraudulent transactions, fraudulent credit cards, fraudulent

 9    trends from users or developers, and tries to protect those

10    transactions from occurring before they happen, if they can.

11    Q.   And would -- and how do they do that?        In other words,

12    what are they looking for?

13    A.   They're looking at a lot of sources of data that use

14    machine learning models to project trends in major

15    transactions as they're occurring and understand a number of

16    variables that detect whether a transaction is fraudulent.

17    I'm not an expert in machine learning for fraudulent

18    transactions, but we have a team of people that that's what

19    they provide to the commerce process of the App Store.

20    Q.   And is having a large dataset helpful in that process?

21    A.   Absolutely.    There are things you can't detect or see

22    unless you see a large number of transactions coming from a

23    user population or geography or across multiple applications.

24    Q.   And if IAP or the administration of in-app purchase is now

25    moving away from APIs and back to this concept of in-app
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 1    purchases, if they were administered by different developers

 2    on different platforms in different places, what would the net

 3    effect be on the size of the dataset available to Apple to

 4    evaluate fraud patterns?

 5               MS. FORREST:     Objection.

 6               THE COURT:     Which objection?

 7               MS. FORREST:     Your Honor, calls for speculation.

 8               THE COURT:     Lacks foundation.    Sustained.    It's also

 9    leading.

10    BY MR. DOREN:

11    Q.   Does IAP -- well, strike that.

12         Could Apple collect a commission without IAP?

13    A.   Not that I can think of.

14    Q.   Does IAP actually perform or -- perform the actual payment

15    processing function?

16    A.   No.

17    Q.   And who does that?

18    A.   We -- we do business -- contract with payment providers

19    like Visa or Alipay or even carriers do payment processing.

20    Q.   And does Apple pay the charges related to that service?

21    A.   We do.

22    Q.   Has Apple ever charged developers separately for IAP?

23    A.   No.

24    Q.   Let's talk about refunds for a moment.

25         We've heard some testimony about how Apple requires that
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 1    it handles refunds related to in-app purchases.          Do you recall

 2    that topic generally?

 3    A.   Yes.

 4    Q.   And is that accurate?

 5    A.   Yes.

 6    Q.   And why does Apple have that requirement?

 7    A.   We have a lot of customers of the iPhone and the App

 8    Store, and many of them want to call Apple.          They've gotten

 9    the app from the App Store.       They've taken the purchase

10    through IAP, and they want to reach out to us when they have a

11    problem with the developer and want a refund.

12    Q.   And how many people within Apple are there to help

13    facilitate refunds?

14    A.   Five thousand.

15    Q.   And what area of Apple do they work in?

16    A.   They work in our AppleCare Support Team.

17    Q.   And has Apple taken any steps to increase the visibility

18    to developers in the refund process?

19    A.   Yes, we have.

20    Q.   Can you describe that, please.

21    A.   We get feedback from developers about ways they would like

22    the refund process to improve, and last year we rolled out a

23    new feature to help developers with one of the big requests,

24    which is to help minimize fraudulent transactions with

25    refunds.
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 1         So you might understand that as a developer, you provide a

 2    service to a user, and they pay for it within that purchase,

 3    but then if they go to Apple and ask for a refund, they have

 4    no longer really paid for that service, but the developer has

 5    to continue providing it.       So developers have asked us to --

 6    how do we know if somebody has been refunded.          We don't want

 7    to keep providing that service.       So we have created a

 8    mechanism in our APIs to support that communication.

 9                THE COURT:     When was that?   When in 2020?

10                THE WITNESS:     At our developer conference last

11    summer.

12    BY MR. DOREN:

13    Q.   And -- strike that.

14         And could -- let's turn to subscriptions.         Could users

15    purchase subscriptions through the App Store when it first

16    launched?

17    A.   No.

18    Q.   And we've seen a reference to developer requests for

19    subscription services; correct?

20    A.   Yes.

21    Q.   And what was it that developers wanted in regard to

22    subscriptions?

23    A.   Well, many developers have products and services that have

24    an ongoing need for revenue stream with them.          It could be as

25    simple as a content service like music streaming or it could
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 1    be a -- you're a developer who is providing an app, and you

 2    are going to continue to engineer updates for the customer,

 3    and you think those updates are worth getting paid for on an

 4    ongoing basis.

 5    Q.   And did Apple respond to that request?

 6    A.   We did.

 7    Q.   How?

 8    A.   Well, there were two steps to it.       We have in-app

 9    purchase, and with in-app purchase, developers were using them

10    for what's called non-recurring subscriptions.          An example

11    would be the Major League Baseball app.         I could use an in-app

12    purchase to pay for this season, but at the end of this season

13    it expires.    I have to pay again.      So it's a subscription, but

14    it doesn't recur.     That was step one.

15         Step two, we rolled out subscriptions, and with

16    subscriptions, we added a feature where that in-app purchase

17    now can automatically renew, and so developers needed a range

18    of tools for that, like the ability to say what's the price

19    for a weekly, a monthly, or an annual subscription, and a

20    number of other features as well.

21    Q.   And when were subscription services first offered by Apple

22    through the App Store?

23    A.   I believe that was 2009.

24    Q.   Would it refresh your recollection if I were to say 2011?

25    A.   There goes my memory.     Yes.   2011 is probably more
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 1    accurate.

 2    Q.   And are you familiar with something called "the reader

 3    rule"?

 4    A.   Yes.

 5    Q.   And can you describe what the reader rule is?

 6    A.   It -- we had always set up the store as if you deliver a

 7    digital service or good, that that needs to be paid for within

 8    the app, but we had a number of developers say to us "I can

 9    already get my own customers outside the App Store.           I don't

10    need to do customer acquisition with you.         I'm taking care of

11    that on my own.     So can the consumer now have that content

12    experience in the app without having in-app purchase because I

13    took care of it off the App Store somewhere else."           So we

14    created a rule to enable those businesses called "the reader

15    rule."

16    Q.   And how does the reader rule work?

17    A.   It says that okay, if you're -- I'm paraphrasing.

18    Probably not going to know the exact legal language of it or

19    language of it.

20         If you are acquiring a customer on your own and don't need

21    to do that in the store, you can do that, and -- and the user

22    can just, for example, log in with their account and get

23    access to all the content and digital services that they paid

24    for, and you're -- you're agreeing that you don't need do that

25    through the store, so there is no IAP, and that's the reader
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 1    rule.

 2    Q.   And does Apple receive any commission or other

 3    compensation for those subscriptions?

 4    A.   We do not.

 5    Q.   And when was the reader rule put in place?

 6    A.   It was -- oh, my goodness.      It's been a long time now.

 7    2009 perhaps.

 8    Q.   And we heard testimony about how a -- an iOS device user

 9    might manage a New York Times subscription.          Do you recall

10    that topic generally?

11    A.   Yes.   That was mentioned.

12    Q.   All right.   So let's walk through a couple of scenarios.

13         If someone subscribes to the New York Times through the

14    New York Times website, how would they manage that

15    subscription?

16    A.   Well, if you've paid for a New York Times subscription to

17    receive digitally on their website, when you download the app

18    and log in through your account, you can now get that content

19    from the New York Times.

20    Q.   And if someone were to open a New York Times subscription

21    through the App Store, how would they manage that

22    subscription?

23    A.   Well, now you're purchasing it in the app, and you're

24    doing it through the App Store with in-app purchase and

25    subscriptions, and you can manage that within the App Store.
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 1    Q.   And if someone were to want to change from an iOS device

 2    to some other device, say a Samsung Galaxy smartphone, what

 3    would they do regarding their New York Times subscription?

 4    A.   So what happens next --

 5                MS. FORREST:     Objection to the form, Your Honor.

 6    Foundation.

 7                THE COURT:     Overruled.

 8                THE WITNESS:     What happens next is up to the

 9    developer.    The New York Times can have a log-on and know that

10    you have paid for access to the content, and even if you

11    switch device, give you access to that content again.

12    BY MR. DOREN:

13    Q.   And worst-case scenario, that is not available, what would

14    a subscriber do?

15    A.   Well, in that case, you would cancel your subscription on

16    the iPhone on our App Store, and you would start up a new

17    subscription on your account on your other device.

18    Q.   Now, you told us earlier that Apple has never increased

19    its commission level; correct?

20    A.   Yes.

21    Q.   Has it ever decreased its commission levels?

22    A.   Yes.

23    Q.   We just talked about subscriptions.        Has the commission on

24    subscriptions ever been decreased?

25    A.   Yes, it was.
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 1    Q.   And can you describe that, please.

 2    A.   Yes.   In 2016, we changed the commission model to be

 3    different on the second year.       So in the first year when

 4    you -- a new user sets up a subscription, it's still a 70/30

 5    commission, and then if that user stays with that

 6    subscription, on the second year and all successive years, it

 7    goes to 85/15.

 8         In addition, when we made that change to the commission in

 9    2016, we then automatically started any existing subscriptions

10    that were more than a year old for all developers at 85/15.

11    We didn't make them wait a year for those.

12    Q.   Why did Apple make that change?

13    A.   We -- first of all, subscriptions have been growing really

14    well for business for developers so we thought it was good for

15    developers and good for many kinds of products that users

16    want.   And in talking with developers, we realized that they

17    had to do work in following years to keep the content coming

18    for users so that they want to stay with their subscription,

19    and so to support that and encourage that, because we think

20    it's good for the developer, good for Apple, good for the

21    user, we thought we would reduce the commission and recognize

22    that they're doing work to maintain that -- that content in

23    future years.

24    Q.   And does that subscription model that you just

25    described -- does it apply to game apps that are sold on a
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 1    subscription basis?

 2    A.   It does.

 3    Q.   And have you heard of the Video Partner Program?

 4    A.   Yes.

 5    Q.   And what is the Video Partner Program?

 6    A.   It's a program we created a few years back.         The Apple TV

 7    Team was working on a new generation of an app on Apple TV

 8    where new digital TV services were cropping up as separate

 9    services, separate applications, and we wanted to bring them

10    all together into one experience for users.

11         And so the Apple TV Team started meeting with TV content

12    providers and described the work they were going to do to

13    integrate into this new experience.        For example, they needed

14    to integrate with our Siri voice assistant so you could find

15    any show across any one of these app experiences, and in

16    talking with those developers, the Apple TV Team asked if we

17    could lower the commission on 85/15, not in the second year,

18    but in the first year to help them cover the costs of all this

19    engineering work.     And so in doing that, we created a Video

20    Partner Program for any developer who wants to be in that

21    service and do that work to get that benefit.

22    Q.   And what is required of a Video Partner Program member in

23    order to obtain that 15 percent commission?

24    A.   Well, again, they need to join this program and do the

25    engineering work to integrate with the Apple TV app so the
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 1    users have a better experience.

 2    Q.   And when was the Video Partner Program created?

 3    A.   It's been a few years now.      I don't remember the exact

 4    year that that started.

 5    Q.   And are there any circumstances where Video Partner

 6    Program participants are not required to use IAP?

 7    A.   Yes.

 8    Q.   And what are those circumstances?

 9    A.   When working with a number of these partners and in

10    particular some of the cable providers that were going

11    digital, they had existing movie rental businesses with an

12    install base of customers, and they asked if they could

13    maintain those existing relationships as they moved over to

14    digital distribution, so that's included as part of the Video

15    Partner Program as well.

16    Q.   And is Amazon Prime one of those entities?

17    A.   Yes, they are.

18    Q.   And Altice One?

19    A.   Yes.

20    Q.   And I will not even attempt the French, Canal+?

21    A.   Canal+, yes.

22    Q.   Thank you.

23         And is IAP otherwise required for each of those companies?

24    A.   Yes.

25    Q.   And was the Video Partner Program only available to large
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 1    media companies?

 2    A.   No.

 3    Q.   Who else is it available to?

 4    A.   Any -- any developer who chooses to be in that business

 5    can get access to the same program and the same terms.

 6    Q.   And we've heard testimony here about cross-platform play;

 7    correct?

 8    A.   Yes.

 9    Q.   And cross-wallet play?

10    A.   Yes.

11    Q.   And has -- does Apple support both of those?

12    A.   We do.

13    Q.   And since when has Apple supported those?

14    A.   Oh, it's been many years now that we rolled out the

15    multiplatform support for payment.        I don't remember exactly

16    which year it started in.

17    Q.   And was that decision based on anything to do with Epic?

18    A.   No.

19    Q.   And why did Apple decide to support cross-platform and

20    cross-wallet play?

21    A.   Well, we had some game developers come to us and express

22    that this is a growing trend in gaming, that we're going to

23    see new developers come on to iPhone from consoles and other

24    platforms where they already had a large user base, and they

25    allowed cross-platform play, and that if we wanted to continue
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 1    to be competitive with the App Store, we needed to add that

 2    capability.     So hearing that feedback, we made that a term for

 3    all developers.

 4    Q.   And does Apple's acceptance of cross-wallet play impact

 5    the amount of commission paid to Apple by developers?

 6    A.   Sure.

 7    Q.   How?

 8    A.   Well, previously the rules had been that if there is any

 9    digital content paid for within an app, that you pay for that

10    with IAP on iPhone.        After the multiplatform rule, a developer

11    now can sign up users off of iPhone on whatever platform they

12    want and then the user can now have that content in their

13    iPhone, and there's no IAP process, there is no commission to

14    Apple.

15                 MR. DOREN:    Your Honor, is this a good time?

16                 THE COURT:    I was going to say we have one minute.

17         All right.     Let's go ahead and stand in recess for 40

18    minutes until 1:15.        Thank you.

19                 MR. DOREN:    Thank you, Your Honor.

20                 THE COURT:    I take it he will be the full day?

21                 MR. DOREN:    Certainly most of it.         He may be on cross

22    by the end of the day, but I'm sure he will be on the stand.

23                 THE COURT:    Okay.   Thank you.

24                 (Luncheon recess was taken at 12:34 p.m.)

25                     (Proceedings resumed at 1:15 p.m.)
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 1               THE CLERK:   Remain seated.     Court is in session.

 2    Come to order.

 3               THE COURT:   Okay.    We are back on the record.

 4         The record will reflect that Mr. Schiller is on the stand.

 5    Mr. Doren is at the podium.       Ms. Forrest is writing furiously,

 6    and she's present, as are the parties.

 7         We may proceed.

 8               MR. DOREN:   Thank you, Your Honor.

 9    Q.   Mr. Schiller, you mentioned last year's worldwide

10    developer conference.      When did that conference take place?

11    A.   That was in June last year.

12    Q.   And is there a set time for those conferences each year?

13    A.   Yes, it is.

14    Q.   And -- and that's in June of each year?

15    A.   It is.

16    Q.   Mr. Schiller, are you familiar with the small business

17    program?

18    A.   Yes, I am.

19    Q.   And what is the small business program?

20    A.   It's a program on the App Store that allows developers who

21    have earned less than a million dollars in proceeds in the

22    previous year across all their apps to have a lower commission

23    level.

24    Q.   And when had Apple first considered reducing its

25    commission for small developers?
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 1    A.   Their original work started in 2016.

 2    Q.   And when did the small business program go into effect?

 3    A.   It -- we took applications from developers this past

 4    December of 2020, and it impacted their commission levels in

 5    this January of 2021.

 6    Q.   And if you could please take a look at Exhibit 5627, which

 7    should be the last document in your binder.

 8                            (Exhibit published.)

 9                THE WITNESS:   (Reviewing document.)

10         I see that.

11    BY MR. DOREN:

12    Q.   And do you recognize what this document is?

13    A.   Yes.

14    Q.   And can you describe it for the Court, please?

15    A.   It's an email discussion among a few of us working on a

16    version of this program.

17    Q.   And is the re line on this email "In Re Indie Developer

18    Program"?

19    A.   Yes.

20    Q.   And what's the date of this email?

21    A.   The newest email on this is June of 2018.

22    Q.   And in the first email, the first two emails, actually,

23    you discuss the possibility of some of the commission payment

24    being diverted, if you will, to search ads for the small

25    developers, correct?
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                           SCHILLER - DIRECT / DOREN

 1    A.   That's right.

 2    Q.   Was that one proposal that you all considered over -- over

 3    at the time that you were evaluating this?

 4    A.   Yes.   That's one I sent to the team to try to keep an idea

 5    going.

 6    Q.   And what other ideas were you sorting through during your

 7    evaluation period?

 8    A.   We'd talked about a couple of different approaches.           One

 9    as a commission level based on what is we call an independent

10    developer.    That's why it's called an "Indie Developer

11    Program."

12         Another idea was is there something we can do to

13    specifically target startup developers, bring new first-time

14    apps on the App Store.

15         So we had a number of different explorations.

16    Q.   And why did Apple introduce this program when it did?

17    A.   Well, I think there's a lot been going on in the last year

18    with the App Store and certainly a lot of input and -- and

19    commentary about the App Store's commission level.           And

20    frankly, after four years of hearing about the teams trying to

21    come up with a model, I felt it was time to just get it done

22    and put it out there.

23         And honestly, these are all -- we can talk about all the

24    reasons, but number one important to me personally was the --

25    the pandemic.    Over the last year, I think a lot of us are
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                           SCHILLER - DIRECT / DOREN

 1    concerned with small businesses in this country and how

 2    they'll make it through and -- and whether they'll succeed,

 3    and that was a personal motivation for finally getting this

 4    done.

 5    Q.     And was this lawsuit a factor in the decision?

 6    A.     I would say it -- it helped me get it done, where for

 7    years we didn't.     And it certainly -- I would absolutely agree

 8    that it -- it helped to get a program done that we wanted done

 9    that was hard to get done.       It isn't, I wouldn't say, why we

10    did it, but it certainly helped.

11    Q.     And by the way, when you say it was hard to get done, what

12    sort of factors made it hard?

13    A.     There were concerns about fraud, first of all, from -- if

14    we implemented it incorrectly, developers could do things with

15    changing accounts, switching apps between accounts in order to

16    manipulate the system just for a lower commission.           Then ways

17    that wouldn't be good for them couldn't be good for users.

18           There were many concerns from our -- our -- our finance

19    and -- and -- and antifraud teams about money laundering

20    mechanisms that get -- get manipulated when -- when rates get

21    low.    Things again I'm not expert in, but they are -- they

22    were adamant about as a big concern.

23    Q.     And -- and what's your general understanding, if you -- if

24    you have one beyond what you just said, about where the risk

25    of money laundering was?
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 1    A.   I proposed other commission levels even lower than -- than

 2    what we've done.     And our finance and antifraud team was

 3    pretty adamant that as we start to get much below 15 percent,

 4    the rate of increase of money laundering attempts goes up

 5    dramatically.    And so the -- the antifraud team was very

 6    worried about a commission level anything lower than

 7    15 percent for small businesses.

 8    Q.   And does the small business program look at the revenue on

 9    a cumulative basis?     In other words, for any individual

10    developer, if they have more than one account, does the

11    program look across those accounts in calculating the

12    $1 million?

13    A.   Yes, it does.

14    Q.   And why does it do that?

15    A.   Because, again, we certainly didn't want to artificially

16    create a scenario where developers just start to move apps

17    between accounts as they get to certain levels and -- and then

18    take it off the store, put it back on the store, move it in an

19    account just to try to hit a commission level that I don't

20    think that would be good for users or for -- for us.

21    Q.   And what percentage of developers are eligible for the

22    small business program?

23    A.   Over 90 percent of all developers.

24    Q.   And did Apple notify developers about this program?

25    A.   Yes, we did.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   What has it done to inform developers about this program?

 2    A.   We -- we did a great deal.      We want to make sure that

 3    every developer understood and knew the opportunity they had

 4    and didn't miss out on it.       So we proactively reached out

 5    multiple times to developers this past December and also

 6    provided news and information on our developer site, in our

 7    developer app, everywhere we could.

 8    Q.   And have -- has outreach continued since last December?

 9    A.   Absolutely.

10    Q.   And what percentage of eligible developers, or any

11    yardstick you wish to apply, my question really is how many

12    developers have enrolled?

13    A.   We have tens of thousands in it at this point.

14    Q.   And is that a -- a majority or a minority of those who are

15    eligible?

16    A.   I think it's still a minority of those eligible.

17    Q.   Have any of Apple's competitors responded to Apple's

18    announcement of a small business program?

19    A.   Yes.

20    Q.   And -- and can you describe that, please.

21    A.   I believe Google announced that they would also have a

22    program for developers that also earned under a million

23    dollars per year in their accounts.

24    Q.   We've heard discussion of search ads.

25    A.   Yes.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   Can you describe what search ads are.

 2    A.   When a user goes to search on the App Store to find an

 3    app, there's now an opportunity for developers to pay to place

 4    an ad that shows up at the top of that search result if it's

 5    appropriate for what the user's searching for, and so there's

 6    one -- one spot for a search ad in search.

 7    Q.   And when you say if it's appropriate what that user is

 8    searching for, what do you mean by that?

 9    A.   That -- we had a number of elements of the program that

10    were important to us to make sure it's a good user experience.

11    And probably one of the most important ones is what drives

12    whether an ad stays in a search result, is it something users

13    want and click on.     So we look at what the user types in is

14    the -- what can be offered up or just things relative to that

15    search.     And -- and it has to perform well or else it

16    shouldn't stay there.

17    Q.   Are developers required to participate in search ads?

18    A.   No.

19    Q.   What was the original -- or what was the thinking or the

20    purpose in developing search ads as a program in the first

21    instance?

22    A.   When the program was first proposed, we had heard from

23    developers that, as they were trying to drive up their app

24    discovery on app stores, they were buying marketing programs,

25    advertisements, on other places, Facebook, Google, and that it
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 1    was, especially for smaller developers, getting quite costly.

 2         And so there was actually a request to Apple:          Please give

 3    us an opportunity to pay for something for marketing right in

 4    the place where people are searching for apps.

 5         So it came from developer input to try to give them more

 6    efficient, more affordable way to try to drive demand of their

 7    apps.

 8    Q.   And how are ads priced?      In other words, how does the

 9    pricing model work?

10    A.   I don't know all the details myself.        I do know there's an

11    auction that's -- that's important to it.         And developers bid

12    on it.    I know that it's not just the top bidder that wins

13    placement but the top two.       That helps reduce costs by making

14    sure it's not somebody just spending the most always.

15         There are other elements to it.       Again, I'm not the expert

16    on it.

17    Q.   And do you have an understanding of why an auction process

18    was important to Apple?

19    A.   To make it competitive pricing for developers to -- to be

20    able to afford it and -- and make it based on what they

21    thought they should pay for and what it was worth to them.

22    Q.   You also mentioned that one ad would come up with each

23    search.    Can you -- can you describe that in a little bit more

24    detail, please?

25    A.   Yeah, there are a couple things about it.
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                           SCHILLER - DIRECT / DOREN

 1         One, we want to make sure -- this is only apps, right?

 2    This isn't, you know, Coca Cola can't do a "drink Coke ad" in

 3    the middle of a search for a game.        These are only from

 4    developers in the App Store.

 5         What you see in the ad is the same result you would see if

 6    you just saw them organically, that developer in the search ad

 7    as well.     So the content is also consistent with what's on the

 8    store.      And there's one ad that looks the same as the search

 9    except it's identified clearly as an ad.

10    Q.   And I believe we heard Mr. Sweeney complain about the

11    notion that sometimes when one searches for Fortnite, there

12    may be an ad that comes up in front of that.          Do you recall

13    that?

14    A.   Yes, I do.

15    Q.   And I believe -- can you describe again how these

16    advertisements are identified when they come up?

17    A.   Yes.    They're -- they're identified by the developer who

18    placed them relative to the search the user did.          And this

19    topic, there's a term in the industry for it called

20    "conquesting," the idea that can you place an ad on a search

21    term as it relates to some other product, competitor's

22    product.

23         And we talked a bit about whether that's something we want

24    to enable or not.      And it was my opinion that this was

25    important for small developers, that if users are simply
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 208 of 295 2819
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 1    always searching for the biggest developers' terms, if only

 2    they can show up in a search ad, then the small developer

 3    will -- will not get exposure and will lose out the

 4    opportunity to try to get discovery on search.

 5         So I do think it's a feature to help small developers

 6    compete.

 7    Q.   Changing topics, does Apple require --

 8               THE COURT:     Can I ask a follow-up on that?

 9               MR. DOREN:     Please, of course, Your Honor.

10               THE COURT:     So what is -- how is -- how do I know

11    that Apple's fairly competing in that same market for search?

12    I mean, does Apple just not compete?

13               THE WITNESS:     That's right.   We do not allow search

14    ads from Apple's products.

15               THE COURT:     Okay.

16         Thank you.   Go ahead.

17               MR. DOREN:     Thank you, Your Honor.

18    Q.   Mr. Schiller, does Apple require that digital content sold

19    on other platforms be sold for the same price as within the

20    App Store?

21    A.   We do not.

22    Q.   Are developers permitted to set their prices as they see

23    fit on -- on any platforms?

24    A.   Yes, they are.

25    Q.   And has Apple ever told Epic that it cannot charge less
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 209 of 295 2820
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 1    for V-Bucks outside of the App Store?

 2    A.   No, we have not.

 3    Q.   And if I could direct your attention, please, to

 4    Exhibit 2790.     That's PX2790.

 5                 MR. DOREN:     And, Your Honor, I believe these are

 6    admitted.     And these are the App Store Review Guidelines.

 7                 THE COURT:     I think so too.    Let me --

 8                              (Exhibit published.)

 9                 THE WITNESS:     I see those.

10    BY MR. DOREN:

11    Q.   Thank you.

12                 THE COURT:     Yes, they're in.

13                 MR. DOREN:     Thank you, Your Honor.

14    Q.   Mr. Schiller, if you could please turn to page 2790.10.

15         (Reviewing document.)

16    Q.   Are you there, sir?

17    A.   Yes, I am.

18    Q.   And if you look to the upper or the -- the top paragraph

19    entitled "3.1.1 In-App Purchase."            Do you see that?

20    A.   I do.

21    Q.   And the last sentence of that paragraph says, "Apps and

22    their metadata may not include buttons, external links, or

23    other calls to action that direct consumers" -- "customers,"

24    rather, "to purchasing mechanisms other than in-app purchase."

25         Do you see that?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 210 of 295 2821
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 1    A.   I do.

 2    Q.   And that was one of contractual provisions that Epic

 3    breached with its hot fix; is that correct?

 4    A.   Yes.

 5    Q.   And if I could direct your attention, please, to 3.13

 6    which is on the next page, page 11.

 7    A.   Yes, I see that.

 8    Q.   And this is entitled "Other Purchase Methods."

 9         And here, the guideline states, "Apps in this section

10    cannot, either within the app or through communications sent

11    to points of contact obtained from account registration within

12    the app (like email or text), encourage users to use a

13    purchasing method other than in-app purchase."

14         And did I read that correctly?

15    A.   You did.

16    Q.   And do you recognize those as provisions in Apple's App

17    Review Guidelines?

18    A.   Yes, I do.

19    Q.   What -- what circumstances are these provisions designed

20    to address?

21    A.   We -- we place these in here because, to use an analogy

22    that we used when we were writing them, in our mind if you

23    were going to a nice retail store, Nordstroms, to buy a pair

24    of jeans, a pair of Levis, you pick them up off the rack in

25    the store, you wouldn't expect to see a tag on it that says,
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 211 of 295 2822
                           SCHILLER - DIRECT / DOREN

 1    "Oh, you can go next door and buy this at Macy's."           We didn't

 2    think that was fair for the opportunity we're creating here

 3    and -- and that they respect that our customers are buying

 4    these on the App Store through the App Store.          And that's --

 5    was our intention and what we tried to do.

 6         There are two of them, as you point out.         The second one

 7    is more specifically about these exceptions where you don't

 8    have to use an app purchase and like the reader rule.           And all

 9    we were trying to do here and have been trying to do is to say

10    if the user is on the App Store and you've decided you can

11    acquire them elsewhere, that's great and you can communicate

12    with those customers.

13         But if you're getting a new -- a new customer here, you're

14    not popping up a text right in the middle of their setting up

15    their account saying, "Oh, go over there to pay for it."

16    Again, in Nordstroms, you wouldn't expect a pop-up saying

17    leave the store to go pay for it.        And that was the intention.

18    Q.   And we've heard testimony here I believe from -- from some

19    of Epic's experts around what email communications can be sent

20    from developers to the players of their games.

21         Do you remember that topic generally?

22    A.   Yes.

23    Q.   And can you please describe -- well, first of all, are

24    email communications from developers to the players of their

25    games permitted?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 212 of 295 2823
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 1    A.   Yes.

 2    Q.   And can you describe under what circumstances or -- or for

 3    what purpose 3.1.3 says that this -- apps in this section

 4    cannot either within the app or through communications sent to

 5    points of contact obtained from account registration within

 6    the app or, paren, like email or text is referring to?

 7    A.   Again, we were just concerned with the situation where a

 8    user -- a new user downloads an app, sets up a new account,

 9    wants to pay for it, and the developer says, set up your

10    account, give me your email.       And right away there's an email

11    in the box saying, "And here's how to go pay for it, not in

12    the App Store."

13         And I -- and I think the -- you know, the key idea here

14    was that they're targeting this individual user who really is

15    being acquired from the App Store.

16    Q.   And other than that targeted kind of immediate post

17    purchase email that you just talked about, does Apple have any

18    problem with developers sending marketing emails or other

19    emails to the players of their apps?

20    A.   No.

21    Q.   Mr. Schiller, have you ever played Fortnite?

22    A.   Absolutely.    Quite a bit.

23    Q.   And have you played it since last August, sir?

24    A.   No, I have not.

25    Q.   Well, when did you first download Fortnite?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 213 of 295 2824
                           SCHILLER - DIRECT / DOREN

 1    A.   It was in March of 2018.

 2    Q.   And was that during the -- the beta test, if you will, of

 3    Fortnite on iOS?

 4    A.   Yeah.    They had a phased rollout to sign users up as they

 5    were ramping up their servers and support.

 6    Q.   And then it was fully up to speed in April, if I recall

 7    the record.     Do you recall that testimony?

 8    A.   That sounds -- sounds familiar.

 9                 MR. DOREN:   And, Your Honor, in the front pocket of

10    the binder, you've been -- been handed is DX5567.

11                 THE COURT:   I see it.

12                 MR. DOREN:   Thank you, Your Honor.

13                              (Exhibit published.)

14    BY MR. DOREN:

15    Q.   And, Mr. Schiller, do you have Exhibit DX5567 with you?

16    A.   I do.

17    Q.   And can you please describe what this is?

18    A.   This is one of the emails that I received from Epic upon

19    signing up for Fortnite on my iPhone.

20    Q.   And March 14, 2018, was that essentially the day you did

21    sign up?

22    A.   It -- it may have taken one or two days from sign-up to

23    getting this invitation to now play.

24    Q.   And the email states, "Thanks for signing up.          Hey, there,

25    thank you for signing up for the Fortnite invite event on
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 214 of 295 2825
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 1    iOS."

 2         And then it states, "Email invites will start rolling out

 3    soon.   The email invite will include a link to download the

 4    game on the App Store.      If you don't receive an invite right

 5    away, don't worry, we'll be getting to you."

 6         And then down at the bottom, it states, "On mobile,

 7    Fortnite is the same 100 player game you know from

 8    PlayStation 4, XBox One, PC, and Mac.        Same game play, same

 9    map, same content, same weekly updates.         Android will be

10    supported in the next few months."

11         And did I read that correctly?

12    A.   Yes, you did.

13    Q.   And does that disclosure, if you will, of other digital

14    game transaction platforms within this communication from Epic

15    to you, Mr. Schiller, did this breach any app review guideline

16    rule?

17    A.   It did not.

18    Q.   And why not, sir?

19    A.   Because we don't have any rule against any marketing they

20    want to do to their users and their user base to encourage

21    them to play on all of their platforms.

22              THE COURT:     Yeah, but what if this said, "If you

23    purchase on our" -- "if you go to Fortnite from your PC, you

24    can buy V-Bucks at a cheaper rate."        Would that violate it?

25              THE WITNESS:     Not if it's sent generally to the user
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 215 of 295 2826
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 1    base.    If it's literally, I, Phil Schiller, just signed up on

 2    the iPhone, and they sent just me an email saying you can go

 3    cheaper over there, that would be against the rule we wrote.

 4         If it was to all of us in this room, like you can all go

 5    get it, then broad communications we've never had any concern

 6    with.    It's just the targeting of the brand-new user that we

 7    helped them get.

 8                THE COURT:     Okay.   Proceed.

 9         And did you want 5627 in evidence?

10                MR. DOREN:     Yes, please, Your Honor.    I'd move it in.

11                THE COURT:     No objection?

12                MS. FORREST:     No objection.

13                THE COURT:     It's admitted.

14             (Defendant's Exhibit 5627 received in evidence)

15    BY MR. DOREN:

16    Q.   And, Mr. Schiller, after this initial communication from

17    Epic, did you receive other emails from Epic?

18    A.   Yes.

19    Q.   For example, how many additional emails did you receive in

20    March 2018?

21    A.   I looked back at it, and I got five in the first two

22    weeks.

23    Q.   And have you continued to receive emails from Epic

24    regarding Fortnite ever since?

25    A.   Yes.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 216 of 295 2827
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 1    Q.   When -- when most recently did you receive such an email?

 2    A.   The last one I received was on April 29th.

 3    Q.   And, Mr. Schiller, if you could please look at

 4    Exhibit DX5555, which is toward the very back of your binder.

 5    A.   (Reviewing document.)

 6                            (Exhibit published.)

 7                THE WITNESS:   Yes, I see that.

 8    BY MR. DOREN:

 9    Q.   And, Mr. Schiller, is this the email that you see --

10    received from Epic games regarding Fortnite on April 29th,

11    2021?

12    A.   Yes.

13    Q.   And the subject line is "Go crazy, Neymar Junior is

14    unleashed"?

15    A.   Yes.

16    Q.   And we heard Mr. Weissinger testify about the new Neymar

17    scans, correct?

18    A.   Yes.

19    Q.   And among various information in this email, at the top of

20    the second page, there's a button there that says "get the

21    battle pass."     Do you see that?

22    A.   Yes, I do.

23    Q.   And where would that button take you?

24    A.   To Epic's website.

25    Q.   And you could purchase the battle pass on their website
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 217 of 295 2828
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 1    through that button?

 2    A.   Any -- yes.     Anything they'd like me to do on the website,

 3    I can do.

 4    Q.   And no matter what price they charge; is that right, sir?

 5    A.   That's right.

 6    Q.   So this email which came to you did invite you to go to

 7    the Epic website to make purchases; is that right?

 8    A.   Yes, it did.

 9    Q.   And is it your understanding from having received these

10    emails over the last two years that these are general

11    marketing emails sent to the entire user base?

12    A.   I don't know what percentages --

13                MS. FORREST:     Objection, Your Honor.

14                THE COURT:     Sustained.

15    BY MR. DOREN:

16    Q.   And, Mr. Schiller, have you received other emails that

17    include similar invitations?

18    A.   Yes.

19    Q.   Mr. Schiller, we've discussed --

20                THE COURT:     I'm sorry, Mr. Doren.   One more

21    question --

22                MR. DOREN:     Of course.

23                THE COURT:     -- on this.

24         I thought I heard testimony that Apple doesn't allow

25    developers to have email addresses.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 218 of 295 2829
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 1                THE WITNESS:     That's not correct.

 2                THE COURT:     So if you're a developer, then how do you

 3    get your customers' email?

 4                THE WITNESS:     You just ask them.    We've -- we've

 5    always said you can get data from your users.          We just think

 6    you should ask them if they want to give it to you.

 7         Now some apps, like Fortnite, require it because it's your

 8    identity for your account, which is fine.          But even if you

 9    don't require it, if you want to ask, that's okay.           You just

10    need permission.

11                THE COURT:     Okay.

12         Proceed.

13    BY MR. DOREN:

14    Q.   And, Mr. Schiller, just to make sure I understood that,

15    when someone opens a -- a Fortnite account, do they provide

16    their email address?

17    A.   They do.

18    Q.   And is that something you did when you opened your

19    account?

20    A.   Yes.

21    Q.   And -- and is that how you came to receive these emails?

22    A.   Yes.

23    Q.   Similarly, if someone purchases a game from a developer

24    in -- within the App Store, can that developer receive the

25    email address of that user?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 219 of 295 2830
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 1    A.   Again, if they ask the user, yes.

 2    Q.   And if the user consents, can that developer then send

 3    email communications directly to that person and other users

 4    of the game?

 5    A.   Yes.

 6                MR. DOREN:     Your Honor, I'd also move DX5555 in,

 7    please.

 8                MS. FORREST:     No objection.

 9                THE COURT:     Admitted.

10              (Defendant's Exhibit 5555 received in evidence)

11    BY MR. DOREN:

12    Q.   Mr. Schiller, earlier today, we -- we touched upon app

13    review.     Do you remember that topic generally?

14    A.   Yes.

15    Q.   Why doesn't Apple permit third parties to conduct their

16    own app review?

17    A.   Well, first, we feel responsibility to our customers to

18    make the store safe and responsibility to make sure the apps

19    that are on the store follow the rules and all the rules apply

20    to all the developers the same way.          And that's how we set it

21    up from the very first day.

22         And I -- I think we have a strong interest at Apple to

23    make sure that our users are protected and safe on the devices

24    that we create for them.

25    Q.   And why does Apple care so much about app review?
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 1    A.   It's a critical part of trying to make the store safe and

 2    fair.     It's the best way we could come up with, in addition to

 3    the other systems and tools, we have to make it safe and fair.

 4    Q.   We've also heard the phrase in this trial, "store within a

 5    store."     Do you know that phrase?

 6    A.   Yes, I do.

 7    Q.   Why doesn't Apple permit stores within stores, within its

 8    store, should I say?

 9    A.   There are -- there are a few reasons.        It -- if -- if apps

10    are being delivered in -- from another developer through a

11    store, number one, those apps don't -- haven't taken out a

12    license with Apple, haven't committed to any of the terms that

13    we've set up to make our systems safe for us and our users.

14         Those apps don't have to follow any guidelines or rules

15    and therefore can create problems for us and the users.

16         And there would be no integration across our systems, our

17    store systems and our -- and our iPhone itself counts on

18    things that -- that happen through the App Store.

19         The store within a store, you wouldn't get parental

20    controls through your iPhone.

21         And there are many other examples.

22    Q.   And is it important to Apple to have a consistent --

23    consistent information about each game presented to its users?

24    A.   Yes.   I -- I think one of the important features of the

25    App Store is the actual product page that we present where you
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 1    can see age rating, screenshots, reviews, privacy information,

 2    compatibility information, on and on.

 3    Q.   And -- and we've heard testimony in this trial about a --

 4    a game store called itch.io that's available on the Epic Games

 5    Store.   Do you recall that generally?

 6    A.   I did hear about that.

 7    Q.   And would having a store in Apple's store such as itch.io,

 8    would you -- would that be acceptable to Apple?

 9    A.   No, for many of the reasons we've -- we've been

10    describing.

11    Q.   Sir, we've also heard discussion about something called

12    the Executive Review Board.       Are you familiar with that?

13    A.   Yes, I am.

14    Q.   And that's referred to internally as the ERB?

15    A.   Yes, it is.

16    Q.   What is the ERB?

17    A.   We started the ERB when the App Store started.          The -- our

18    thinking was to have a cross-functional team of executives at

19    Apple meet weekly and discuss all of the new policies, new

20    challenges we hit trying to run the App Store that the current

21    guidelines or terms may not properly address so that we can

22    deal with them quickly and provide developers a -- a

23    consistent equally fair set of rules across all developers.

24         So we've been meeting weekly since the App Store started.

25    Q.   And you answered my next question.        When was the ERB
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 1    formed?

 2    A.   Yeah, at the start of the App Store.

 3    Q.   And have you been a member of that board ever since?

 4    A.   Yes.

 5    Q.   And are you either the or one of the senior members of

 6    that -- of the ERB?

 7    A.   Yes.

 8    Q.   And you mentioned when issues arise or challenges arise,

 9    they come to the attention of the ERB.         How does that happen?

10    A.   The app review team collates all the -- both statistical

11    data as well as qualitative data of things that have occurred

12    during the week, and present them with the relevant issue and

13    guidelines they apply to, and we discuss each and every one

14    throughout that -- that board meeting.

15    Q.   And are the app review guidelines ever modified?

16    A.   Yes.

17    Q.   Under what circumstances?

18    A.   They are modified at least yearly, sometimes more than

19    once in a year when we run into situations that are new or

20    feedback from developers about something that isn't working,

21    or various situations.

22    Q.   And would the addition, for example, of -- of

23    cross-platform play be an example of that in recent years?

24    A.   Absolutely.

25    Q.   And by the way, when were the app review guidelines first
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 1    published to developers?

 2    A.   The first time we published them externally was in 2010.

 3    Q.   And at the time, were you aware of any other game

 4    distribution platforms publishing their guidelines to

 5    developers?

 6    A.   No.    If it existed on any store, we couldn't find it.         We

 7    looked to see for comparison any other guidelines stores had

 8    published and -- and were not aware of any.

 9    Q.   And have you addressed within the ERB or otherwise an app

10    called Roblox?

11    A.   Yes, that has come up.

12    Q.   What is Roblox?

13                THE COURT:     And before you move on, are they

14    publishing them now, their guidelines, other stores?

15                THE WITNESS:     I believe some have, but I don't know

16    if it's pervasive.

17                THE COURT:     Okay.   Thank you.

18                MR. DOREN:     Thank you, Your Honor.

19    Q.   And, sir, have you addressed a -- an app called Roblox?

20    A.   Yes.

21    Q.   And what is Roblox?

22    A.   In my opinion, it's a game.

23    Q.   And why do you say that?

24    A.   Well, it's a -- it's a new type of app.         I think generally

25    in our industry we're all starting to see these kinds of
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 1    things.      And it is made up of multiple games.      It's not one

 2    game.      And the idea of who creates them and what they're for

 3    is a new phenomenon in our industry, at least as far as I'm --

 4    I'm aware.      There may be a few other examples, but it's pretty

 5    new stuff.

 6    Q.   And do each of the new games that are included in Roblox,

 7    are they required to go through app review?

 8    A.   No.

 9    Q.   Why not?

10    A.   Well, it gets to a concept that's again pretty new of

11    creator versus developer.      And I apologize if this is a little

12    complicated, but the developer of the Roblox app is the Roblox

13    Corporation.      They create the Roblox app.     And they must

14    submit it for review and follow the guidelines, and the

15    content within it must follow the guidelines.

16         With Roblox itself allows a class of users, often called

17    creators, to create games within the Roblox app.          And those

18    are added to Roblox and they're released as content within the

19    app while it's live.

20    Q.   We saw during our -- our tour of Fortnite different games

21    in the creative mode.      Did you see that?

22    A.   I did.

23    Q.   And I believe that Mr. Weissinger said that there were

24    some hundreds of thousands of these player-created islands.

25    Do you recall that generally?
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                           SCHILLER - DIRECT / DOREN

 1    A.   Yes.

 2    Q.   Does Apple require that those creative mode islands be put

 3    under app review?

 4    A.   No.     As long as, again, the -- the app itself, Fortnite,

 5    is reviewed and follows the rules, it can allow users within

 6    it to create and change what they offer as long as it

 7    continues to follow the overall sets of rules.          And -- and the

 8    developer in this case, Epic, would be responsible to make

 9    sure that all their users are following the rules.

10    Q.   And is this topic of this creator versus developer issue

11    that you've described, is that something that's kind of under

12    ongoing discussion in the ERB?

13    A.   It is.

14    Q.   Toward what end, sir?

15    A.   Well, trying to understand how this -- this world of

16    gaming is evolving and how new modes are being created that

17    are different than -- than what have come before, and trying

18    to encourage and make sure we can do it in a way that's good

19    for developers, safe for users, fair to everybody, trying to

20    find the same -- the same philosophy we've tried to apply to

21    the store from the beginning.

22    Q.   And, Mr. Schiller, I'd like to move to -- to another

23    topic.      Are you familiar with a term within Apple called FEAR,

24    F-E-A-R?

25    A.   Yes.
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 1    Q.   And is that an acronym?

 2    A.   It is an acronym.

 3    Q.   And what does FEAR stand for, or what does the acronym

 4    refer to?

 5    A.   It refers to a team that does fraud, engineering,

 6    algorithms, and risk.

 7    Q.   And what are the responsibilities of the FEAR team?

 8    A.   Well, they work on our services to do a number of things.

 9    They work on the -- the antifraud measures, for example, for

10    fraud, trying to find and protect users from fraudulent

11    accounts and developers from fraudulent user accounts.

12         They work on issues of piracy, trying to stop pirate apps

13    from being distributed, stealing from our developers.

14         They work to stop methods of spamming, spamming apps,

15    spamming reviews.

16         They work on the risk management of new features we're

17    working on, trying to look at the features and predict the --

18    the fraud that could happen with those features before we

19    implement them.

20         They work on a number of programs.

21    Q.   And how do the responsibilities of the FEAR team compare,

22    contrast to the responsibilities of the app review team?

23    A.   They're quite different.

24         As we've talked about app review, their job is every week

25    to individually review each app and communicate with every
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 1    developer that goes through that program with the goal of

 2    trying to help developers get on the store.          That's the

 3    ultimate goal of the app review team.

 4         The FEAR team works across the population of accounts and

 5    transactions for the commerce engine and tries to identify and

 6    predict trends of fraud and stop them and get in front of them

 7    even sometimes before they occur, before any user has to deal

 8    with that fraud.

 9    Q.   And is it fair to say then that the -- the app review team

10    tries to keep bad apps from getting on the App Store?

11    A.   Yes, they do.

12    Q.   And then the -- the FEAR team tries to address what's

13    gotten through?

14    A.   A big part of the work does that.       But they do more as

15    well.

16    Q.   Thank you.

17         Part of the acronym is -- is engineering.         What does that

18    refer to within the -- the FEAR context?

19    A.   Well, they work with machine learning tools to engineer

20    methods of identifying fraudulent activities and -- and

21    predict where we're seeing rises.

22         A simple example.     We -- we will see a rise of tens of

23    thousands of fraudulent accounts being created under

24    fraudulent developer accounts all of a sudden coming out of a

25    particular population or region of the world, and they see
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 1    those trends and try to get in front of where these activities

 2    are happening using machine learning, engineering.

 3    Q.   And who heads up the FEAR team?

 4    A.   That's Eric Friedman.

 5    Q.   And we saw a number of Mr. Friedman's emails in the

 6    opening statement.     Do you recall that?

 7    A.   Yes, we did.

 8    Q.   If you could take a look, please, at Exhibit PX0250.

 9    A.   (Reviewing document.)

10                            (Exhibit published.)

11               THE WITNESS:     I see that.

12    BY MR. DOREN:

13    Q.   And have you seen this email before, sir, other than in

14    the opening?

15    A.   I've just seen it through this -- this case, yes.

16    Q.   And directing your attention to the portion that was

17    quoted in the opening where Mr. Friedman says, "Pedraum, can

18    we talk about this?       App review is bringing a plastic butter

19    knife to a gun fight.       Investment will have to be made in

20    making that process more robust or they will keep getting

21    rolled."

22         First of all, what's the date of this email?

23    A.   October 15th, 2013.

24    Q.   And how long had the App Store been open by that time?

25    A.   Five years.
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 1    Q.   Okay.    And how long has it been open since?

 2    A.   It's been another eight years.

 3    Q.   And what is the context of this discussion?           In other

 4    words, what topic was raised in this email that prompted that

 5    response from Mr. Friedman?

 6                 MS. FORREST:     Objection, Your Honor, foundation.

 7                 THE COURT:     So this was in evidence -- well,

 8    sustained.

 9                 MR. DOREN:     Thank you, Your Honor.

10    Q.   Mr. Schiller, let's look at the -- the first email in the

11    chain, if we can, please.

12    A.   I see that.

13    Q.   And you see the note to Mr. Friedman which says, "Recent

14    spike detections show that there are about seven fraud China

15    free apps showing on October 14, although it was pretty clean

16    on October 10"?

17    A.   Yes.

18                 MS. FORREST:     Objection, Your Honor.    I believe the

19    objection was sustained.

20                 THE COURT:     I thought he was laying foundation.       This

21    is a business record, as I understood it.            Is it not?

22                 MS. FORREST:     I'm sorry, Your Honor.    I thought you

23    had sustained the objection when I had raised it.           And --

24                 THE COURT:     So -- so the objection -- I did sustain

25    the foundation objection for that question.            So I thought he
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 230 of 295 2841
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 1    was laying foundation at this point.

 2                MS. FORREST:     Okay.   It was not clear to me he was

 3    laying foundation, Your Honor.          If that's what he's going to

 4    do, then --

 5                THE COURT:     And -- and, again, I -- because this is

 6    an internal Apple document, I understand this to be a business

 7    record.

 8                MS. FORREST:     Your Honor, it's -- I don't have any

 9    doubt that it's a business record.         It's really more whether

10    this witness can speak to this particular document since he's

11    not on it.

12                THE COURT:     All right.

13         So lay some foundation.

14    BY MR. DOREN:

15    Q.   Mr. Schiller, first of all, over the course of your career

16    in having ultimate responsibility or having some of the

17    ultimate responsibility for the App Store, do you often review

18    correspondence around issues that arise with different apps?

19    A.   Yes.

20    Q.   And do you review emails around different issues that come

21    up with app review?

22    A.   Yes.

23    Q.   And -- and in this instance, sir, in the email to Eric

24    Friedman at the beginning of this email chain, do you see a

25    report that recent spike detections show that there are about
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 231 of 295 2842
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 1    seven fraud China free apps showing on October 14?

 2    A.   Yes.

 3    Q.   And in this email, sir, in the next email up, it says,

 4    "FYI, Kristen put this together as a list of examples of how

 5    developers in China are requesting five star ratings."

 6         Do you see that?

 7    A.   Yes.

 8    Q.   Are you familiar with the issue of developers requesting

 9    five star ratings?

10    A.   Yes.

11    Q.   Can you describe that issue, please?

12    A.   Some developers will encourage their users through the

13    interface or sometimes even for trade for features to rate

14    their app with five stars, the highest rating, in order

15    improve their ratings on the App Store.         And -- and so it can

16    be fraudulent to the extent that a developer is pushing users

17    to please rate your app.

18    Q.   Yeah, I was going to ask, does Apple permit that?

19    A.   It's -- we certainly have rules against incentivizing

20    or -- or pushing users to artificially rate your app.

21    Q.   And then on the first page of the document in the note

22    from Mr. Friedman at the bottom, he's asking Phillip

23    Shoemaker -- who was Phillip Shoemaker in October 2013?

24    A.   Mr. Shoemaker was head of app review.

25    Q.   And who did Mr. Shoemaker report to at that time?
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 1    A.   Me.

 2    Q.   And in the note to Phillip Shoemaker, Mr. Friedman says,

 3    "Can you determine whether this behavior was evident during

 4    the app review for the apps in the example apps?"

 5         Correct?

 6    A.   That's right.

 7    Q.   And Mr. Shoemaker says if the apps request five star and

 8    it is witnessed during review, we reject the app.           Is that

 9    correct?

10    A.   Yes, it is.

11    Q.   And -- and is that, in fact, what would happen in app

12    review in 2013?

13    A.   Yes.

14    Q.   Is that what would happen today in app review?

15    A.   Yes.

16    Q.   And then above that, Mr. Freeman sends a note to a

17    colleague in -- in the FEAR area, correct?

18    A.   Yes.

19    Q.   And it's in that context that he says, "App review is

20    bringing a plastic butter knife to a gun fight"; is that

21    correct?

22    A.   Yes.

23    Q.   So is -- is it correct, sir, that the -- the one issue

24    identified in this email are seven free apps in China that

25    were fraudulent on October 14?
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 1    A.   Yes.

 2    Q.   Thank you, sir.

 3         And sir, just quickly back to Roblox.        Is all creator

 4    content in Roblox using tools and content that were approved

 5    through app review?

 6    A.   Yes.

 7    Q.   And so that's the kind of the Roblox architecture itself;

 8    is that correct?

 9    A.   It is.

10    Q.   Thank you, sir.

11         Compared to your expectations in 2008, how do you think

12    the App Store has done?

13    A.   Very well.

14    Q.   And has it exceeded your expectations?

15    A.   Yes, it has.

16    Q.   And if you could take a look, please, at Exhibit 4608.

17    A.   (Reviewing document.)

18                            (Exhibit published.)

19                THE WITNESS:   Okay.

20    BY MR. DOREN:

21    Q.   And in Exhibit 4608, can you tell us what this document

22    is, please?

23    A.   This, again, is a transcript now from an Apple keynote

24    even in September of 2009.

25    Q.   All right.     And you're identified as one of the
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 234 of 295 2845
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 1    presenters, correct?

 2    A.   I am.

 3    Q.   And you're third from the top in the -- in the key up at

 4    the top?

 5    A.   Yes.

 6    Q.   And on that first page in the comments attributed to

 7    Mr. Jobs, do you have that in front of you?

 8    A.   I do.

 9    Q.   And in the fifth paragraph, the third from the bottom,

10    Mr. Jobs says, "It's thrilling to report to you today that in

11    a letter over two years, we have sold 30 million iPhones."

12         Do you see that?

13    A.   I do.

14    Q.   Followed by cheers and applause, correct?

15    A.   Yes.

16    Q.   30 million.    And during the last year, one of the reasons

17    for that has been the remarkable App Store.          The App Store is

18    just a little over a year old, and we now have over 75,000

19    apps.

20         Was that an accurate figure as of September 2009?

21    A.   Yes, it was.

22    Q.   And users have downloaded over 1.8 billion apps.

23         Is that number also accurate as of September 2009?

24    A.   Yes, it was.

25                 MR. DOREN:   Your Honor, I'd move to enter DX4608 in
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 235 of 295 2846
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 1    evidence.

 2                MS. FORREST:     No objection.

 3                THE COURT:     Admitted.

 4             (Defendant's Exhibit 4608 received in evidence)

 5    BY MR. DOREN:

 6    Q.   Sir, how many App Store customers are there worldwide

 7    today?

 8    A.   Over a billion.

 9    Q.   And how many weekly visitors are there to the App Store?

10    A.   Over 500 million.

11    Q.   And how many apps are in the App Store today?

12    A.   Approximately 2 million.

13    Q.   And how many of those are games?

14    A.   The last number I saw was approximately 280,000.

15    Q.   About 75 percent of which, give or take, are free,

16    correct?

17    A.   Correct, as we said earlier.

18    Q.   And 17 percent of which use the freemium model, correct?

19    A.   That's right.

20    Q.   And are you familiar with an initiative called the App

21    Store Cleanup?

22    A.   Yes.

23    Q.   What is that?

24    A.   Well, it's an idea I came up with a number of years ago

25    that after so many years, there were a growing number of apps
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 1    that had not been updated.       They were getting old.      They

 2    didn't use the latest tools or operating systems or run on the

 3    latest products.

 4         And I asked our App Store team to come up with a

 5    methodology to start finding those things and clean them up

 6    out of the store.

 7    Q.   And do you recall when that was?

 8    A.   I'm thinking 2017, but I'm not a hundred percent positive.

 9    Q.   And what were the criteria that were applied to that

10    cleanup process?

11    A.   Well, the ones we started with were, as I said,

12    developer -- apps that hadn't been updated for years that

13    didn't run properly on the latest hardware.

14         We also looked at if they had extremely low download

15    numbers, like less than five.       And -- and there were other

16    criteria the team also came up with that were recommended, but

17    those were the key ones to me.

18    Q.   And has -- was the App Store cleanup a one-time

19    initiative?

20    A.   No.   Once we did it the first time, the team worked to

21    create it as a repeatable process.

22    Q.   And approximately how many apps have been removed through

23    this initiative?

24    A.   I believe cumulatively it's been over 2 million.

25    Q.   And are you familiar -- switching topics, sir.          Are you
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 237 of 295 2848
                           SCHILLER - DIRECT / DOREN

 1    familiar with the term --

 2                 THE COURT:     What's the time period again?

 3                 THE WITNESS:     It's been a few years.   I don't

 4    remember which year we started.          As I said, I was thinking it

 5    was 2017, but I'd want to double-check that to be certain.

 6                 THE COURT:     Thank you.

 7          Sorry.   Keep going.

 8                 MR. DOREN:     Thank you, Your Honor.

 9    Q.    And are you familiar with the term "switching costs"?

10    A.    Yes.

11    Q.    And what are switching costs?

12    A.    It's -- refers to the cost a user may need to incur if

13    they were to switch products from one company to another and

14    to try to get back to similar state of where they were.

15    Q.    And we've heard testimony in this case about the switching

16    costs and moving away from iOS devices to devices with Android

17    operating systems.        Do you recall that topic generally?

18    A.    Yes.

19    Q.    And since 2010, what's happened to switching costs?

20                 MS. FORREST:     Objection, Your Honor.

21                 THE COURT:     I'm not exactly sure what the objection

22    is.

23                 MS. FORREST:     Foundation.

24                 THE COURT:     I think it's -- well, it's also

25    overbroad.
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                           SCHILLER - DIRECT / DOREN

 1                MR. DOREN:   I'll -- I'll try it again, Your Honor.

 2    I'll admit it was a lazy question.

 3    Q.   Mr. Schiller, in your job and in your experience at Apple,

 4    have you had occasion to evaluate what is involved in

 5    switching from one device to another?

 6    A.   Yes, I have.

 7    Q.   And since 2010, has it become easier to switch devices?

 8    A.   In my opinion, in many ways it's gotten easier.

 9    Q.   And can you describe the basis for your opinion, sir?

10    A.   Yes.   Since 2010, there are a number of elements of using

11    a product like iPhone that we do in the cloud nowadays.            Our

12    contacts, our photos.      And that can help in switching your

13    devices.

14         There are more apps that are available on both iPhone and

15    other platforms.     That can help with switching.

16         As we've discussed, there's a higher percentage, and in

17    total, more apps that are free, which helps because there's no

18    switching costs for a free app.

19         And notably that there are many services that are now

20    moved over to streaming services, like music, like video, that

21    are -- again, make switching easier and more affordable.

22    Q.   And have OEM's, original equipment manufacturers,

23    developed any tools to assist those who wish to switch from

24    IOS to an Android operating system device?

25    A.   Yes, they have.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   And just -- just generally speaking, how do -- first of

 2    all, are you familiar in general with how those devices work?

 3    A.   Yes.

 4    Q.   And can you describe that, please.

 5    A.   The -- the company that makes the device, Apple, Samsung,

 6    Google, and others, many of us create tools to help users

 7    switch to our devices.      So Apple will create tools to help

 8    users switch from Android and ease that process to iOS.            And

 9    companies like Google and Samsung and others have made tools

10    to help users switch from iPhone to their devices.

11    Q.   And has Apple attempted to create devices to help those

12    from Android switch to iOS?

13    A.   Yes.

14    Q.   And has Apple invested in making sure that the OEM devices

15    that help to transfer data from iOS to Android work better

16    than they otherwise would?

17    A.   Well, again, primarily it's the -- it's the other maker

18    that wants to help the users to switch over to their device.

19    But I do think again the -- the change in how we all interact

20    with our devices and stores data in the cloud in general

21    across all of the providers has made it easier.

22    Q.   Sir, if you could please look in your binder at

23    Exhibit 79.

24    A.   (Reviewing document.)

25         I see that.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   And, sir, have you seen this document before?

 2                           (Document published.)

 3              THE WITNESS:     Yes.

 4    BY MR. DOREN:

 5    Q.   And you were shown it in your deposition, correct?

 6    A.   I was.

 7    Q.   And did you originally see it back in 2013?

 8    A.   I believe so, yes.

 9    Q.   And what is Exhibit 79?

10    A.   It's a report from an analyst at Goldman Sachs about

11    switching from iPhone to Android.

12              MR. DOREN:     And, Your Honor, I believe that Exhibit

13    PX0079 is in evidence.

14              THE COURT:     It is.

15              MR. DOREN:     Thank you, Your Honor.

16    Q.   And what does this analyst report on?

17    A.   This analyst is reporting on their personal experience

18    switching from iPhone to Android.

19    Q.   And if you could take a look --

20              MS. FORREST:     Objection, Your Honor.      If you could

21    lay the foundation for this document, this witness's knowledge

22    of the document.

23              THE COURT:     Sustained.

24    BY MR. DOREN:

25    Q.   Mr. Schiller, could you please look at Exhibit PX0080.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 241 of 295 2852
                           SCHILLER - DIRECT / DOREN

 1    A.     (Reviewing document.)

 2                             (Exhibit published.)

 3                THE WITNESS:     Yes.

 4    BY MR. DOREN:

 5    Q.     And do you see this as an email from you to a number of

 6    your colleagues within Apple on June 20th, 2013?

 7    A.     It is.

 8    Q.     And the subject is "Goldman Sachs Switching Report."         Do

 9    you see that?

10    A.     Yes, I do.

11    Q.     And you state below that, "Here is an interesting report

12    on the cost and methodology to switch from iPhone to Android

13    (iTunes and iCloud figure pretty big in the ability and the

14    effort involved to switch)."

15    A.     I see that.

16    Q.     And was Exhibit 79 the attachment that you included with

17    that email back in 2013?

18    A.     It is.

19                MS. FORREST:     Your Honor, my objection continues.

20    602.    I can take it up on cross.

21                THE COURT:     Well, he can testify as to what he

22    thought with respect to this.       I don't know exactly what

23    questions are coming.        So we'll see what the questions are.

24                MR. DOREN:     Thank you, Your Honor.

25    Q.     Mr. Schiller, looking back at page 3 or 0079.3.
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                           SCHILLER - DIRECT / DOREN

 1                                (Exhibit published.)

 2                   THE WITNESS:     (Reviewing document.)

 3    BY MR. DOREN:

 4    Q.     Do you have that page in front of you?

 5    A.     I do.

 6    Q.     And do you see the entry of the first bullet point which

 7    says explicit switching costs were $79.85?

 8    A.     I see that.

 9    Q.     And the author says, "Excluding the costs to replace our

10    library of movies and TV shows" --

11                   MS. FORREST:     Your Honor, excuse me.   Could we have a

12    sidebar?       I have not asked for one before in this trial.         But

13    there is an issue that I think is legitimately raised right

14    now.

15                   THE COURT:     Okay.   So this entire document is in

16    evidence.

17                   MS. FORREST:     Your Honor, this witness disclaimed any

18    knowledge of this document or the email that -- during his

19    deposition.        And to have him testify about this document now

20    is highly inappropriate.          And there's no -- there's no

21    foundation for it, and counsel knows that.

22                   MR. DOREN:     Well, Your Honor, I'm not asking for his

23    recollection from 2013.          I'm going to be asking him specific

24    questions about whether the issues identified in this document

25    continue to exist today.          It doesn't require his historic
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 243 of 295 2854
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 1    knowledge of this document, but simply comparing this

 2    document -- simply -- I'm using it basically as a roadmap to

 3    discuss switching issues.         That's all.

 4                 THE COURT:   Okay.    Request denied.

 5         Let's hear the question.

 6    BY MR. DOREN:

 7    Q.   Mr. Schiller, in -- in the first bullet point on

 8    page 0079.3, the statement is made, "Excluding the cost to

 9    replace our library of movies and TV shows."

10         Do you see that statement?

11    A.   I do.

12    Q.   Now, back in 2013, what was the common practice or the

13    common way for someone that owned an iPhone to capture movies

14    and TV shows?

15    A.   You would purchase them and download them to your device.

16    Q.   So they would on -- on the hard drive, if you will, of

17    your phone?

18    A.   On your memory storage, yes.

19    Q.   Thank you.    Thank you.

20         And what is the common practice today for the capture of

21    movies and TV shows on iOS devices?

22    A.   The most common method today is to pay for a streaming

23    service like Netflix or Hulu.

24    Q.   The next phrase in this description says, "Excluding" --

25    "after excluding the costs regarding movies and TV shows, as
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 244 of 295 2855
                           SCHILLER - DIRECT / DOREN

 1    well as the songs that failed to shed DRM through iTunes

 2    match."

 3         Do you know what DRM is, sir?

 4    A.   Digital rights management.

 5    Q.   And back in 2013, what would the issue have been in terms

 6    of moving music that was subject to DRM?

 7    A.   Well, originally, with iTunes, all the music had a DRM on

 8    it, a protective wrapper that locked it to you for your

 9    purchase, and -- and that's how music was distributed.

10         Later on, we removed DRM and you could freely download and

11    then move music around between your devices and that went

12    away.

13         So older music still in your library back here in 2013

14    might have still had a DRM on it in that date.          I think that

15    older music was before 2009 or 2010.

16    Q.   And if today, you were to download an old song, Otis

17    Redding song, would that have DRM attached to it?

18    A.   No.

19    Q.   There's also a reference here to iTunes.

20               THE COURT:     So the older product had DRM and it still

21    has DRM?

22               THE WITNESS:     I'm sorry.   No.   The -- originally, the

23    music you would have bought in 2009 had DRM.          Later on, if you

24    bought that same music later on, it no longer had DRM.           So --

25    so for these users, this user in this report, it could have
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 245 of 295 2856
                           SCHILLER - DIRECT / DOREN

 1    been music in their library that they had previously

 2    downloaded.

 3                  THE COURT:   All right.   Go ahead.

 4    BY MR. DOREN:

 5    Q.     So just to be sure I understand, if someone still had a

 6    song in their iTunes account that they had purchased in 2007,

 7    if they had still had that song, then that song in their

 8    iTunes account may still have DRM; is that right?

 9    A.     Yes.   And not to make it more complicated, there was a

10    second way you would have music in your library back then.

11    You could put a CD in your computer and then rip it and then

12    iTunes would match it from what's in its library and say, oh,

13    you already bought it so you get to download and have that

14    too.    And that was iTunes Match.

15           Again, this is old technology that nobody uses anymore,

16    but in this time in 2013, this author is referring to iTunes

17    Match and they would have had that.

18    Q.     So if we're talking about again that Otis Redding song

19    that was purchased in 2007 with DRM, if someone else or even

20    that same person were to get that same song in 2010, would it

21    have had DRM?

22    A.     No.

23    Q.     So to the extent there's even a theoretical restriction

24    here, would it only be on music that was first downloaded

25    prior to 2009?
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                           SCHILLER - DIRECT / DOREN

 1    A.   In theory.    I remember, for example, in the -- around this

 2    time, having a library of music myself on iTunes that had some

 3    with DRM, some without, deleting it all, redownloading it and

 4    now it was all clear of DRM.       It was a cumbersome time, but

 5    that's what you did.

 6    Q.   And there's a reference here to iTunes Match.          Do you see

 7    that?

 8    A.   Yes.

 9    Q.   First of all, back in 2013, was iTunes only on iOS

10    devices?

11    A.   IOS and -- and Mac as well.

12    Q.   Is that still the case?

13    A.   No.

14    Q.   Is iTunes now available on Android devices?

15    A.   Yes.

16    Q.   And so even if you had that 2007 song in your library and

17    it had DRM, you could still access it on an Android device; is

18    that right?

19    A.   I believe so.    But now we're dating my memory on some of

20    this.

21    Q.   Sure.    Thank you, sir.

22         And by the way, when did iTunes become available on

23    Android devices?

24    A.   I'll sorry, I don't recall the year.

25    Q.   Thank you.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 247 of 295 2858
                           SCHILLER - DIRECT / DOREN

 1         And then the author goes on to refer to a $25 or 24.99

 2    expense for a subscription to iTunes Match.          Do you see that?

 3    A.   Yes.

 4    Q.   If you change from an iOS device to an Android device

 5    today, do you need a -- a tool or a subscription to something

 6    called iTunes Match?

 7    A.   No, you do not.

 8    Q.   And is that because iTunes is now available on Android?

 9    A.   Both that and many users have switched over to the Apple

10    music streaming model where none of this applies anymore.

11    Q.   And then the author goes on to say, "4.99 for the paid

12    version of a music management app."

13         Do you see that?

14    A.   Yes.

15    Q.   And again, would that be necessary today?

16    A.   No.

17    Q.   And then finally $49.87 for paid replica apps.          Do you see

18    that?

19    A.   I do.

20    Q.   And in 2013, was the paid download still the prevalent

21    model?

22    A.   Certainly much more so than today.

23    Q.   And today, is the prevalence of apps, the same apps, if

24    you will, between iOS and Android higher than it was in 2013?

25    A.   Yes, it has increased.
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 1    Q.   And then down at the -- at the last bullet point on the

 2    page, the author writes, "The 79.85 figure represents what we

 3    would define as explicit switching costs while the raw time

 4    and pain in the neck factor of the switch would represent

 5    incremental implicit switching costs."

 6         Do you see that?

 7    A.   I do.

 8    Q.   And is the pain in the neck factor less than it was in

 9    2013, sir?

10                 MS. FORREST:     Objection, Your Honor.

11                 THE COURT:     Sustained.

12    BY MR. DOREN:

13    Q.   And, sir, is it easier now in terms of the physical steps

14    to transfer data, are those steps easier now than they were in

15    2013?

16    A.   Certainly now, as we've discussed, many OEM's have made

17    tools to make it easier than it was ever in the past.           And

18    certainly now we have -- I call it storage options for many --

19    for many vendors to make that as well much easier than it was

20    in the past.

21    Q.   Thank you, sir.

22         And then back on page 1 of Exhibit 79.

23                              (Exhibit published.)

24    BY MR. DOREN:

25    Q.   Under implications, do you see that?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 249 of 295 2860
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 1    A.   I do.

 2    Q.   The author writes, "Overall, we believe Apple's installed

 3    base loyalty clearly differentiates it from traditional IT

 4    hardware companies, though the company's ability to attract

 5    new consumers with new products remains the core of the

 6    long-term story."

 7         Now do you agree with that statement?

 8                 MS. FORREST:     Objection, Your Honor.   Foundation.

 9    Not being used as a roadmap.

10                 THE COURT:     Well, he can say whether he agrees or

11    doesn't agree.     It -- well, change your form.

12                 MR. DOREN:     Sure, Your Honor.

13    Q.   Mr. Schiller, do you agree that Apple's ability to attract

14    new customers with new products remains the core of the

15    long-term story?

16    A.   Yes, I do.

17    Q.   And do you believe, sir, that Apple's installed base

18    loyalty differentiates it from the competition?

19    A.   I think so, yes.

20    Q.   And do you believe, sir, that Apple's commitment to

21    privacy and security is part of that?

22    A.   Absolutely.

23    Q.   Sir, I'd like to show you what has been marked as

24    Exhibit PX892.     It's in your binder.

25    A.   (Reviewing document.)
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 250 of 295 2861
                           SCHILLER - DIRECT / DOREN

 1                             (Exhibit published.)

 2                THE WITNESS:     I see that.

 3    BY MR. DOREN:

 4    Q.   And can you identify for us what Exhibit PX0892 is?

 5    A.   It's an email from Steve Jobs to the ET at Apple.

 6                MR. DOREN:     And, Your Honor, this document is in

 7    evidence, as I have it.

 8         Your Honor, this is another document that was admitted on

 9    May 12th by court order.

10                THE COURT:     It is admitted.

11                MR. DOREN:     Thank you, Your Honor.

12                THE COURT:     It's just the way this document is

13    formatted, it's hard to find.

14                MR. DOREN:     Absolutely right.   Thank you, Your Honor.

15    Q.   Mr. Schiller, this is an email from Steve Jobs to the --

16    to the ET; is that correct?

17    A.   Yes.

18    Q.   And can you remind us what the ET is?

19    A.   The executive team.

20    Q.   So is this an email you would have received back in 2010?

21    A.   Yes.

22    Q.   And the subject is "Top 100-A."

23         What is that a reference to?

24    A.   This is a draft agenda that Steve is putting together and

25    sharing with us for input.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 251 of 295 2862
                           SCHILLER - DIRECT / DOREN

 1    Q.   And item 1 is 2011 strategy.       In October 24, 2010, what

 2    was that a reference to?

 3    A.   The top 100 meeting traditionally covers each year the

 4    next year coming up, the things we're doing and working on.

 5    Q.   And if you go down four hash marks, if you will, to 2011,

 6    colon.      Do you see that?

 7    A.   Yes.

 8    Q.   And it states, "2011:     A holy war with Google."

 9         Is that right?

10    A.   Yes.

11    Q.   And part of the agenda was to discuss all the ways we will

12    compete with them?

13    A.   Yes.

14    Q.   And if you go down one more, it says, "2011, year of the

15    cloud."

16         Do you see that?

17    A.   Yes.

18    Q.   And what is that a reference to?

19    A.   It's a reference to the new ways that companies like

20    Google and others are starting to use cloud services to

21    support their customers.

22    Q.   And Mr. Jobs writes, "We invented digital hub concept."

23         What is that?

24    A.   That was a -- a concept we rolled out in either 1997 or

25    '98 where your personal computer, your Mac, your iMac, was the
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 252 of 295 2863
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 1    center of your digital life.       You would plug in your cell

 2    phone back then, your digital camera, your digital video

 3    camcorder, and now have all of that previously physical media

 4    on your computer to manipulate and use and share.           It was a

 5    very creative concept about how our lives are moving digital.

 6    Q.   And that was back in the late '90's, you say?

 7    A.   Yes.

 8    Q.   And then down further in that same set, Mr. Jobs writes,

 9    "Apple is in danger of hanging on to old paradigm too long

10    (innovator's dilemma)."

11         Do you see that?

12    A.   Yes.

13    Q.   And what did you understand that to be a reference to?

14    A.   We started to make it such that you would synch

15    information between your devices.        So let's say you had your

16    calendar on your Mac, and you wanted to put it on your iPhone

17    or your iPad, you would use syncing technology to do that.

18         The problem is if you had more than two devices, the

19    accuracy of the sync with multiple devices can get very

20    confused very quickly and you don't know what's the truth

21    anymore, what's the right versions.

22         And so he saw that we were in danger of hanging on to this

23    old digital hub model where everything went back into your

24    computer wouldn't be the way in the future if you wanted to

25    manage that information.
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                           SCHILLER - DIRECT / DOREN

 1    Q.   And Mr. Jobs then says, "Google and Microsoft are further

 2    along on the technology but haven't quite figured it out yet."

 3         What's that's a reference to?

 4    A.   Again, to solving this problem of how do you synchronize

 5    your data across more than one device to make sure you always

 6    have the truthful, correct versions.

 7    Q.   And he then finishes this section with, "Tie all of our

 8    products together so we further lock customers into our

 9    ecosystem."

10         And what's that -- what does that mean to you?

11    A.   So at this point, again, we're talking about your

12    contacts, your calendar, and your email being able to be

13    properly represented on all your devices, and that if we could

14    create a way to do that for users in the next year, that we

15    would have a better platform that they want to stay with.

16    Q.   And when the term "lock" -- or "further lock customers

17    into our ecosystem," what did you understand this to mean?

18    A.   Simply that if customers like these -- the way these

19    products work, they're going to want to stay with us.

20    Q.   And going down further under number 3 for iPhone, do you

21    see that?

22    A.   Yes.

23    Q.   And there's the first entry, 2011 Strategy, and it says,

24    "Plus iPhone 4 with better antenna, processor, camera, and

25    software to stay ahead of competitors until mid 2012."
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 254 of 295 2865
                           SCHILLER - DIRECT / DOREN

 1         Correct?

 2    A.   Yes.

 3    Q.   And what's that a reference to?

 4    A.   Well, Steve was suggesting at this part of the draft

 5    agenda that two of my team, Joz and Bob Borchers, would

 6    present the -- what the next features should be for iPhone to

 7    follow on iPhone 4 with these list of features that he's just

 8    enumerated.

 9    Q.   And the next reference relates to have LTE version in

10    mid 2012.     What's that a reference to?

11    A.   That's 4G LTE networking.

12    Q.   Thank you, sir.

13         And if you could look, please, at page 20892.2.

14    A.   Yes.

15    Q.   And item 6 there is Mobile Me.       Do you see that?

16    A.   Yes.

17    Q.   Now, do you know what Mobile Me was?

18    A.   Yes.   This was the service to do what we were just talking

19    about, to start to create a cloud-based infrastructure for our

20    customers to be able to have their data in the cloud and have

21    it work properly across all your devices.

22    Q.   And the first hash mark says, "Strategy, catch up to

23    Google cloud services and leapfrog them."

24         Do you see that?

25    A.   Yes.
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 255 of 295 2866
                           SCHILLER - DIRECT / DOREN

 1    Q.   And under that, it says, "Android deeply integrates Google

 2    cloud services way ahead of Apple and cloud services for

 3    contacts, calendars, mail."

 4         What does that mean?

 5    A.   Here Steve is just pointing out that he believes that

 6    Android has started this ahead of Apple and -- and is starting

 7    to build these features into their operating system.

 8    Q.   And then again under 2011, under that same section,

 9    Mr. Jobs writes, "Apple's year of the cloud, tie all of our

10    products together, make Apple ecosystem even more sticky."

11         Do you know what that's referring to?

12    A.   Yes.   So in this meeting, Steve was rallying everyone at

13    the top 100 to support this Mobile Me effort because it's

14    cross-functional to make these products work together and to

15    do exactly -- I mean it sounds simple today, right, the idea

16    that your contacts, calendar, and mail actually works across

17    your computer and phone.      We're all used to this.       But at this

18    time in 2011, we didn't have that, and we were behind in

19    offering that.     And if we did deliver it well, our customers

20    would love our products.

21    Q.   Thank you, sir.

22         Mr. Schiller, are you -- are you a gamer?

23    A.   I think so.

24    Q.   And which digital transaction platforms do you use for

25    games?
     Case 4:20-cv-05640-YGR Document 754 Filed 05/26/21 Page 256 of 295 2867
                           SCHILLER - DIRECT / DOREN

 1    A.   I've got an XBox, a PlayStation, a Nintendo Switch, of

 2    course my Macs, my iPhone, my iPad, an Apple TV, and also a

 3    dedicated VR auto racing simulator rig.

 4    Q.   I think you're a gamer, sir.

 5         And you discussed earlier Apple's views of each of those

 6    different platforms and other digital platforms as competition

 7    for game transactions; is that correct?

 8    A.   I think so, yes.

 9    Q.   And are you familiar with Steam?

10    A.   Yes.

11    Q.   And we've heard some testimony about Steam.         You

12    understand that to be a PC game store?

13    A.   PC and Mac, yes.

14    Q.   Thank you.   Thank you, sir.

15         And does the App Store compete with Steam?

16    A.   It does.

17    Q.   In what ways?

18    A.   That users can find games to download and play and get

19    them from Steam or get them from our App Store, and it

20    competes for that purchase from a user.

21    Q.   And we've heard some testimony about adjustments made to

22    Steam's commission structure.       Do you recall that generally?

23    A.   Yes.

24    Q.   And as the -- the person with some of the ultimate

25    responsibility for the App Store, how have you viewed that as
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 1    a -- in terms of your competitor strategy?

 2    A.   I think it's important for us to -- to try to understand

 3    what each platform is doing and consider it from our

 4    developers' perspective, as well as the user.          And I think

 5    it's important for us to understand Steam and what they're

 6    doing.      And it relates to things we may or may not do in the

 7    future with -- with the App Store, always.

 8    Q.   And we've heard testimony about the Microsoft Windows

 9    Store in this trial.         Do you recall that generally?

10    A.   Yes.

11    Q.   And does the App Store compete with Microsoft Windows

12    Store?

13    A.   Sure, yes.

14    Q.   And what does -- in the gaming space, what does the

15    Microsoft Windows Store tell?

16    A.   It sells some, not quite as much as their XBox game store

17    does, but it does sell some as well for the PC.

18    Q.   Is it a less -- strike that.

19         Is it a smaller game -- digital game transaction platform

20    than the consoles?

21                 MS. FORREST:     Objection, Your Honor.

22                 THE COURT:     He can testify based on his personal

23    experience.

24                 THE WITNESS:     From my experience, it is -- it is a

25    smaller game marketplace than the XBox is.
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 1    BY MR. DOREN:

 2    Q.   And we've heard testimony here that Microsoft Windows

 3    Store has reduced its commission level to 12 percent.           You've

 4    heard that testimony?

 5    A.   Yes, I have.

 6    Q.   And as -- as the person with ultimate responsibility for

 7    the App Store and someone who keeps track of the competition,

 8    were you aware of that announcement when it came out?

 9    A.   I read it, as everyone did, in the press.

10    Q.   You wouldn't talk to a competitor directly about pricing,

11    correct?

12    A.   Never.

13    Q.   And when was that announcement made by Microsoft?

14    A.   April 29th.

15    Q.   Of this year?

16    A.   Yes.

17    Q.   So the Thursday before this trial began?

18    A.   Yes.

19    Q.   And has that reduced commission gone into effect yet?

20    A.   According to their announcement, I believe it takes effect

21    on August 1st.

22    Q.   So it hasn't gone into effect yet, true?

23    A.   Not -- not from what I've read.

24    Q.   And what area within Microsoft or what people within

25    Microsoft made that public announcement?
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                           SCHILLER - DIRECT / DOREN

 1                MS. FORREST:     Objection.

 2                MR. DOREN:     I'll rephrase, Your Honor.

 3                THE COURT:     Okay.

 4    BY MR. DOREN:

 5    Q.   From the press releases you looked at, to whom was the

 6    announcement attributed?

 7    A.   I read in every press release -- the press release from

 8    Microsoft and all the announcement interviews, it was given by

 9    the head of the XBox Games Store.

10    Q.   And was there any announcement that you have seen about

11    reduced commissions on the XBox?

12    A.   No.    In fact, I believe in their announcement they said

13    they weren't reducing commission on the XBox Store.

14    Q.   Now, does Apple bar its competitors from submitting apps

15    to the App Store?

16    A.   We do not.

17    Q.   And can you provide us some examples of the instances in

18    which Apple's competitors have placed apps on Apple's App

19    Store?

20    A.   Absolutely.    It's something we've encouraged.        We have

21    apps on our App Store from Microsoft, Google, Amazon, Sony,

22    Nintendo, and pretty much every company we've talked about in

23    this trial.

24    Q.   Now, we've heard testimony about Steam Link, correct?

25    A.   Yes.
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 1    Q.   And can you remind us what Steam Link is?

 2    A.   Steam Link is an app you can run on your iPhone or iPad

 3    and connect to the PC you may have that runs games with Steam.

 4    And it allows you to make purchases through that store and to

 5    stream games directly from your PC to your iPhone or iPad.

 6    Q.   And does Apple take a commission on any sales or purchases

 7    made through that app from Steam?

 8    A.   We do not.

 9    Q.   Why not?

10    A.   We've considered any digital transaction where the user

11    doesn't consume it on their device.        It's meant to be on

12    another platform, not part again of where we're adding value,

13    and so we take no part in that transaction.

14    Q.   And are you familiar with an app called XBox Remote Play?

15    A.   Yes.

16    Q.   What is XBox Remote Play?

17    A.   Similarly, it lets you play games remotely from your XBox

18    through your -- your iPhone device and have a streaming

19    experience.

20    Q.   And can purchases be made through the XBox on that app?

21    A.   I believe so, yes.

22    Q.   And does Apple charge or take a commission on any of those

23    transactions?

24    A.   No, we do not.

25    Q.   And is that for the same reason that it does not on Steam
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                           SCHILLER - DIRECT / DOREN

 1    Link?

 2    A.   Yes.

 3    Q.   And are you familiar with an app called PlayStation Remote

 4    Play?

 5    A.   Yes.

 6    Q.   And what is PlayStation Remote Play?

 7    A.   Similar.     It can let you play games from your PlayStation

 8    and stream it in a view on your iPhone or iPad.

 9    Q.   Now, sir, we heard testimony from the Microsoft witness

10    about its discussions with Apple on putting its streaming

11    services in the App Store.       Do you recall that generally?

12    A.   Yes, I do.

13    Q.   And did you participate in discussions with Microsoft on

14    that topic?

15    A.   I did.

16    Q.   And can you describe kind of the arc of those discussions

17    from your perspective?

18    A.   Well, as was stated, Microsoft has been developing their

19    xCloud game streaming service and would like to bring it to

20    different platforms including iPhone and iPad.          And in our

21    discussions, I expressed very clearly that we would love to

22    have them stream games to our users on our platform as long as

23    it follows the rules that other developers have to follow.

24    Whether those games are streaming or local really doesn't

25    matter to the ultimate solution for the user as far as the
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 1    store is concerned.

 2    Q.   And I believe you heard the Microsoft witness testify that

 3    Apple required each game to be separately submitted.           Do you

 4    recall that?

 5    A.   Yes.   That's true.

 6    Q.   And was that accurate?

 7    A.   Yes.

 8    Q.   And why did Apple require that?

 9    A.   Because when the user -- when our users go into the App

10    Store to get a game, they're going to look for a game, they're

11    going to type in a search to find a game, they're going to

12    want to see the product page.        What is this game?     What's the

13    age rating?     What are its features?      And as a store, we want

14    to provide that information to our users.

15         So we thought the right thing for our customers is that

16    even if the games are streaming from Microsoft's cloud, the

17    user should still be able to find them, they should be able to

18    see them, they should see what its privacy policy is, they

19    should be able to run parental controls on it if they want.

20    So all the things you expect the store to do, it should be

21    able to do for the users who want those games.

22                THE COURT:     Okay.   So how does this differ now from

23    Netflix?    I don't pay -- if I pay Netflix the subscription, I

24    can watch their content and I don't pay for each download.

25                THE WITNESS:     In two ways.   First of all, Netflix,
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 1    all the content is -- that the app itself, what it does

 2    technically, is reviewed and approved by us.          And then they

 3    just flow more of the same kind of content, TV shows, TV

 4    shows, TV shows through that.       So we're not reviewing the

 5    content, we're reviewing the features of the app.

 6         The XBox Cloud, each game is a separate app.         And it is

 7    something that requires review.       They do much more than just

 8    play video.     These are interactive games.      So that's -- that's

 9    one reason.

10         The second is the App Store is not a movie store.          You

11    can't search for a movie in the App Store.         If you type in

12    your favorite movie, you're not going to get a result in the

13    App Store.    It isn't about movies.      It's an apps and games

14    store.     And so when you bring in games in a different way, it

15    now no longer works as designed as a game store.

16         So I do think there's a difference there.

17                THE COURT:   All right.   Proceed.

18    BY MR. DOREN:

19    Q.   Mr. Schiller, the Court included in its question a

20    reference to having to pay each time a streaming game would be

21    downloaded that -- that would be an individual Microsoft

22    streaming game on the App Store.        Is that how it would work?

23    A.   No.

24    Q.   How would it work?

25    A.   Microsoft or any game developer can build a service where
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 1    if they want to have subscription and then publish each of

 2    these games on the store, that one subscription can cover all

 3    those individual games, and that's allowed in the guidelines

 4    of the App Store.

 5    Q.   So there wouldn't be a need to pay on a game-by-game

 6    basis?

 7    A.   No, there would not.

 8    Q.   And so if -- if Microsoft were to submit, for example, to

 9    begin with, its ten most popular games, its ten most popular

10    streaming games, and submit those individually for app review,

11    would that be acceptable to Apple?

12    A.   Yes.

13    Q.   And it could continue to submit other games on a going

14    forward basis?

15    A.   Yes.

16    Q.   And would all of those be subject to the same single

17    subscriptions?

18    A.   If that's how they want to set it up, yes.

19    Q.   That would be up to Microsoft?

20    A.   That's right.

21    Q.   Now --

22                THE COURT:     And there wouldn't be a separate app?

23    They could go to one app and access all of that?

24                THE WITNESS:     You would see on your home screen or

25    your phone each of the games that you chose to play.           They
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 1    would show up individually.       The other thing --

 2              THE COURT:     So you couldn't go to one app, the

 3    Microsoft gaming stream app, and in that app have the ten

 4    games.

 5              THE WITNESS:     Correct.

 6         What they can create, similar but not -- not all the way

 7    that, is what we call a catalog app.        They could create a

 8    Microsoft xCloud app that showed all the games.          It's just

 9    when you want to play one, you would click on it in the

10    Microsoft xCloud app, and it would open up its product page in

11    the App Store so you could see all the correct product

12    information when you click to play it.

13              THE COURT:     All right.   Proceed.

14              MR. DOREN:     Thank you, Your Honor.

15    Q.   Separate and apart from the question of native apps for

16    the Microsoft streaming service, did Apple provide support for

17    Microsoft -- other support regarding its streaming service?

18    A.   We did.

19    Q.   And what was the nature of that support?

20    A.   Well, it was a suggestion we made to them, which is, they

21    can go the route of submitting the games into the App Store,

22    and we think that's a good model for users.          Or they could

23    reach us directly through Safari and do whatever they want on

24    Safari the same as on the open web and we would encourage them

25    that if they wanted to go that route, that we would help them
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 1    with that as well.

 2    Q.   And changing topics, sir, to Apple's investment in -- in

 3    its ecosystem.    What did Apple spend on research and

 4    development in 2005?

 5    A.   I believe that was about $500 million.

 6    Q.   And how much did Apple spend on research and development

 7    in 2020, last year?

 8    A.   Approximately $18 billion.

 9    Q.   And during that 15-year period, between 2005 and 2020,

10    approximately how much has Apple spent on R&D?

11    A.   I believe the cumulative total is around a hundred billion

12    dollars.

13    Q.   And has Apple continued to invest in the iPhone?

14    A.   Yes.

15    Q.   And has Apple continued to invest in tools for developers?

16    A.   Yes.

17    Q.   And have those investments impacted the App Store?

18    A.   Yes.

19    Q.   And has Apple continued to invest in the App Store itself?

20    A.   Yes.

21    Q.   With the Court's permission, Mr. Schiller, I'd like to

22    show you a demonstrative.

23                        (Demonstrative published.)

24                THE WITNESS:   All right.

25
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 1    BY MR. DOREN:

 2    Q.   And this demonstrative shows two sets of information, one

 3    relating to hardware and one relating to cellular.

 4         Do you see that?

 5    A.   Yes.

 6    Q.   And the first entry under hardware is dated 2007 and

 7    refers to something called the accelerometer.          And we heard

 8    Dr. Athey mention the accelerometer on several occasions, but

 9    I don't think that ever got defined.

10         So could you please tell us what an accelerometer is?

11    A.   Sure.   It's a sensor, in this case an iPhone that measures

12    motion as a variable of acceleration.        And it's general

13    information that's really useful to a number of features.

14    Q.   And is that the feature that when I turn my phone

15    sideways, it goes into landscape mode?

16    A.   Exactly.   It sounds simple, but it takes a bunch of work

17    to make it do that seamlessly as you tilt your iPhone back and

18    forth.

19    Q.   And was that part of the original iPhone?

20    A.   Yes.

21    Q.   And is that relevant to game developers?

22    A.   Sure.   I think as game develop -- users like to tilt their

23    iPhone into landscape mode and play games with two hands, it's

24    really convenient.

25    Q.   And then the next item on the demonstrative is from 2010,
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 1    and it's a reference to a gyroscope.        Do you see that?

 2    A.   Yes.

 3    Q.   And did Apple, in fact, launch a gyroscope feature in

 4    2010?

 5    A.   We did.

 6    Q.   And what is that?

 7    A.   That's another sensor that detects motion along a

 8    three-dimensional axis so that you can rotate and turn your

 9    iPhone around, and we send that information to software.

10    Q.   And is that feature relevant to game developers?

11    A.   Sure.

12    Q.   How so?

13    A.   I've seen examples, for example, a racing game where, as

14    you tilt your iPhone along the axis left and right, you could

15    be steering, lean it forward to accelerate, or lean it back

16    and brake.     And that's just one example.      Developers are so

17    creative on what to do with these sensors.

18    Q.   And the next item also from 2010 is called retina display.

19    Do you see that?

20    A.   Yes.

21    Q.   And did Apple include a feature called retina display in

22    2010?

23    A.   We did.

24    Q.   And what is that?

25    A.   It was a pretty important moment in the display technology
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 1    of iPhone.     The idea of the retina display was as we provided

 2    more density of information, more pixel density, the pixels

 3    got so close together that in a normal distance of about

 4    6 inches from your face, your eye cannot detect the individual

 5    pixels.      So photos look more natural, fonts on text look

 6    really smooth.     It was a big breakthrough.

 7    Q.   And was that relevant to game developers?

 8    A.   Sure.    Great graphics are certainly a hallmark of so many

 9    wonderful games.

10    Q.   And has the retina display been static since 2010?

11    A.   Not at all.

12    Q.   How has it evolved?

13    A.   It's evolved in many ways.      It's grown larger through the

14    years.    We've moved to newer generation technology, moving

15    from LCD to OLED display technology, which gives blacker

16    blacks, higher contrast ratios.

17         We've even used flexible displays to now fold the display

18    drivers behind the edges so you can have your display right up

19    to the edge of the iPhone.

20    Q.   And when did the change from LED to OLED occur?

21    A.   With iPhone 10.

22    Q.   Thank you.

23         The next hardware feature that we've referenced here is

24    from 2014, and it's called the Taptic Engine.          Did Apple

25    release a feature called Taptic Engine in 2014?
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 1    A.   We did.

 2    Q.   And what is that?

 3    A.   It's one of these really small details, but they're --

 4    it's really helpful.      The iPhone has had a -- from the

 5    beginning a switch you flipped when you want to go into

 6    silent.      When it's silent, it vibrates.

 7         And what it used to do was it had a mechanical actuator

 8    that vibrated.     Took a lot of space.     It was energy

 9    inefficient and wasn't that accurate a feeling compared to

10    what we did with this, which is the Taptic Engine uses

11    advanced haptic technology to give a much more precise,

12    accurate feeling to how things vibrate.

13    Q.   And is Taptic Engine relevant to game developers?

14    A.   Sure.     It supports input that we call haptics, the ability

15    to feel like, when you're pressing on something, this force

16    feedback or vibration to the user interface.

17    Q.   And is that a feature that's been included in -- in games

18    since?

19    A.   Yes.    For those developers who take advantage of it.

20    Q.   And in -- in 2016, the graphic references stereo speakers.

21    Were stereo speakers incorporated in the iPhone in 2016?

22    A.   It was.

23    Q.   And can you describe for the Court generally what's been

24    done with the audio on iPhones then and since?

25    A.   Yes.    Obviously speakers in general, in order to deliver
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 1    quality and volume, take air.       They move air.     So you need

 2    more space.     But that's not what you want to give up in a

 3    small hand-held device, is a lot of space to make sound

 4    better.   So our engineers have created newer generation

 5    speakers that are very small, very efficient, and so much so

 6    that we could put two of them in and have stereo sound in

 7    iPhone.

 8    Q.   And is that improvement relevant to game developers?

 9    A.   Oh, yes.    I think great soundtracks are a hallmark of so

10    many wonderful games, and they take advantage of the speaker

11    system in iPhone.

12    Q.   And in our tour of Fortnite, we heard some pretty good

13    audio, correct?

14    A.   I believe so.

15    Q.   And next from 2017 is something called Neural Engine.

16    First of all, did Apple introduce a feature called Neural

17    Engine in 2017?

18    A.   We did.

19    Q.   And -- and what is that?

20    A.   It's part of our Apple chip inside the iPhone.          It's a

21    dedicated processing unit called the Neural Engine, and it's

22    optimized for this new generation of software called machine

23    learning, a branch of AI that allows developers to do some

24    incredibly predictive advanced techniques with machine

25    learning on a very fast, efficient Neural Engine.
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 1         And this Neural Engine is separate from the CPU, the

 2    central brain of the chip, and the GPU, the graphics.           So it

 3    leaves the rest of your chip free to do other things in your

 4    app while the Neural Engine processes the machine learning

 5    libraries.

 6    Q.   And what is the relevant -- or is that relevant to game

 7    development?

 8    A.   Oh, I think it impacts many software applications

 9    including game developers who want to start to take advantage

10    of this new machine learning technology.

11    Q.   And the last item under hardware is something called

12    LiDAR.   What is LiDAR?

13    A.   It's light detecting and ranging.       So it's a laser

14    technology that allows a sensor called a scanner to scan the

15    space you're in and create a 3D depth map of your furniture,

16    your walls, so that now for AR applications, you can actually

17    place things, computer-generated content, within the scene of

18    your space very fast, very efficiently.

19    Q.   And when was LiDAR introduced?

20    A.   This past year, 2020.

21    Q.   And I believe you touched on this in your description, but

22    is it relevant to game developers?

23    A.   I think so.    As game developers start to create new AR

24    experiences, having this level of performance for recognizing

25    the environment is extremely helpful.
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 1    Q.   And I believe we've learned over the last two weeks that

 2    AR is augmented reality?

 3    A.   Yes.

 4    Q.   And, sir, I'd like to show you a brief demonstrative on

 5    the LiDAR technology, and that's currently on the screen.

 6         And if you could please narrate this for the Court.

 7                        (Demonstrative published.)

 8                THE WITNESS:   Sure.   This is an application called

 9    magicplan.    And you're pointing your phone at the walls and

10    doors and windows and floor of your space.         And the LiDAR

11    scanner is making it very quick for the software to detect

12    those features of your space and automatically create a floor

13    plan that you can use for architecture, interior decorating,

14    whatever your project is.

15    BY MR. DOREN:

16    Q.   Thank you.

17         And by the way, when was LiDAR included with iPhones?

18    A.   2020, this past fall.

19    Q.   And this particular demonstrative we just watched, is that

20    from an app that's actually on the App Store?

21    A.   Yes.

22    Q.   And what's the name of that App?

23    A.   Magicplan.

24    Q.   Thank you.

25         Let's go back to our list.      And finally, sir, in terms of
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                           SCHILLER - DIRECT / DOREN

 1    hardware, were any --

 2                             (Exhibit published.)

 3    BY MR. DOREN:

 4    Q.   -- costs related to any of the improvements we just talked

 5    about allocated to the App Store?

 6    A.   No.

 7    Q.   And let's go on now to the second tranche there, which is

 8    cellular.

 9         And first of all, what was the cellular connectivity of

10    the original iPhone based on?

11    A.   It was called Edge which is a version of -- faster version

12    of 2G.

13    Q.   And I seem to remember something called GSM would show up?

14    A.   Well, GSM is the global standard for 2G, which Edge was --

15    which used.     And so, yes, GSM was the technology.

16    Q.   Thank you.   Thank you.

17         And then in 2008, is that when 3G came into use?

18    A.   It is.

19    Q.   And then in 2012, did 4G or LTE come into use?

20    A.   Yes.

21                MS. FORREST:     Objection, Your Honor.    Leading.

22                MR. DOREN:     Just trying to move things along.      I'm

23    happy to slow down, Your Honor.

24                THE COURT:     All right.    Let's change the form.

25                MR. DOREN:     Yes, ma'am.
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 1    Q.   Mr. Schiller, can you -- can you walk us through, please,

 2    the evolution of cellular connectivity since the opening of

 3    the App Store?

 4    A.   Sure.    Apple didn't invent cellular networks.        Of course

 5    there are many companies involved in these technologies.            But

 6    our teams had a lot of work to do to bring them out in a way

 7    that worked well for our customers.

 8         We started with GSM technology.       And 2G was a -- the first

 9    generation of GSM that we included with our iPhone.

10         In 2008 we added 3G and brought that into the network,

11    into the cellular.

12         We also brought out a format called CDMA, which was a --

13    Verizon used separate from GSM.       So we had support for both

14    across our line with iPhone as well.

15         And then in 2012, the next generation came into iPhone

16    called LTE, stands for long-term evolution.          But it's 4G

17    technology.

18         And, you know, I would note the qualitative difference.

19    With 3G, we really now had the ability to, you know, surf the

20    web and a lot more data capability then 2G had, started to get

21    a lot more interesting for all of us as we travel around.

22         With 4G and LTE, as we know, now we're able to start

23    streaming TV shows and movies, we're able to do FaceTime video

24    calls.   It's much more capable for the types of things we've

25    all been used to for the last few years.
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 1         And in this past year with iPhone, we've implemented the

 2    latest standard which is 5G.       We're pretty early in the

 3    development of 5G technologies.       A lot of hopes for the

 4    future.     With 5G you get even more performance depending on

 5    location.    You get more bandwidth.      So that means that all the

 6    situations we've been used to where we get to a stadium or

 7    busy university and you can't get a good data connection,

 8    hopefully that will be dramatically reduced with the bandwidth

 9    of 5G.

10         So those are some of the steps of cellular technology.

11    Q.   And to state the obvious, Apple didn't invent these

12    different -- these different tiers of the connectivity,

13    correct?

14    A.   No, we did not.

15    Q.   But was engineering work involved at Apple in order to

16    take advantage of them?

17    A.   Oh, yes, as a -- a huge team that has to engineer both the

18    hardware and the software, as well as test it, on every

19    carrier network around the world.

20    Q.   And was the cost of any of that engineering work charged

21    to the App Store, sir?

22    A.   No.

23    Q.   And -- and as -- as the Apple devices move through and

24    evolve with the cellular connectivity, does -- did the Apple

25    devices simply abandon the preexisting technology?
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 1    A.   No.   I think one of the subtle important things that --

 2    that the engineers have worked so hard on is you actually,

 3    with today's iPhone, get all of this.        You get support for 5G,

 4    4G, 3G, 2G.    And each one has multiple bands that it runs on

 5    around the world.     So it's a -- a global phone for people to

 6    travel.

 7         So all of that is supported, in addition to other cellular

 8    or wireless technologies, all the versions of Wi-Fi, all the

 9    versions of Bluetooth, all running together in this one little

10    device.

11    Q.   And is the evolution of cellular connectivity that's

12    occurred since 2008 relevant to game developers?

13    A.   Absolutely.

14    Q.   How so?

15    A.   Well, I think we all love the idea of being able to play

16    high quality, highly rendered game experiences, multiplayer

17    experiences over wireless networks wherever we are.

18    Q.   And we talked now about cellular connectivity.          Are

19    these -- are cell phones also capable of Wi-Fi connectivity?

20    A.   Yes, exactly.

21    Q.   And how has that evolved over the years?

22    A.   There are many versions of Wi-Fi that have come out over

23    the years that Wi-Fi's been given additional names with

24    letters so there's Wi-Fi a, Wi-Fi b, Wi-Fi n, and on and on.

25    And so we've been adding these through the years as well.
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 1    Q.     And has that connectivity improved over time?

 2    A.     It has.     With those updates, they increased performance

 3    and increased range.

 4    Q.     And has that -- does that impact digital game developers?

 5    A.     Absolutely.

 6    Q.     And does that facilitate digital game transactions on iOS?

 7    A.     Sure.     It helps to be able to be on a super-fast network

 8    to download the latest games or latest update to features and

 9    games.

10    Q.     And let's go to the next demonstrative if we can.

11                           (Demonstrative published.)

12    BY MR. DOREN:

13    Q.     And first of all, sir, did there come a time when iPhones

14    began to use chips designed by Apple?

15    A.     Yes.

16    Q.     And when was that?

17    A.     The first ones to ship with Apple chips in it was in 2010.

18    Q.     And have those chips improved over the last ten years?

19    A.     Oh, very much so.

20                   THE COURT:   And do I have these demonstrative?     Or

21    not?

22                   MR. DOREN:   I will get them for you, Your Honor.

23                   THE COURT:   Does --

24                   MR. DOREN:   I apologize, Your Honor.

25                   THE COURT:   And Ms. Forrest, does she have them?
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 1                 MR. DOREN:   I hope she has them, but I will give them

 2    to her again.

 3                 THE COURT:   Thank you.

 4                 MR. DOREN:   Thank you, Your Honor.

 5    BY MR. DOREN:

 6    Q.   And Mr. Schiller, I'm looking at this demonstrative which

 7    refers to various A series chips.        What is an A chip?

 8    A.   It simply means, you know, it's an Apple-designed chip.

 9    And all the chips we've put in our iPhone and most of our

10    iPads, we give a name that starts with an A.

11    Q.   And how often are new A series chips issued?

12    A.   Typically every year.

13    Q.   And can you identify, looking at this graphic, some of the

14    more noteworthy moments in the evolution of Apple's chips?

15    A.   Sure.    It's -- you know, we think of computers as having a

16    CPU, a brain, right?       That's traditional.     But these are

17    actually much more than that.       These are a complete system on

18    a chip.      So it has many features to them which is why we'll

19    see through time that we've been adding features.

20         For example, in 2013, it was the first 64-bit chip.           So

21    more bandwidth for higher performance applications.           I

22    remember at the time many in the industry saying that this is

23    unnecessary in a phone, it didn't need this kind of

24    performance, why is Apple doing this.        Now everybody's doing

25    64-bit chips.     It's -- it's -- it is needed.
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 1         Supported Metal in 2014, our graphics engine.          As you see,

 2    performance just got higher and higher.

 3         2016 was the version we called the fusion chip, A10

 4    fusion.    That's because our engineers came up with a

 5    methodology of having these -- these CPU cores in different

 6    sizes.    A "P" core meant a performance core, and an "E" core

 7    was an efficiency core.      So we had multiple cores running your

 8    software, developer software, at the same time and

 9    dynamically, with machine learning, figuring out whether an

10    application needed the most performances or it could run in

11    high efficiency mode and save the user battery life.

12         In 2017, with our Bionic chip, a couple of big steps here.

13    We have the new generation graphic system, GPU, in the chip

14    designed by Apple.     And this is the first time we had the

15    Neural Engine, which we spoke about the ability to run machine

16    learning on a dedicated segment inside the chip.

17         We also had the Secure Enclave, very important to user

18    privacy and security.      The Secure Enclave is separate from the

19    rest of the chip.     The rest of the chip can't get any

20    information out of it.      But it's where -- where we store your

21    encryption keys for things like Face ID so that nothing can

22    ever decrypt and get at that data.

23         I just -- and with each year, it just gets faster and

24    faster and more and more efficient.

25    Q.   And as I look at this, I also see periodic references to,
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 1    along with better processing power, longer battery life.

 2         Has that been an ongoing effort over the last ten or

 3    15 years?

 4    A.   Absolutely.     We have these conflicting goals of trying to

 5    deliver more performance, more features and capabilities,

 6    while also making the battery life longer, not shorter.

 7         And one of the things that helps with that, you'll see a

 8    few notes in here of what's called process technology.           Like

 9    2018, it's the first 7-nanometer chip.         "7-nanometer" refers

10    to the process it's made on in a fabrication factory, and

11    7-nanometer means you could pack more of the chip into a

12    smaller die size which gives you more features while also

13    being more energy efficient.

14    Q.   And I also see, as we look through here, kind of a steady

15    efforts or steady improvement in terms of upgraded graphics.

16    Is that the case?

17    A.   Always, yes.

18    Q.   And we see, for example, in 2015 the A9 chip was

19    90 percent faster than the AA chip, correct?

20    A.   That's right.

21    Q.   And then in 2018, the A12 chip was once again 50 percent

22    faster than the A11 Bionic chip; is that right?

23    A.   Yes.   These are huge steps.     We're all used to, you know,

24    general personal computer technology where each year you might

25    hear about 4 percent, 6 percent, 8 percent faster.           Seeing
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 1    50 percent or 90 percent is pretty dramatic over a yearly

 2    increase.

 3    Q.   And so if we're speaking in terms of just pure processing

 4    power, if you will, or processing speed, from 2010 to 2020,

 5    how -- how far has that advanced?

 6    A.   The rough numbers I've been able to get from our chip

 7    engineering team in terms of an estimate calculation is that

 8    from a CPU, core processing performance, over a decade it's

 9    increased 100 times, one hundredfold.

10    Q.   Not 100 percent?

11    A.   No, one hundredfold.

12    Q.   And what about this -- this kind of constant push on

13    graphics, what has occurred with graphic speed over that same

14    period?

15    A.   In over that same period, the rough estimate of -- of

16    relative graphic performance I've heard is one thousandfold.

17    Q.   One thousandfold?

18    A.   Yes.

19    Q.   And is that -- are those two improvements, shall we say,

20    those two improvements in leaps and bounds, are those relevant

21    to game developers?

22    A.   Certainly.

23    Q.   And again, in what way, sir?

24    A.   Well, obviously being able to play the kinds of quality

25    game experiences now that were not possible five or ten years
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 1    ago is something I think we see happening, and -- and it's

 2    incredible because these game developers have such amazing

 3    graphics and experience, but bringing them down to something

 4    that fits in your pocket is -- is really becoming more and

 5    more commonplace.

 6    Q.   And that would include Mr. Sweeney's game of Fortnite,

 7    correct?

 8    A.   Sure.

 9    Q.   The game was launched on -- on the iPhone in about 2018.

10    Would it have been able to play -- would it have been able to

11    support that game much before then?

12    A.   I think we'll have to ask them.       But -- but certainly I

13    think at some point along this chart, something became

14    possible that wasn't before.

15    Q.   Now, has Apple also continued to invest in the tools that

16    it provides to developers?

17    A.   Yes.

18    Q.   And how many API's did Apple make available to developers

19    with the first SDK in 2008?

20    A.   I believe the number was something like 10,000.

21    Q.   And how many API's are made available by Apple today?

22    A.   In iOS, 150,000.

23    Q.   And how often does Apple release new versions of software

24    development kits?

25    A.   Often more than once a year.
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 1    Q.   And are -- are new features included in each of those?

 2    A.   Yes, often.

 3    Q.   And are additional API's included in each?

 4    A.   Yes.   Typically, on a yearly basis, it's anywhere from

 5    1,000 up to 10,000 in some years.

 6    Q.   And just in general terms, can you tell us what sort of

 7    things or what sort of changes are made in new SDK's?

 8    A.   Well, as we've discussed earlier, SDK's include the tools.

 9    So we'll see new versions of our Xcode and performance

10    monitoring tools.     We'll see these new API's for new features

11    that are coming on an annual basis.        And we'll see

12    documentation to support starting to use those features and

13    help developers start to implement them on whatever their app

14    ideas are.

15    Q.   Thank you.

16         If we could go to the next demonstrative, please.

17                        (Demonstrative published.)

18    BY MR. DOREN:

19    Q.   Sir, first of all, do you recognize what is reflected in

20    this demonstrative?

21    A.   Yes.

22    Q.   And can you describe it just at a high level?

23    A.   These are a number of software building blocks and tools

24    that developers can use as they create their apps.

25    Q.   And the first one, if you will, after the SDK symbol is
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 1    something called CoreMotion.       Do you see that?

 2    A.   Yes, I do.

 3    Q.   And when was that made available by Apple?

 4    A.   In 2010.

 5    Q.   And what does CoreMotion do?

 6    A.   We spoke earlier about accelerometer, gyroscope, the

 7    sensors that provide data about what the user is doing with

 8    their phone.      CoreMotion is the API a developer will use to

 9    get that data and then use it in their application.

10    Q.   And is that relevant to gamers?

11    A.   I think so.    I think moving your device around and

12    interacting with the -- the experience through effort of

13    motion is one way a developer could use input in a game.

14    Q.   And does that make iOS a more attractive digital game

15    transaction platform?

16    A.   I hope so.

17    Q.   And the next item we see here is called SpriteKit.          Do you

18    see that?

19    A.   Yes.

20    Q.   And when was that released by Apple?

21    A.   In 2013.

22    Q.   And what does SpriteKit do?

23    A.   It is a library of tools for a developer who wants to ease

24    the process of creating animations within their game or app.

25    It creates -- you know, makes it easier for you to make
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 1    objects move in your app or have physics when things bump into

 2    each other.     SpriteKit handles those kind of interactions.

 3    Q.   And that 3D graphic or something else?

 4    A.   It's -- it's primarily focused on 2D graphics design.

 5    Q.   Thank you.

 6         And the next item we see there is Metal.         And we've heard

 7    a fair amount about Metal in this trial.         But can you tell us

 8    from your perspective what Metal does?

 9    A.   Metal is a really big topic.       It's a graphics toolkit for

10    developers from very simple application developed to very

11    advanced high-end application development for games, for

12    professional applications.       And it allows a wide range of

13    capabilities for 3D graphics across everything from iPhone to

14    Apple TV to the Mac.

15    Q.   And did you and your colleagues at Apple consider it to be

16    a material improvement over open GL?

17    A.   Yes.   That's what we used previous to Metal on iOS was

18    open GL and another technology called open CL for compute on

19    graphics.     And we created something we think much more

20    powerful and -- and forward looking with Metal.

21    Q.   And by the way, how -- why Metal?       Why is that the name

22    used for the this API?

23    A.   Yeah, the name is just a fun play on a term in technology

24    called "close to the metal."       If you're a game developer,

25    especially more advanced ones, you want to feel like you're
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 1    programming very close to what your graphics chip is capable

 2    of doing with very little getting in the way of that maximum

 3    performance, and that's that term, "close to the metal."

 4    Q.   And did Apple work with developers in optimizing Metal?

 5    A.   We did.

 6    Q.   And did Apple work with Epic Games in optimizing Metal?

 7    A.   We did.

 8    Q.   Can you tell us about that collaboration?

 9    A.   Sure.     Just before we were launching Metal, we brought in

10    a few of our best graphics engine game developers, and Epic

11    was one of those.         And we asked them to come in and both get

12    feedback on it, learn about it before anyone else did, and to

13    see what they could do with it.        They have incredible game

14    development there.

15    Q.   And did, in fact, Epic do something incredible with it?

16    A.   They did.

17    Q.   And did you demonstrate Epic's work anyplace?

18    A.   Yes.    At our worldwide developer conference in 2014, we

19    invited Epic to take part and help us launch Metal.

20    Q.   And who was the presenter on behalf of Epic?

21    A.   Mr. Sweeney.

22                 MR. DOREN:    Your Honor, Exhibit DX3462 is a video of

23    the keynote from the 2014 WWDC.        We don't want to play the

24    Court the entire 30-minute piece, but we do have perhaps a

25    20-second piece that we would like.        And so I have that
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 1    separately on a thumb drive for the Court, and if we may play

 2    it.

 3                 THE COURT:     You may.   It's in evidence.

 4          And can I relieve the court reporter?

 5                 MR. DOREN:     Yes, Your Honor.    There's a transcript

 6    in -- in the binder before the Court, and we'll make sure that

 7    that's in the record as well.

 8                 MS. FORREST:     No objection, Your Honor.

 9                 THE COURT:     Okay.   I'm sure she appreciates it.

10    Thank you.

11          Proceed.

12                                 (Video playing.)

13    BY MR. DOREN:

14    Q.    And, sir, did you recognize that to be Mr. Sweeney giving

15    his comments on Metal in 2014 at the WWDC?

16    A.    Yes.

17    Q.    And -- and again, approximately how many people were there

18    in person to see him?

19    A.    Six thousand in the audience.

20    Q.    And how many people have viewed that presentation since?

21    A.    Certainly many millions.

22    Q.    And is that an opportunity that Apple provided to Epic

23    Games?

24    A.    It is.     And -- and I -- and I -- we should recognize they

25    created a great example that we were all excited about what
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                           SCHILLER - DIRECT / DOREN

 1    they were able to show the world could be done with Metal, and

 2    we were proud to include them on our stage and have them take

 3    part in it with us.

 4    Q.   And did you work with Epic to do something else with this

 5    demonstrative after the WWDC?

 6    A.   Yeah.   I recall we asked them if they could place it as

 7    a -- a demo app on the App Store for users to see and

 8    experience because it was so beautiful.

 9    Q.   And was that done?

10    A.   I believe so, yes.

11    Q.   Thank you.

12         Now, has Metal been improved since 2014?

13    A.   Oh, yes.

14    Q.   On how many -- how many new versions of Metal have been

15    released since then?

16    A.   I believe we're up to Version 4 now.

17    Q.   And does it be -- continue to become an increasingly

18    powerful graphics API?

19    A.   Absolutely.    We've added new capabilities, and actually

20    there's a built-in programming language, procedural language

21    in Metal.    And there's advanced rate tracing capabilities that

22    are -- continue to advance.       So it's -- yeah, we're moving it

23    ahead constantly.

24    Q.   And is Metal relevant to game developers?

25    A.   Absolutely.
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 1    Q.   And is Metal relevant to the iOS devices becoming

 2    increasingly attractive digital game transaction platforms?

 3    A.   It sure is.

 4    Q.   Now, sir, are you familiar with an API called GameplayKit?

 5    A.   Yes.

 6                 THE COURT:   And, Mr. Doren, we've got three minutes,

 7    just to let you know.

 8                 MR. DOREN:   Thank you, Your Honor.     I'll perhaps go

 9    through this one more item.       And then we --

10    Q.   And, Mr. Schiller, when was GameplayKit made available by

11    Apple?

12    A.   2015.

13    Q.   And what does GameplayKit do?

14    A.   Well, it helps developers to make it easy for their games

15    to include the ability to track scores or show users'

16    achievements within their games, things you like to do with --

17    with helping encourage users to play your games.

18    Q.   And as the name in your description implies, is that

19    specific to -- to games?

20    A.   It is.

21                 MR. DOREN:   I think one more quick one, Your Honor.

22    Q.   Mr. Schiller, ReplayKit, when was it released?

23    A.   Also 2015.

24    Q.   And what does ReplayKit do for developers?

25    A.   It's popular with -- with gamers and certainly kids to
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 1    record their session of playing a game and then share it in

 2    social media with their friends, show that they achieved

 3    something in a level or how to win at a certain part of the

 4    game.

 5           And so ReplayKit helps a developer who wants to make that

 6    a feature of their games to let their players share their

 7    experiences with others around the world.

 8    Q.     And again, and this is an API specific for game

 9    developers?

10    A.     Yes.

11                  MR. DOREN:     That's a good breaking point, Your Honor,

12    if it works for the Court.

13                  THE COURT:     Okay.

14           We are going to stand in recess until tomorrow.

15           But I do have a -- not a -- I have a question for

16    Mr. Sweeney.        He obviously doesn't need to be under oath for

17    this.

18           But, Mr. Sweeney, we've been in this trial now for over a

19    fortnight.        Can you tell me where that name came from for you?

20    How did you come up with the name Fortnite for your game?

21                  THE CLERK:     Wait, I'll turn on the mic.

22           Hang on.     Let me get.      There's the mic.

23                  MR. SWEENEY:     Well, Fortnite came out of the Game

24    Jam.    One week we gave every employee -- every employee at

25    Epic to experiment with building their own little game.            And
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 1    one team built such an amazing little game that we turned it

 2    into an official project.

 3           And initially it had a day-night cycle.           Every hour in

 4    Fortnite, you go from day to night.              And so the clock is

 5    running 24 times faster.              And so the two elements, the

 6    experience we're building forts and having day and night

 7    cycles with zombies coming out at night.

 8                   THE COURT:     Okay.     So fort-related as opposed to

 9    fortnight, two-week related.

10                   MR. SWEENEY:     Exactly.     Yeah, you built forts with

11    this building system, and that's how you defend yourself.

12                   THE COURT:     Okay.

13           I was just -- I had to ask.           I figured I had you here,

14    wasn't going to have any other real opportunity to ask so why

15    not.

16           Okay.    We'll stand in recess.

17           One thing.    Again as we -- as we head to next week closing

18    down the trial, one -- one thing that I thought I wanted to

19    again run by the lead lawyers here.              When I have jury trials,

20    I always meet with my jurors afterwards just to see what their

21    experience is like, see whether they enjoyed participating in

22    the jury process.

23           Obviously we don't have a jury here.          But I did think that

24    if you're interested, and of course we would not talk about

25    anything case-related, happy to meet with your young
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 1    associates after the trial, maybe Tuesday morning.           If you

 2    each have a small group -- and not the partners, this is just

 3    for the younger associates.        I often meet with law students

 4    and such, and thought maybe that would be a good opportunity

 5    since they don't get to be up on the stand much.          So --

 6              MR. DOREN:     That would be wonderful, Your Honor.

 7              MS. FORREST:     Your Honor, I absolutely agree.        I'm

 8    sure that our -- we'll select a group.         Just tell us the

 9    number that we can have and I'm sure that --

10              THE COURT:     As long as it's equal.

11              MS. FORREST:     Yeah.

12              THE COURT:     And maybe --

13              MS. FORREST:     Terrific.

14              THE COURT:     -- maybe Tuesday morning they can come

15    for coffee or something like that.

16              MS. FORREST:     Wonderful.    Thank you very much.

17              MR. DOREN:     Thank you, Your Honor.

18              THE COURT:     Okay.

19              MR. DOREN:     And, Your Honor, I've been asked whether

20    perhaps some junior in-house counsel could join as well.

21              THE COURT:     Like I said, just make sure it's equal.

22    I'm happy to -- happy to meet with -- meet with a group.

23        And I do have to say --

24              MR. DOREN:     Thank you.

25              THE COURT:     -- I really am -- I said this before.
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 1    But I've presided over a number of antitrust cases where

 2    literally this entire courtroom was filled with lawyers.            And

 3    I -- this case is so different.       It still is striking to me,

 4    the number of women, the diversity.        And I do hope that you

 5    take each of your teams and maybe take a picture and send the

 6    picture off to the ABA or something like that.

 7        Because given how many of these cases I've presided over,

 8    this is very different than what I've seen in the past, and I

 9    think it's a terrific example for the future.

10              MR. DOREN:     Thank you, Your Honor.

11              MS. FORREST:     Thank you very much, Your Honor.

12              THE COURT:     Okay.    We'll stand in recess until

13    tomorrow morning.      Thank you.

14        You may step down.

15               (Proceedings were concluded at 3:18 P.M.)

16                                     --o0o--

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                      CERTIFICATE OF REPORTERS



           We, Diane E. Skillman, Pamela Batalo-Hebel, and

 Raynee Mercado certify that the foregoing is a correct

 transcript from the record of proceedings in the

 above-entitled matter.      We further certify that we are neither

 counsel for, related to, nor employed by any of the parties to

 the action in which this hearing was taken, and further that

 we are not financially nor otherwise interested in the outcome

 of the action.



                     _______/S/DIANE E. SKILLMAN______

                   Diane E. Skillman, CSR, RPR, FCRR



               _________/S/ PAMELA BATALO-HEBEL__________

                       Pamela Batalo-Hebel, CSR, RMR, FCRR



                  ________/s/ Raynee Mercado__________

                   Raynee Mercado, CSR, RMR, FCRR



                         Monday, May 17, 2021
